Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 1 of 125 PageID: 132




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY



 TRUTEK CORP.                              Case No. 2:23-cv-3709
                        Plaintiff,
 v.

 Yeong Wan Cho (a.k.a Peter Cho);
 Abdul Gaffar; Sei Young Yun; Salvacion               COMPLAINT
 USA, Inc.; Salvacion International,
 LLC; Salvacion Co., Ltd.; Salvacion
 R&D Center; Biosure Global, Ltd.;             JURY TRIAL DEMANDED
 Immobiliaria La Salvacion, R.D., John
 and Jane Does 1 through 10 (gender
 neutral fictitious names); ABC
 Corporation 1 through 10 (fictitious
 names),
                      Defendants.




                                     PARTIES

 1.    Plaintiff, TRUTEK CORP. ("Trutek") is a corporation of the State of New

       Jersey, with principal offices at 281 East Main Street, Somerville, New

       Jersey, 08876.

 2.    According to information and belief, Defendant Yeong Wan Cho, a.k.a.

       Peter Cho (hereinafter, "Peter Cho" or "Cho") is an individual residing at

       534A Hillside Avenue, Palisades Park, New Jersey 07652. According to
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 2 of 125 PageID: 133




       information and belief, Defendant Cho is a co-founder and principal of

       Salvacion USA, Inc.

 3.    According to information and belief, Defendant Abdul Gaffar (hereinafter,

       "Gaffar") is an individual residing at 8351 Catamaran Circle, Lakewood

       Ranch, Florida 34202.    According to information and belief, Defendant

       Gaffar is a co-founder and principal of Salvacion USA, Inc.

 4.    According to information and belief, Defendant Sei Young Yun (hereinafter,

       "Yun") is an individual residing at 204-1106 ho, 127 Dunsannam-ro, Sri-gu,

       Daejeon 35249, Korea. According to information and belief, Defendant Yun

       is a co-founder and principal of Salvacion USA, Inc.

 5.    According to information and belief, Defendant Salvacion USA, Inc.

       ("Salvacion USA") is a corporation organized and existing under the laws of

       the State of New Jersey, doing business at 210 Sylvan Avenue, #24,

       Englewood Cliffs, New Jersey 07632.

 6.    According to information and belief, Defendant Salvacion International LLC

       (hereinafter, "Salvacion International") is a limited liability company

       organized under the laws of the State of Wyoming, doing business at 1309

       Coffeen Avenue, Suite 1200, Sheridan, Wyoming 82801.

 7.    According to information and belief, Defendant Salvacion Co., Ltd. is a

       corporation organized under the laws of the country of Korea, doing



                                      Page 2
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 3 of 125 PageID: 134




       business at 557 GangNam-daero (SungHan B/D), 12th Floor, SeoCho-gu,

       Seoul, Korea 06531.

 8.    According to information and belief, Defendant Salvacion R&D Center is a

       business organized under the laws of the country of Korea, doing business at

       Migun-Technoworld B/D, YuSeong-guDaejeon, 34025 Korea.

 9.    According to information and belief, Defendant Biosure Global, Ltd.

       (hereinafter, "Biosure Global") is a corporation organized under the laws of

       the United Kingdom, Registered Company No. 11230071, doing business at

       121 Brooker Road, Waltham Abbey 3N9 1JH UK, United Kingdom and at

       Hillgrove Essex Park, Nazeing, Essex, UKEN9 2HB, United Kingdom.

 10.   According to information and belief, Defendant Inmobiliaria La Salvacion,

       R.D. is a business organized under the laws of the Dominican Republic,

       doing business at Ave. Imbert Esq. C/Santiago Rodriguez, Pontezuela

       Santiago, Republica Dominicana.

               FEDERAL SUBJECT MATTER JURISDICTION

 11.   The subject matter jurisdiction of this Court arises under 28 U.S.C. § 1331

       concerning a federal question, the Patent Laws of the United States, 28

       U.S.C. §§ 1338(a), (b), and 35 U.S.C. § 271, Theft of Trace Secrets Act, 18

       U.S.C. § 1832, and the Racketeer Influenced and Corrupt Organizations Act,

       18 U.S.C. §§ 1961-1968.



                                      Page 3
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 4 of 125 PageID: 135




           SUPPLEMENTAL SUBJECT MATTER JURISDICTION

 12.   This court may exercise supplemental jurisdiction over the following counts

       for one or more of the defendants in this matter:

          breach of contract;
          breach of the implied covenant of good faith and fair dealing;
          theft of trade secrets (New Jersey state claim);
          concealment;
          unjust enrichment;
          conversion;
          interference with prospective economic advantage;
          unfair business practices; and
          civil conspiracy.

                        IN PERSONAM JURISDICTION

 13.   In personam jurisdiction over the individual Defendant Cho is proper

       because he resides in the State of New Jersey.

 14.   In personam jurisdiction over the individual Defendant Gaffar is proper

       because he has sufficient minimum contacts with the State of New Jersey by

       virtue of his involvement with the business entity of Salvacion USA.

 15.   In personam jurisdiction over the individual Defendant Yun is proper

       because he is a citizen and resident of Korea, and he has sufficient minimum

       contacts with the State of New Jersey by virtue of his involvement with the

       business entity of Salvacion USA.




                                        Page 4
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 5 of 125 PageID: 136




 16.   In personam jurisdiction over Salvacion USA is proper because the business

       entity is a citizen of the State of New Jersey by virtue of its incorporation

       therein.

 17.   In personam jurisdiction over Defendant Salvacion International is proper

       under 28 U.S.C. § 1400(b) because the tort of patent infringement occurred

       in New Jersey and Salvacion International is an integral part of an enterprise

       that has an established place of business in New Jersey.

 18.   In personam jurisdiction over Defendants Salvacion Co., Ltd., Salvacion

       R&D Center, Biosure Global, and Inmobiliaria La Salvacion, R.D. is proper

       because they are citizens of and reside in foreign countries.

                                      VENUE

 19.   The venue of this Court is proper under the Patent Venue Statute, 28 U.S.C.

       § 1400(b) since the tort of patent infringement occurred within the State of

       New Jersey, and Defendant Salvacion International is an integral part of an

       enterprise that has an established place of business thereat, and which is

       furthermore located within the venue of the District of New Jersey.

 20.   The venue of this Court is proper because Defendant Cho is a resident of the

       State of New Jersey.




                                        Page 5
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 6 of 125 PageID: 137




 21.   The venue of this Court is proper because Salvacion USA is a citizen and

       resident of New Jersey by virtue of incorporation therein and having an

       established place of business in New Jersey.

 22.   The venue of this Court is proper because individual Defendants Gaffar and

       Yun each have sufficient minimum contacts with the State of New Jersey.

 23.   The venue of this Court is proper because Defendants Salvacion Co., Ltd.,

       Salvacion R&D Center, Biosure Global, Ltd., and Inmobiliaria La

       Salvacion, R.D. are citizens of and reside in foreign countries and they each

       an integral part of an enterprise that committed torts against Plaintiff, a New

       Jersey corporation.

            STATEMENT OF FACTS AND CAUSES OF ACTION

                      The Business of Plaintiff, Trutek Corp

 24.   Plaintiff, Trutek Corp. ("Trutek") is a New Jersey corporation having offices

       in Somerville, New Jersey. Trutek develops and markets over-the-counter

       products that utilize electrostatic fields to relieve symptoms due to nasally

       inhaled airborne particles, pollutants, and allergens and to inhibit infection

       from harmful particles (e.g., bacteria, viruses, fungi). The products are sold

       in the form of gels and liquids. Most of these products are applied directly

       to the user's nostrils. However, Trutek also markets liquids that are sprayed

       into the nostrils or onto a porous face mask to enhance its protection.



                                       Page 6
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 7 of 125 PageID: 138




       Trutek's products are marketed and sold worldwide. In the United States,

       most of these products are marketed under the brand name NasalGuard ®.

 25.   Trutek has an intellectual property portfolio comprising several patents,

       trademarks, and trade secrets. Trutek's intellectual property also comprises

       goodwill, trade names, manufacturing and selling processes, knowhow and

       techniques, secret formulae, copyrights, designs, and other materials

       employed in connection with the manufacture, assembly, packaging,

       offering for sale, advertisement, promotion and sale of its products.

 26.   Among its United States patents are US 5,674,481 B2, US 6,844,005 B2, US

       8,163,802 B2, US 9,737,497 B2, and US 9,750,706 B2. Other patents are

       pending. Trutek has always caused its existing patent numbers to marked on

       the packaging of all of its products as required by 35 U.S.C. § 287.

 27.   Trutek's United States trademarks include word marks of TRUTEK ®,

       NasalGuard®, NasalGuard Allergie Block®, and NasalGuard Airborne

       Particle Blocker®.

                Defendant Peter Cho's Relationship With Trutek

 28.   On or about March 1, 2019, Ashok Wahi ("Wahi"), then President of Trutek,

       was introduced to Defendant Peter Cho ("Cho"). Cho is the President of

       Jintec America, Inc. ("Jintec"), a New Jersey Corporation. Jintec is a United

       States affiliate of a South Korean holding company (Jintec Holdings). Wahi



                                       Page 7
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 8 of 125 PageID: 139




       and Cho were introduced by an executive officer of one of Trutek's contract

       manufacturers.       Cho indicated to Wahi that Jintec was interested in

       becoming an exclusive distributor for Trutek's NasalGuard Airborne Particle

       Blocker® gel in South Korea.

 29.   On March 4, 2019, Cho and Wahi entered into a Confidential Disclosure

       Agreement ("CDA") in which Trutek agreed to disclose to Cho confidential

       information regarding:

       NasalGuard® with special features, attributes and additional claims, Miracle
       Under-EyeTM, NasalGuard® Unscented, NasalGuard Allergie Block®,
       NasalGuard Cold & Flu Block TM, NasalGuard® Multi-Acting TM, NasalGuard®
       Single Application Sachets, NasalGuard MF, NasalGuard Airborne Particle
       Blocker, NasalGuard Personal Air Filter Gel, NasalGuard Particle Blocking Gel,
       Anti-Stat Enhanced MaskTM, NasalGuard Wipes TM, NasalGuard Allergie Wipes
       TM
          , NasalGuard Cold & Flu Wipes TM, Skin and Hair super conditioners, Truteks®
       Skin and Truteks® skin care products, nasal application (anti-stat) diagnostic
       products and, associated Technologies and Methodologies, Patented and
       Pending, Patent Applications, Chloraseptic Allergie Block and Little Allergies,
       Allergie Block, Eisai Crystal Veil, Eisai Crystal Veil cool, Nitto Nuru Mask, Nitto
       NasalGuard, including but not limited to nasal application product lines such as
       gels, pre-moistened products for e.g. applicators, swabs, wipes, etc., sticks, nasal
       sprays, nasal washes, surgical masks, multi-acting/integrated products, etc., and
       all other Trutek products.

 30.   In return, Cho agreed inter alia to maintain the information in strict

       confidence and not to profit from the information except by written

       agreement from Trutek.           Moreover, he agreed that "all inventions and

       improvements, patentable or not" that were associated with the disclosure

       would belong to Trutek. A copy of the executed CDA dated March 4, 2019

       is attached hereto as Exhibit 1.



                                             Page 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 9 of 125 PageID: 140




 31.   Discussions between Wahi and Cho continued for another two months

       during which Cho reviewed Trutek's patented and trade secret technology,

       manufacturing methodologies, and intellectual property. On May 12, 2019,

       Trutek and Jintec entered into an agreement ("the May 12th Agreement") for

       "Importation, Marketing, Sales, and Distribution of Trutek's NasalGuard ®

       Gel-Tube Product in South Korea."                Jintec was to be the exclusive

       distributor for Trutek's products in South Korea. In exchange, Jintec was to

       purchase certain annual minimum quantities of the NasalGuard ® gel tubes.

       A copy of the executed May 12th Agreement is attached hereto as Exhibit 2.

 32.   Clause II(a) of the May 12th Agreement (Page 1) also provides:

       Trutek does not grant and Jintec does not claim and will not claim any rights
       whatsoever with respect to Trutek's Trade Secrets and Intellectual Property
       (hereafter "IP"), and Jintec hereby acknowledges Trutek's exclusive right and title
       in the Territory and elsewhere to the Products and Trutek's Trade Secrets and
       Intellectual Property. The phrase "Trutek's Trade Secrets and Intellectual
       Property" refers to Trutek's trademarks, patents and patents-pending, goodwill,
       trade names, trade secrets, manufacturing and selling processes, knowhow and
       techniques, secret formulae, copyrights, designs, and other materials of any kind
       whatsoever employed in connection with the manufacture, assembly, packaging,
       offering for sale, advertisement, promotion and sale of the Products. In addition,
       Jintec shall not attempt to manufacture or commission the manufacturing of the
       Trutek's product NasalGuard herein or any products, which shall be developed by
       Trutek in the future.

 33.   Cho and Wahi executed the May 12th Agreement on behalf of Jintec and

       Trutek, respectively. The March 4th CDA between Wahi and Cho was

       duplicated on Page 9 of the Agreement, and it was made an integral part

       thereof.



                                            Page 9
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 10 of 125 PageID: 141




  34.    On November 6, 2019, Trutek and Jintec entered into a second agreement

         ("the November 6th Agreement") for "Importation, Marketing, Sales, and

         Distribution of Trutek's NasalGuard® Gel-Tube Product in Greater China

         and Vietnam."    Jintec was to be the exclusive distributor for Trutek's

         products in China and Vietnam. A copy of the executed November 6th

         Agreement is attached hereto as Exhibit 3. The November 6th Agreement

         contained the same Clause II(a) on Page 1, duplicated from the May 12th

         Agreement, supra and included therein.        Once again, the CDA was

         integrated into the November 6th Agreement.

  35.    The relationship between the parties started off well.       Jintec ordered

         products from Trutek, and the products were delivered to Jintec. At some

         point, a dispute arose between the parties where Jintec stopped paying

         Trutek for delivered product and failed to order minimum quantities of

         product. On March 26, 2021, Trutek filed suit against Jintec in the Superior

         Court of New Jersey in Somerset County (Docket No. SOM-L-426-21). The

         Trutek v. Jintec lawsuit is unrelated to the Present Above Captioned

         Complaint.    However, the agreements have a binding effect on the

         Defendants in the Present Matter.

        Trutek's Airborne Particle Blocking Technology and the '802 Patent




                                       Page 10
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 11 of 125 PageID: 142




  36.   One of Trutek's best selling products is the NasalGuard® Airborne Particle

        Blocker ("APB product"). The most likely type of respiratory infection

        occurs when a person inhales germs through his nose into his lungs and

        bronchial tubes. The APB product comes in the form of a gel in a tube that a

        person applies to his nostrils. The gel is applied as a thin film. Most germs

        (e.g., bacteria, viruses, fungi, etc.) have a negative electrostatic charge.

        Trutek's APB product sets up a positive electrostatic field around the user's

        nose. Airborne germs that float around the user's nose are attracted to the

        gel. The gel is sticky, and the germs are held in place by the sticky gel. One

        of the ingredients of the gel is a biocide that kills living organisms. Thus the

        germs that stick to the gel are killed. So, if some germs are dislodged from

        the gel and are inhaled, those germs are probably dead and harmless.

  37.   Although the APB gel is the most popular item, Trutek also markets nasal

        sprays, and liquids using the same technology. Trutek also sells a liquid

        spray product for face masks. Spraying this product onto a porous face

        mask renders the mask much safer to use because germs will be trapped in

        the mask even before they reach the user's nose. Using the gel together with

        a sprayed mask should greatly reduce the probability of infection due to

        nasal inhalation.




                                        Page 11
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 12 of 125 PageID: 143




  38.   Trutek's U.S. Patent 8,163,802 ("the '802 Patent") is one of several patents

        that disclose and claim the fundamental operations and formulations that

        define the APB product. The '802 Patent is attached hereto as Exhibit 4.

        Claim 1 is an independent method claim, and claim 2 is an independent

        formulation claim.     The formulation contains a cationic agent (i.e., a

        substance that has a positive electrostatic charge). It also contains a biocide.

        A formulator adjusts the ingredients so as to make the formulation into a thin

        film that adheres to the skin or tissue. He or she also adjusts the formulation

        to be viscous and to hold the harmful germs in place so that the biocide can

        kill them and so that they would not dislodge.

  39.   The May 12th and November 6th Agreements between Trutek and Jintec

        covered importation, marketing, sales, and distribution of the APB product

        in South Korea and China/Vietnam, respectively. Trutek's NasalGuard ®

        technology was fully disclosed to Cho. He understood the formulations and

        their ingredients. This is evidenced by his insistence that the formulation in

        the May 12th Agreement be modified to substitute specific ingredients

        therein for approval by the South Korean government. South Korea would

        not permit the product to be imported unless the product was thus modified.

        Cho was also aware of the '802 Patent.

                  Defendants Peter Cho and Salvacion USA, Inc.



                                        Page 12
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 13 of 125 PageID: 144




  40.   Sometime around January 24, 2023, people at Trutek discovered Cho's

        involvement with Defendant, Salvacion USA, Inc. ("Salvacion USA")

        According to information and belief, Defendant Cho and Defendant Dr.

        Abdul Gaffar ("Gaffar") are co-founders of Salvacion USA. However, it is

        currently unknown what position each holds in the company.

  41.   Salvacion USA is a New Jersey Corporation - Company No. 0450535127 -

        incorporation date August 27, 2020. The business address of Salvacion

        USA is the same as that for Jintec. According to information and belief,

        Salvacion USA is a company member of a global business Enterprise ("the

        Salvacion Enterprise"), comprising additionally of Defendants: (1) Cho, (2)

        Gaffar, (3) Yun, (4) Salvacion Co. Ltd. (a South Korean company), (5)

        Salvacion R&D Center (a South Korean company), (6) Salvacion

        International, LLC (a Wyoming corporation), (7) BioSure Global (a UK

        company), and (8) Salvacion R.D. (a Dominican Republic company).

           Salvacion USA and COVIXYL Over-the-Counter Products

  42.   Salvacion USA is listed as a manufacturer of drugs and pharmaceuticals

        with an NDC labeler name of Salvacion USA, Inc.              According to

        information and belief, Salvacion USA created and sold an over-the-counter

        product called Covixyl-G Nasal Antiseptic Solution (NDC No. 808570-100).

        Salvacion USA filed for FDA approval in November 2020 as an OTC



                                      Page 13
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 14 of 125 PageID: 145




            product. The main ingredient in the Covixyl-G formulation is benzalkonium

            chloride in a 0.13% solution. The label claims that the formulation uses a

            "nanotechnology" delivery system.            A typical nanotechnology delivery

            system consists of an oil-in-water nanoemulsion (a.k.a. microemulsion)

            consisting of micron-sized nano-droplets also containing the benzalkonium

            chloride. A copy of the packaging for the Covixyl-G product is shown in

            Exhibit 5, attached hereto.        According to information and belief, the

            manufacture or sale of Covixyl-G by the Salvacion Enterprise infringes on

            the claims of the '802 Patent.

  43.       It should be noted that claims 6 and 7 of Trutek's '802 Patent state that the

            cationic and biocidic agents in its formulations are benzalkonium chloride.

            Application of a 0.13% solution of benzalkonium chloride to a person's

            nostrils would create a positively charged electrostatic field of sufficient

            strength to attract the negatively charged germs.          The microemulsion

            droplets would surround the germs and hold them in place, while the

            benzalkonium chloride would deactivate them via membrane disruption.

  44.       On January 14, 2022, Salvacion USA filed a U.S. non-provisional patent

            application claiming priority to a PCT1 international patent application (filed

            October 15, 2020), and then to a provisional patent application (filed August


  1
      PCT is an acronym for Patent Cooperation Treaty.

                                              Page 14
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 15 of 125 PageID: 146




        31, 2020). The current status of the application is patent pending. The title

        of the patent application is, "Antiviral Composition and Use For the Same."

        The inventors listed on the application are Gaffar, Cho, and Yun. The

        application was published on May 5, 2022 by the USPTO as Application

        Publication Serial No. US 2022/0133783 A1 ("the '783 Application"), a

        copy of which is attached hereto as Exhibit 6.         The '783 Application

        discloses and claims an anti-viral formulation "containing a cationic anti-

        viral agent (cationic surfactant) and a copper salt to control viral infections

        in the nasopharyngeal and throat area of humans and animals." The '783

        Application's   specification   discloses   several   example    formulations.

        "Solution 1" lists the ingredients of a formulation where the principal

        ingredient is Ethyl Lauroyl Arginate Hydrochloride ("ELAH"). "Solution 2"

        lists the ingredients of a formulation where the principal ingredient is

        benzalkonium chloride. It also lists a formulation of a nasal gel, where the

        principal ingredient is either ELAH or benzalkonium chloride. According to

        the patent application's disclosure and claims, the delivery system for the

        ingredients is a microemulsion.      As discussed earlier, a microemulsion

        comprises small micron sized individual droplets.

  45.   According to information and belief, sometime around July 27, 2021,

        Salvacion USA submitted an application to the FDA for its Covixyl-V



                                        Page 15
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 16 of 125 PageID: 147




        product for pre-emergency use authorization. In August 2021, Defendants

        Cho and Gaffar gave interviews to the media explaining that their new

        Covixyl product can be used regularly to protect against infection from

        Covid-19. Shortly thereafter, the product launched and was being sold

        online on amazon.com, and Target. It was no longer called Covixyl-V, but

        rather it was branded as CovixylTM. The text on the front of the packaging

        reads, "Helps Block Airborne Viruses." Photographs of the Covixyl product

        and the product packaging are attached hereto as Exhibit 7.

                   Salvacion Enterprise Activities With Covixyl

  46.   From Exhibit 7, note that the product package states, "Formulation protected

        by US Patent # 17/576,098. Made in the USA for Salvacion Int'l LLC

        Sheridan, WY 82801."      According to information and belief, when the

        Covixyl product is ordered from amazon.com, the order is fulfilled by

        Salvacion International LLC ("Salvacion Int'l"), a Wyoming limited liability

        company.

  47.   According to information and belief, Defendant's Cho, Gaffar, Yun, and

        Salvacion USA are engaged in efforts to market Covixyl in South Korea.

        Exhibit 8 is a copy of a test report regarding samples of Covixyl-V

        submitted to the Korea Testing & Research Institute ("KTR") dated




                                       Page 16
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 17 of 125 PageID: 148




        2021.03.09. It should be noted that the address of Salvacion USA is the

        same as for Jintec.

  48.   In addition, Salvacion Enterprise member, Biosure Global (a United

        Kingdom company) sells a nasal spray product labeled BioSURE® PRO. A

        copy of a page from Biosure Global's website (www.biosure.co.uk) is

        attached hereto as Exhibit 9. When a user clicks on the link, "How does

        BioSURE® Pro Protective Nasal Spray work?" the following text appears:

        BioSure PRO Protective Nasal Spray is a microemulsion formula, that is applied
        as a plume of droplets rather than a squirt, so it creates a temporary physical
        barrier in your nasal passages that blocks the virus spike proteins from entering
        the cells ACE-2 receptors in your nose. This helps block the first step of infection
        at the main entry point and it also helps prevent the virus from multiplying that
        physically blocks airborne viruses from attaching to the cells in your nose.

        The key ingredient is ELAH (Ethyl Lauroyl Arginine Hydrochloride), that has
        been safely and effectively used in a globally recognized mouthwash to block the
        growth of bacteria in the mouth.

        Clinical evaluations in humans and the lab have proven the effectiveness of ELAH
        at blocking airborne viruses, including RSV (common cold), influenza (flu), and
        COVID-19 delta and omicron variants.

  49.   Considering the above text from Biosure's website, it is obvious that the

        product BioSURE® PRO formulation is virtually the same as that of

        Covixyl.

            Infringement of the '802 Patent by the Salvacion Enterprise

  50.   On March 7, 2023, Mr. Nitin Kumar, a New Jersey resident, ordered two

        units of the Covixyl product from amazon.com. The order was fulfilled, and

        the products were received by him at his New Jersey address. Mr. Kumar


                                             Page 17
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 18 of 125 PageID: 149




        gave the products to Trutek in their original packages.           Mr. Kumar's

        declaration is attached hereto as Exhibit 10.

  51.   Trutek personnel tested the Covixyl product in its own laboratories and

        determined that the product exhibits a surface electrostatic charge that is

        approximately equal to that of its own NasalGuard® product.             It was

        confirmed that the product forms a thin film that adheres to surfaces such as

        skin or tissue, and it is sufficiently viscous to remain active in the user's

        nostrils for several hours. Based upon this verification that the product will

        electrostatically attract germs (harmful particles) and on online information

        provided by Salvacion itself, it is apparent that the Covixyl products infringe

        on at least Claims 1 and 2 of the '802 Patent. (See Exhibit 4.)

  52.   In March of 2023, two additional orders for the Covixyl product were placed

        by Keith Altman. The two additional units were delivered to his address in

        Michigan. Mr. Altman’s declaration is attached hereto as Exhibit 11.

                 Offenses against Trutek by Defendant, Peter Cho

  53.   On March 4, 2019, Cho and Wahi entered into a binding agreement (the

        CDA) whereby Wahi would disclose Trutek's confidential information to

        Cho, and in return, Cho would not disclose said confidential information to

        any third party nor would Cho use it for any purpose unless authorized to do

        so in writing by Wahi. Cho further agreed that Trutek will have "sole and



                                        Page 18
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 19 of 125 PageID: 150




        irrevocable rights to all such improvements, inventions and Patents without

        any further verbal or written authorization from" Trutek.

  54.   Wahi disclosed its confidential and proprietary information and technology

        to Cho. Cho breached its contract with Wahi (the CDA) by disclosing this

        confidential information to others, and by using it for his own purposes

        without prior authorization from Wahi.

  55.   Cho became involved as a principal of a company that produces a

        competitive product based on Trutek's technology.

  56.   Cho failed to honor his contractual obligation by allowing a patent

        application for Trutek's technology to be assigned to Salvacion USA instead

        of to Trutek.

  57.   Cho knowingly and intentionally converted Trutek's proprietary technology

        for his own purposes and stole Trutek's trade secrets for his own purposes.

  58.   Cho knowingly conspired with other individuals and companies within the

        Salvacion Enterprise to utilize Trutek's proprietary technology for their own

        profit.

  59.   Cho knowingly and willfully induced those within the Salvacion Enterprise

        to infringe upon the claims of Trutek's '802 Patent.

              Offenses against Trutek by Defendants Gaffar and Yun




                                        Page 19
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 20 of 125 PageID: 151




  60.   Gaffar and Yun knowingly conspired with Cho to utilize Trutek's proprietary

        confidential information to make, use, and sell a product in the United States

        and worldwide that infringes on Trutek's '802 Patent in violation of 35

        U.S.C. § 271(a).

  61.   Gaffar and Yun were complicit with Cho in developing the Covixyl product

        and in filing patent applications for the same. The product and the patent

        applications represent improvements over Trutek's proprietary confidential

        information, and they rightfully belong to Trutek.

  62.   Gaffar knowingly conspired with other individuals and companies within the

        Salvacion Enterprise to utilize Trutek's proprietary technology for their own

        profit.

  63.   Gaffar knowingly and willfully induced those within the Salvacion

        Enterprise to infringe upon the claims of Trutek's '802 Patent.

                    Offenses against Trutek by Salvacion USA

  64.   Salvacion USA infringes the claims of the '802 Patent by making, using, and

        selling an infringing product Covixyl in violation of 35 U.S.C. § 271(a).

  65.   Infringement of the '802 Patent by Salvacion USA is willful because at least

        one of its principals was aware of the '802 Patent and its technology before

        said infringement occurred.




                                        Page 20
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 21 of 125 PageID: 152




  66.   Salvacion USA knowingly induced others to infringe on the claims of the

        '802 Patent.

  67.   Salvacion USA knowingly conspired with other entities within the Salvacion

        Enterprise to profit from technology that rightfully belongs to Trutek and not

        to Salvacion USA.

  68.   Salvacion USA intentionally and fraudulently claimed publicly that it had

        the right to market Covixyl products.

             Offenses against Trutek by Salvacion International, LLC

  69.   Salvacion International infringes the claims of the '802 Patent by making,

        using, and selling an infringing product Covixyl in violation of 35 U.S.C. §

        271(a).

  70.   Infringement of the '802 Patent by Salvacion International is willful because

        at least one of its principals was aware of the '802 Patent and its technology

        before said infringement occurred.

  71.   Salvacion International knowingly conspired with other entities within the

        Salvacion Enterprise to profit from technology that rightfully belongs to

        Trutek and not to Salvacion International.




                                       Page 21
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 22 of 125 PageID: 153




                      Offenses against Trutek by Biosure Global

  72.    Biosure Global International intentionally conspired with other entities

         within the Salvacion Enterprise to profit from technology that rightfully

         belongs to Trutek and not to Biosure Global.

        Offenses against Trutek by the Salvacion Enterprise and its members

  73.    Each member of the Salvacion Enterprise conspired with all other members

         to deprive Trutek of its technology.        The members of the Salvacion

         Enterprise   intentionally,   knowingly,     and    fraudulently    advertised

         electronically online offering to sell a product that it did not own and that

         belongs to Trutek. When they did sell their product rightfully belonging to

         Trutek, they accepted payment for their fraudulent activities electronically.

             Offenses against Trutek as to the Actions of All Defendants

  74.    In the CDA, in exchange for Trutek disclosing proprietary and confidential

         information to Cho, Defendant Cho promised not to disclose said

         information to others.    He further promised that any developments and

         improvements to said information would be assigned to Trutek.

  75.    Trutek disclosed said proprietary and confidential information to Cho, said

         confidential information including trade secrets belonging to Trutek.

         Further, Cho was aware of Trutek's '802 Patent.




                                         Page 22
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 23 of 125 PageID: 154




  76.   Less than one year following disclosure of said confidential information to

        him, in a scheme to defraud Trutek of its intellectual property, Cho disclosed

        said information to Defendants Gaffar and Yun, who were acting in behalf

        of Defendant Salvacion USA.

  77.   Based on their receipt of said confidential information, and in a scheme to

        defraud Trutek of its intellectual property, Defendants Cho, Gaffar, and Yun

        filed three patent applications at the USPTO (a U.S. government agency) in

        behalf of Salvacion USA, which served as the applicant.           The patent

        applications covered presumably patentable improvements over the

        inventions disclosed and claimed in the '802 Patent, and they utilized trade

        secrets belonging to Trutek.       Although obligated to assign said patent

        applications to Trutek, Defendants Cho, Gaffar, and Yun assigned said

        patent applications to Salvacion USA.

  78.   The action of Defendants Cho, Gaffar, Yun, and Salvacion USA represented

        a scheme to defraud Trutek out of its rightfully owned intellectual property.

        Further, it was reasonably foreseeable that the patent applications would be

        filed using wire communications, and wire communications were in fact

        used to file said applications.

  79.   Although being aware of the '802 Patent, Defendants Cho, Gaffar, Yun, and

        Salvacion USA, failed to inform the USPTO of the existence and materiality



                                          Page 23
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 24 of 125 PageID: 155




        of said '802 Patent related to Defendants' patent applications in violation of

        37 CFR § 1.56. Intentionally and knowingly failing to meet this requirement

        represents fraud on the Patent Office. Filing said patent application at the

        USPTO using wire communications while failing to inform the USPTO of

        its obligations to assign and of the existence and materiality of the '802

        Patent, Defendants Cho, Gaffar, Yun, and Salvacion USA conspired to

        defraud Trutek by assigning Trutek's rightfully owned intellectual property

        to Salvacion USA.

  80.   Although being aware of the '802 Patent as well as their obligation to assign

        any improvements to said patent to Trutek, and in a scheme to defraud

        Trutek of profits derived from sales of its rightfully owned product,

        Defendants developed Covixyl-G, a product that infringes on the '802

        Patent, and they applied for FDA approval of said product.

  81.   Although being aware of the '802 Patent as well as their obligation to assign

        any improvements to said patent to Trutek, and in a scheme to defraud

        Trutek of profits derived from sales of its rightfully owned product,

        Defendants developed, manufactured, and sold Covixyl-V (renamed to

        CovixylTM), a product that infringes on the '802 Patent.

  82.   Although being aware of the '802 Patent and the fact that Covixyl infringes

        thereon, and in a scheme to defraud Trutek of profits derived from sales of



                                       Page 24
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 25 of 125 PageID: 156




        its rightfully owned product, Defendants Salvacion USA and Salvacion

        International knowingly and intentionally sold said CovixylTM product to

        customers throughout the United States, thus depriving Trutek of profits and

        making all customers potentially liable for patent infringement in violation

        of 35 U.S.C. § 271.

  83.   In an effort to defraud Trutek out of profits from improvements to its

        intellectual property, all Defendants formed a global enterprise, having

        headquarters in Korea, with member participants in the United States (i.e.,

        Cho, Gaffar, Yun, Salvacion USA, and Salvacion International), United

        Kingdom (i.e. Biosure Global), Korea (i.e., Salvacion Co., Ltd, and

        Salvacion R&D Center), and the Dominican Republic (Immobilaria La

        Salvacion) to sell the CovixylTM product globally, thus depriving Trutek of

        profits that would have been made were said CovixylTM product not sold by

        the global enterprise.

  84.   Orders for sale of CovixylTM products to customers were placed using

        interstate or foreign wire communications (Internet sales), and virtually all

        payments to the global enterprise from sales were made using wire

        communications. Product deliveries were made by mail.

                              GENERAL ALLEGATIONS




                                       Page 25
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 26 of 125 PageID: 157




  85.   Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  86.   Plaintiff owns intellectual property related to certain formulations based

        upon attracting and/or repelling electrostatically charged particles in and

        around a person's nasal passages by application of a product that maintains

        an electrostatic charge on the skin or mucous membranes. Plaintiff has

        expended considerable resources to inventing, formulating, and developing

        its inventions and products and to protecting its rights therein. Much of

        Plaintiff's technology is subject to trade secret protection. Plaintiff has a

        number of issued patents on its technology. One such patent is the '802

        Patent. Plaintiff holds all rights, title, and interest to its '802 Patents. The

        '802 Patent is in full force and effect. Trutek is the legal owner of the '802

        Patent and possesses all rights of recovery under the patent.



           COUNT ONE — INFRINGEMENT OF THE ‘802 PATENT
              (As to Salvacion USA and Salvacion International

  87.   Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  88.   Plaintiff owns intellectual property relating to an electrostatically charged

        multi-acting nasal application product and method covered by the ‘802

        patent.   Plaintiff has expended considerable resources in inventing and

                                        Page 26
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 27 of 125 PageID: 158




        developing his inventions and protecting its rights therein. Plaintiff holds all

        rights, title, and interest in and to the '802 Patent by virtue of assignment.

        The '802 Patent was issued on April 24, 2012, and is in full force and effect.

        Plaintiff is the legal owner of the '802 Patent, and possesses all rights of

        recovery under the patent.

  89.   Defendants, Salvacion USA and Salvacion International, make, use, offer to

        sell, and sell at least one infringing product, viz., Covixyl Nasal Spray, (the

        "Accused Product") which infringes on the ‘802 Patent, without authority or

        license from Plaintiff.

  90.   Defendants, Salvacion USA and Salvacion International, directly infringe

        upon at least claims 1 and 2 of the ‘802 Patent because the Accused Product

        forms a thin film when applied to a person's nasal passages, possesses an

        electrostatic charge by virtue of a cationic agent ingredient, and renders

        airborne particles harmless by virtue of a biocidic agent ingredient.

  91.   Defendants, Salvacion USA and Salvacion International, were aware of the

        existence of the '802 Patent prior to their making, using, offering to sell, and

        selling the Accused Product. Thus, Defendants' actions constitute willful

        infringement of the '802 Patent.

  92.   Defendants, Salvacion USA and Salvacion International, knowingly induced

        infringement and are continuing to knowingly induce infringement of the



                                        Page 27
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 28 of 125 PageID: 159




        '802 Patent by specifically encouraging and inducing others to use the

        patented invention within the United States.

  93.   Upon information and belief, Defendants, Salvacion USA and Salvacion

        International, exported the Accused Product that was made in the United

        States.

  94.   Plaintiff has been damaged as a result of Defendants’ infringement of the

        ‘802 Patent and will continue to be damaged unless such infringement is

        enjoined by this Court pursuant to 35 U.S.C. §283.

  95.   Pursuant to 35 U.S.C. §284, Plaintiff is entitled to damages adequate to

        compensate in an amount not less than a fair and reasonable royalty.

  96.   Defendants' Accused Product is sold in the same commercial outlets as

        Plaintiff's products. Defendants' product competes directly with Plaintiff's

        products. Every product sold by Defendants is a product that could have

        been sold by Plaintiff. Thus, Plaintiff should be entitled to its lost profits

        from sales it was unable to make.

  97.   Plaintiff is entitled to enhanced damages and attorney fees because

        infringement of the '802 Patent by Defendants was willful.

  98.   Alternatively, Plaintiff is entitled to a judgment from the Court, which

        enjoins sales or commercialization by Defendants of its product until after

        expiration of the ‘802 Patent.



                                         Page 28
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 29 of 125 PageID: 160




           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

  Court:

           a.   enter judgment against Defendants, Salvacion USA and Salvacion

                International, and in favor of Plaintiff requiring Defendants, Salvacion

                USA and Salvacion International, to pay over and account to Plaintiff

                for all gains, profits, and advantages derived from the infringement of

                its '802 Patent beginning March 4, 2019, based upon manufacture,

                sales, and/or use of the products in the United States and anywhere in

                the world, or by way of international commerce with the United

                States;

           b.   enter judgment against Defendants, Salvacion USA and Salvacion

                International, and in favor of Plaintiff, enjoining Defendants

                Salvacion USA and Salvacion International enjoining them from

                manufacturing and/or selling the products, either directly or indirectly;

           c.   enter judgment against Defendants, Salvacion USA and Salvacion

                International, and in favor of Plaintiff, enjoining Defendants

                Salvacion USA and Salvacion International from actively inducing

                others to sell the products, either directly or indirectly;

           d.   enter judgment against Defendants, Salvacion USA and Salvacion

                International, and in favor of Plaintiff, enjoining Defendants



                                          Page 29
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 30 of 125 PageID: 161




              Salvacion USA and Salvacion International from exporting the

              products, either directly or indirectly;

        e.    enter judgment against Defendants, Salvacion USA and Salvacion

              International, and in favor of Plaintiff for all costs sustained in

              connection with the prosecution of this action, including attorney fees;

        f.    enter judgment against Defendants, Salvacion USA and Salvacion

              International, and in favor of Plaintiff for enhanced damages due to

              willful infringement of the '802 Patent; and

        g.     grant such other and further relief as justice requires.



                   COUNT TWO — BREACH OF CONTRACT
                         (As to Defendant Peter Cho)

  99.   Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  100. Defendant Peter Cho entered into the CDA Agreement (Exhibit 1) with

        Wahi on March 4, 2019, whereby Trutek agreed to disclose its confidential

        and proprietary information and trade secrets ("confidential information") to

        Cho, and in return, Cho agreed to maintain said confidential information in

        strict confidence and that Trutek would own all unique developments

        resulting from said confidential information, patentable or not.




                                        Page 30
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 31 of 125 PageID: 162




  101. Defendant Cho ratified said CDA on May 12, 2019 by incorporating it by

           reference into an "Agreement For Importation, Marketing, Sales &

           Distribution of Trutek's NasalGuard® Gel -Tube Product in South Korea."

           (Exhibit 2.)

  102. Defendant Cho ratified said CDA on November 6, 2019 by incorporating it

           by reference into an "Agreement For Importation, Marketing, Sales &

           Distribution of Trutek's NasalGuard® Gel -Tube Product in Greater China

           and Vietnam." (Exhibit 3.)

  103. Plaintiff Trutek performed its duties under said CDA.

  104. Defendant Cho breached the terms and conditions of said CDA by disclosing

           said confidential information to others, by filing a patent application at the

           USPTO, and by developing and marketing a product that infringes on

           Trutek's '802 Patent.

  105. Defendant Cho breached the implied warranty of good faith and fair dealing

           by disclosing said confidential information to others, by filing a patent

           application at the USPTO, and by developing and marketing a product that

           infringes on Trutek's '802 Patent.

           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

  Court:




                                           Page 31
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 32 of 125 PageID: 163




        a.    enter judgment against Defendant Cho and in favor of Plaintiff for

              compensatory general damages in amounts to be determined at trial

              and as are allowed under the statute;

        b.    enter judgment against Defendant Cho and in favor of Plaintiff

              requiring Cho to convey and assign all his rights, title, and interests in

              all unique developments resulting from said confidential information

              to Trutek;

        c.    enter judgment against Defendant Cho and in favor of Plaintiff

              requiring Cho to convey and assign all his right, title, and interest in

              U.S. Patent Application No. 17/576098, continuations therefrom, and

              all patents issuing therefrom to Trutek;

        d.    enter judgment against Defendant Cho and in favor of Plaintiff

              requiring Cho to convey and assign all his right, title, and interest in

              International Patent Application No. PCT/US20/55772, continuations

              therefrom, and all patents issuing therefrom to Trutek;

        e.    enter judgment against Defendant Cho and in favor of Plaintiff

              enjoining Cho from continuing his activities related to all unique

              developments resulting from said confidential information; and

        f.    grant such other and further relief as justice requires.




                                        Page 32
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 33 of 125 PageID: 164




                         COUNT THREE — CONCEALMENT
                            (as to Defendant Peter Cho)

  106. Plaintiff restates every fact and allegation set forth in all preceding

           paragraphs of this Complaint as if fully set forth herein.

  107. Defendant Peter Cho had a duty to disclose to Trutek that it was making,

           using, offering to sell, selling, and exporting the Accused Product, which

           represents a developed improvement to the Confidential and Proprietary

           Intellectual Property owned by Trutek in violation of the terms and

           conditions of the CDA entered into by Cho on March 4, 2019.

  108. Defendant Peter Cho breached his duty to Plaintiff by not disclosing to

           Trutek that he was developing, making, using, offering to sell, selling, and

           exporting the Accused Product.

  109. When Plaintiff disclosed its confidential and proprietary information

           regarding its intellectual property, Plaintiff reasonably relied on the fact that

           Peter Cho would not develop, make, use, offer to sell, sell, or export any

           developments or improvements to Trutek's intellectual property.

  110. Plaintiff's injury was caused by said non-disclosure, which delayed action

           that Plaintiff might have taken to enjoin Defendants from selling the

           Accused Product, which directly diminished sales of Trutek's own products.

           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

  Court:

                                           Page 33
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 34 of 125 PageID: 165




        a.    enter judgment against Defendant Cho and in favor of Plaintiff for

              compensatory general damages in amounts to be determined at trial

              and as are allowed by law;

        b.    enter judgment against Defendant Cho and in favor of Plaintiff for

              enhanced damages, attorney fees, interest, and costs; and

        c.    grant such other and further relief as justice requires.



                         COUNT FOUR — CONVERSION
                             (as to all Defendants)

  111. Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  112. The CDA entered into by Peter Cho on March 4, 2019 provides that Trutek

        "shall have sole, complete and irrevocable rights to all ... Improvements,

        Inventions, and Patents," patentable or not, resulting from the disclosure of

        Trutek's confidential and proprietary intellectual property to Cho.

  113. In violation of the terms and conditions of the CDA, Cho, Gaffar, and Yun

        filed International Patent Application No. PCT/US20/55772, said PCT

        international patent application representing an invention derived from

        Trutek's disclosure of its intellectual property. Cho then caused said PCT

        international patent application to be assigned to Salvacion USA. Defendant




                                        Page 34
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 35 of 125 PageID: 166




           Cho and Salvacion USA converted said PCT international patent

           application, which rightfully belongs to Trutek.

  114. In violation of the terms and conditions of the CDA, Cho, Gaffar, and Yun

           filed U.S. Patent Application No. 17/576,098 at the USPTO, said patent

           application representing an invention derived from Trutek's disclosure of its

           intellectual property. Cho, Gaffar, and Yun then caused said U.S. patent

           application to be assigned to Salvacion USA. Defendants Cho, Gaffar, Yun,

           and Salvacion USA converted said US patent application, which rightfully

           belongs to Trutek.

  115. The Accused Product, which was developed, manufactured, offered for sale,

           and sold throughout the world by all defendants was derived from and

           protected under patents potentially issuing from said PCT international

           patent application and from said U.S. patent application.      The Accused

           Product and all profits and benefits therefrom belong to Trutek as specified

           in the Confidential Disclosure Agreement.

  116. All Defendants converted the profits and benefits from the sales of the

           Accused Product in the United States and worldwide.

           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

  Court:




                                          Page 35
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 36 of 125 PageID: 167




        a.    enter judgment against Defendants Cho, Gaffar, and Yun in favor of

              Plaintiff for damages incurred by Plaintiff due to said Defendants'

              conversion of said PCT international patent application and said U.S.

              patent application;

        b.    enter judgment against Defendant Salvacion USA and in favor of

              Plaintiff for damages incurred by Plaintiff due to conversion of said

              PCT international patent application and said U.S. patent application

              by Salvacion USA;

        c.    in the alternative to Paragraph (b) supra, enter judgment against

              Defendant Salvacion USA and in favor of Plaintiff compelling it to

              assign said PCT international patent application and said U.S. patent

              application to Trutek;

        d.    enter judgment against all Defendants for conversion of profits and

              benefits from the sales of the Accused Product in the United States

              and worldwide; and

        e.    grant such other and further relief as justice requires.



               COUNT FIVE — VIOLATION OF 18 U.S.C. § 1832
                             Theft of Trade Secrets
        (as to Cho, Gaffar, Yun, Salvacion USA, Salvacion International)




                                        Page 36
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 37 of 125 PageID: 168




  117. Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  118. Trutek develops and markets products that include nasal gels and nasal

        sprays that inhibit infection of individuals from inhalation of harmful

        particles (e.g., viruses, bacteria, and fungi) into the individual's respiratory

        system.   Although a number of patents have been issued on Trutek's

        technology, much still remains as trade secrets (e.g. ,manufacturing

        methodology, efficacy, ingredients, level of electrostatic charged necessary

        and sufficient to be effective, etc.), These trade secret items were never

        disclosed to the public. Trutek has maintained and does maintain these

        items zealously as trade secrets.

  119. In 2019 and 2020, Peter Cho was a principle of Jintec America, Inc.,

        ("Jintec"), a New Jersey corporation. Jintec's corporate address is the same

        as that of Salvacion USA.

  120. On March 4, 2019 Peter Cho, having the stated desire for Jintec to become a

        distributor of Trutek's products in Korea, entered into the CDA (Exhibit 1).

        That agreement provided that Trutek will disclose its intellectual property

        technology (including its trade secrets) to Cho, and in consideration Cho will

        not disclose said technology to third parties or use said technology for any

        other purpose than to serve as distributor for Trutek's products.



                                        Page 37
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 38 of 125 PageID: 169




  121. In reliance on the terms and conditions of the CDA and Cho's stated

        intention for Jintec to become Trutek's distributor, Trutek disclosed its

        technology to Cho.

  122. On August 31, 2020, Cho, Gaffar, and Yun filed U.S. Provisional Patent

        Application No. 63/103,881, which served as a priority document for

        International Patent Application No. PCT/US20/55772 filed on October 15,

        2020, which in turn served as a priority document for U.S. Patent

        Application No. 17/576,098 filed on January 14, 2022, for "Antiviral

        Composition and Use of the Same."          The U.S. Patent application was

        assigned to Salvacion USA.        Said patent applications all utilized trade

        secrets that Trutek disclosed to Cho.

  123. Cho, Gaffar, Yun, and Salvacion USA utilized Trutek's trade secrets in

        violation of 18 U.S.C. § 1832(a) without permission from Trutek to file the

        aforementioned patent applications with intent to convert Trutek's trade

        secrets, that are related to a product used in or intended for use in interstate

        or foreign commerce to the economic benefit of Salvacion USA and

        Salvacion International rather than Trutek, and intending or knowing that the

        offense will injure Trutek.

  124. Salvacion USA and Salvacion International began making, offering for sale,

        selling, and exporting the Asserted Product, which were derived from the



                                        Page 38
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 39 of 125 PageID: 170




        technology in the aforementioned patent applications, and which utilized

        Trutek's trade secrets.

  125. Cho, Gaffar, Yun, Salvacion USA, and Salvacion International conspired

        with each other in a global enterprise (i.e., the Salvacion Enterprise) in

        violation of 18 U.S.C. § 1832 (a)(5) to commit offenses described in 18

        U.S.C. §§ 1832(a), Paragraphs (1), (2), and (3) and one or more said

        Defendants performed acts, which were part of the conspiracy.

  126. WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

        Court:

        a.       enter judgment against Defendants Cho, Gaffar, Yun, Salvacion USA,

                 and Salvacion International and in favor of Plaintiff for damages as

                 prescribed in 18 U.S.C. § 1832(b); and

        b.       grant such other and further relief as justice requires.



            COUNT SIX — VIOLATION OF N.J.S.A § 56:15-1 et seq.
                 The New Jersey Trade Secrets Act ("NJTSA")
        (as to Cho, Gaffar, Yun, Salvacion USA, Salvacion International)

  127. Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  128. Trutek develops and markets products that include nasal gels and nasal

        sprays that inhibit infection of individuals from inhalation of harmful



                                           Page 39
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 40 of 125 PageID: 171




        particles (e.g., viruses, bacteria, and fungi) into the individual's respiratory

        system.   Although a number of patents have been issued on Trutek's

        technology, much still remains as trade secrets (e.g., manufacturing

        methodology,     efficacy,   formulae,    unpatented   inventions,    level   of

        electrostatic charged necessary and sufficient to be effective, etc.). These

        trade secret items were never disclosed to the public. Trutek has maintained

        and does maintain these items zealously as trade secrets.

  129. These secrets derive independent economic value to Trutek from not being

        generally known to, and not being readily ascertainable by proper means to

        other persons who can obtain economic value from their disclosure or use.

  130. On March 4, 2019 Peter Cho, having the stated desire for Jintec to become a

        distributor of Trutek's products in Korea, entered into the CDA Agreement

        (Exhibit 1).    That agreement provided that Trutek will disclose its

        intellectual property technology (including its trade secrets) to Cho, and in

        consideration Cho will not disclose said technology to third parties or use

        said technology for any other purpose than to serve as distributor for

        Trutek's products.

  131. In reliance on the terms of the Confidential Disclosure Agreement and Cho's

        stated intention for Jintec to become Trutek's distributor, Trutek disclosed its




                                        Page 40
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 41 of 125 PageID: 172




        technology to Cho. Cho knew that the information disclosed to him by

        Trutek contained trade secrets.

  132. Cho had a duty to maintain said trade secrets in confidence and not to use

        said trade secrets for any purpose other than for Jintec to act as a distributor

        for Trutek products in Korea, Greater China, and Vietnam.

  133. In breach of that duty and in bad faith, Cho disclosed Trutek's trade secrets

        to Gaffar and Yun, and used said trade secrets to benefit Salvacion USA and

        Salvacion International without express or implied permission from Trutek

        and in violation of the NJTSA.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

  Court enter judgment against Defendants Cho, Gaffar, Yun, Salvacion USA, and

  Salvacion International and in favor of Plaintiff:

        a.     for damages caused by misappropriation as well based as the amount

               the   misappropriating     party     was   unjustly   enriched   by   the

               misappropriation to the extent that it exceeds the actual loss; and

        b.     for punitive damages that are twice the amount of the actual damages;

        c.     for reasonable costs and legal fees;

        d.     enjoining Defendants from continuing to use Trutek's trade secrets;

               and

        e.     grant such other and further relief as justice requires.



                                          Page 41
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 42 of 125 PageID: 173




                   COUNT SEVEN — UNJUST ENRICHMENT
                           (as to all Defendants)

  134. Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  135. All Defendants are participants in a global enterprise (the "Salvacion

        Enterprise") that exploits and receives profits from sales of the Accused

        Product.

  136. Individual Defendants Cho, Gaffar, and Yun receive or are entitled to

        receive monetary benefits from their participation in the Salvacion

        Enterprise.

  137. The Salvacion Enterprise is liable for the acts of Cho, Gaffar, and Yun based

        on the principle of respondeat superior.

  138. Several patent applications (U.S. and international) are developments

        derived from disclosure of proprietary information by Trutek to Cho.

  139. According to the CDA entered into by the parties on March 4, 2019 (Exhibit

        1), said patent applications and patents issuing therefrom represent

        intellectual property rightfully belonging to Trutek.

  140. According to the CDA, the Accused Product, and all monies derived from

        exploitation and sales of the Accused Product by the Salvacion Enterprise

        belong to Trutek.

                                        Page 42
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 43 of 125 PageID: 174




  141. Defendants Salvacion USA, Salvacion International, Salvacion Co., Ltd.,

           Salvacion R&D Center, Biosure, and Inmobiliaria La Salvacion, R.D. all

           profited from the sales of the Accused Product that rightfully belonged to

           Trutek, and were thus unjustly enriched.

  142. Trutek never received any royalties or monies from the Salvacion Enterprise

           derived from exploitation and sales of the Accused Product.

  143. The Salvacion Enterprise and all Defendants were unjustly enriched from its

           exploitation and sales of the Accused Product.

           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

  Court:

           a.    enter judgment against all Defendants and in favor of Plaintiff

                 requiring Defendants to remit to Trutek all monies derived from their

                 sales and exploitation of the Accused Product; and

           b.    grant such other and further relief as justice requires.



                       COUNT EIGHT — CIVIL CONSPIRACY
                              (as to All Defendants)

  144. Plaintiff restates every fact and allegation set forth in all preceding

           paragraphs of this Complaint as if fully set forth herein.




                                           Page 43
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 44 of 125 PageID: 175




  145. Defendants Cho, Gaffar, and Yun made an agreement to file patent

        applications based on trade secrets misappropriated from Trutek and to

        develop the Accused Product that infringes Trutek's '802 Patent.

  146. All Defendants made an agreement to form the Salvacion Enterprise for the

        purpose of exploiting and profiting from sales of the Accused Product,

        which both rightfully belongs to Trutek, and which infringes Trutek's '802

        Patent.

  147. All Defendants made an agreement to misappropriate Trutek's trade secrets

        in a tortious effort to develop, patent, make, exploit, sell, and export the

        Accused Product, which both rightfully belongs to Trutek, and which

        infringes Trutek's '802 Patent.     In doing so, all Defendants formed an

        Enterprise to convert monies rightfully due to Trutek, to interfere with

        Trutek's prospective economic advantage, and to engage in unfair business

        practices.

  148. The tortious acts were committed by the Defendants and the Salvacion

        Enterprise against the Plaintiff in furtherance of the agreement.

  149. Plaintiff suffered economic losses as a result of said tortious acts.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

  Court enter judgment against all Defendants and in favor of Plaintiff:




                                        Page 44
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 45 of 125 PageID: 176




        a.     holding all Defendants jointly and severally liable for damages

               sustained by Plaintiff as a result of the conspiracy;

        b.     awarding lost profits and other damages sustained by Trutek as a

               result of the conspiracy; and

        c.     granting such other and further relief as justice requires.



                              COUNT NINE — FRAUD
                               (as to All Defendants)

  150. Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  151. Defendants conducted a fraudulent scheme to extract tribute from Plaintiffs.

        Defendants willfully and knowingly made, or caused to be made, affirmative

        misrepresentations of material facts in the furtherance of this scheme. Cho

        promised Wahi not to disclose or use any of Trutek's intellectual property

        disclosed to him by Wahi, and he also promised that any developments

        resulting from Trutek's disclosures to him would belong to Trutek. All

        Defendants were complicit in Cho's misrepresentations. Trutek relied on

        Defendants' representations, and they were false. Defenants also willfully

        and knowingly concealed material facts from Plaintiff.               Defendants

        knowingly and intentionally concealed from Trutek that Defendants were

        developing, making, offering to sell and selling developments and

                                         Page 45
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 46 of 125 PageID: 177




           improvements to Trutek's intellectual property disclosed to Cho. Defendants

           also intentionally and knowingly concealed the fact that they filed patent

           applications on improvements to Trutek's intellectual property disclosed to

           Cho. Defendants knew the falsity of the misrepresentations at the time these

           misrepresentations were made. Defendants also knew the material nature of

           the facts that they willfully concealed from Plaintiff, and that Defendants

           ought to have disclosed these facts at that time to Plaintiff. Defendants had

           superior knowledge not available to Plaintiff; as such, they had the duty to

           disclose the facts. Plaintiff relied upon Defendants representations and was

           unaware of the falsity or misleading nature of the representations. Plaintiff’s

           reliance was reasonable under the circumstances.         As a result of such

           reliance, Plaintiff sustained damages.

  152. By engaging in the conduct described above, Defendants committed a fraud

           upon Plaintiff.

  153. Moreover, Defendants’ wanton conduct was systematic, in reckless

           disregard of their statutory and other duties, tantamount to criminal

           indifference to civil obligations, and unconscionable.

           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this

  Court:




                                           Page 46
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 47 of 125 PageID: 178




        d.     enter judgment against Defendants and in favor of Plaintiff for

               compensatory, punitive, statutory and/or treble damages in amounts to

               be determined at trial and as are allowed under the statute;

        e.     enter judgment against Defendants and in favor of Plaintiff for an

               injunction prohibiting the Defendants’ wrongful actions;

        f.     enter judgment against Defendants and in favor of Plaintiff for all

               costs sustained in connection with the prosecution of this action,

               including attorneys’ fees; and

        g.     grant such other and further relief as justice requires.



            COUNT TEN – VIOLATION OF 18 U.S.C. §§ 1961-1968
         Racketeer Influenced and Corrupt Organizations Act ("RICO")
                             (As to All Defendants)

  154. Plaintiff restates every fact and allegation set forth in all preceding

        paragraphs of this Complaint as if fully set forth herein.

  155. The association of Defendants and others whose identities are known only to

        the Defendants at this time (cumulatively, the “Conspirators”), constituted

        an Enterprise (i.e., the Salvacion Enterprise) within the meaning of 18

        U.S.C. §1961(c), which Enterprise was engaged in, and whose activities

        affected, interstate and foreign commerce. This Salvacion Enterprise was




                                         Page 47
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 48 of 125 PageID: 179




        continuous in that it lasted more than two years, had an ascertainable

        structure, and was distinct from the predicate offenses alleged herein.

  156. Each Defendant is a person within the meaning of 18 U.S.C. §1961(3).

  157. At all relevant times, Salvacion USA constitutes an “Enterprise” within the

        meaning of 18 U.S.C. §§ 1961(4) and 1962(c). At all relevant times, the

        Salvacion USA was engaged in, and/or its activities affected, interstate

        commerce and/or foreign commerce within the meaning of 18 U.S.C. §

        1962(c). At all relevant times, Defendants held a position in Salvacion USA

        as well as participated in the operation, management, and directed the affairs

        of the Salvacion USA. Salvacion USA, as alleged herein, was not limited to

        Defendants’ predicate acts and has activities extending beyond Defendants’

        racketeering activity.

  158. At all relevant times, Salvacion International constitutes an “Enterprise”

        within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c). At all relevant

        times, the Salvacion International was engaged in, and/or its activities

        affected, interstate commerce and/or foreign commerce within the meaning

        of 18 U.S.C. § 1962(c). At all relevant times, Defendants held a position in

        Salvacion International as well as participated in the operation, management,

        and directed the affairs of the Salvacion International.            Salvacion

        International, LLC, as alleged herein, was not limited to Defendants’



                                        Page 48
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 49 of 125 PageID: 180




        predicate acts and has activities extending beyond Defendants’ racketeering

        activity.

  159. At all relevant times, Biosure Global constitutes an “Enterprise” within the

        meaning of 18 U.S.C. §§ 1961(4) and 1962(c). At all relevant times,

        Biosure Global was engaged in, and/or its activities affected, interstate

        commerce and/or foreign commerce within the meaning of 18 U.S.C. §

        1962(c). At all relevant times, Defendants held a position in Biosure Global

        as well as participated in the operation, management, and directed the affairs

        of Biosure Global. Biosure Global as alleged herein, was not limited to

        Defendants’ predicate acts and has activities extending beyond Defendants’

        racketeering activity.

  160. Defendant Cho, is one of the willful, active participates in the Salvacion

        Enterprise. He is a co-founder of Salvacion USA, and is an owner/officer of

        some of the other related corporate enterprises, was in charge of its day-to-

        day operations. As such, he was one of the masterminds of the Salvacion

        Enterprise who set up, orchestrated and supervised the entire racketeering

        scheme at issue.        While he was not the only mastermind, the other

        Conspirators acted through various corporate entities, and they functioned

        with the same intent.




                                        Page 49
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 50 of 125 PageID: 181




  161. Defendant Gaffar is one of the willful, active participates in the Salvacion

     Enterprise. He is the co-founder of Salvacion USA, Inc. and is an owner/officer

     of some of the other related corporate enterprises, was in charge of its day-to-

     day operations. As such, he was one of the masterminds of the Salvacion

     Enterprise who set up, orchestrated and supervised the entire racketeering

     scheme at issue. While he was not the only mastermind, the other Conspirators

     acted through various corporate entities, and they functioned with the same

     intent.

  162. Defendant Yun is one of the willful, active participates in the Salvacion

        Enterprise.   He is the co-founder of Salvacion USA, Inc. and is an

        owner/officer of some of the other related corporate enterprises, was in

        charge of its day-to-day operations. As such, he was one of the masterminds

        of the Salvacion Enterprise who set up, orchestrated and supervised the

        entire racketeering scheme at issue. While he was not the only mastermind,

        the other Conspirators acted through various corporate entities, and they

        functioned with the same intent.

  163. The remaining Defendants are corporate entities through which the

        Salvacion Enterprise functioned, and through which the underlying

        racketeering scheme was carried out.

  164. Defendants’ scienter is established from their pattern and practices at issue



                                        Page 50
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 51 of 125 PageID: 182




        and the centrality of these practices to their entire business.

  165. Defendants participated and conspired with others (including others whose

        identities are known only to the Defendants at this time) to participate, in the

        of the aforementioned Salvacion Enterprise through a pattern of racketeering

        activity, as more fully set forth below, all in violation of 18 U.S. C.

        §1962(C).

  166. Cho and Wahi entered into a binding agreement (the CDA) whereby Wahi

        would disclose Trutek's confidential information to Cho, and in return, Cho

        would not disclose said confidential information to any third party nor would

        Cho use it for any purpose unless authorized to do so in writing by Wahi.

        Cho further agreed that Trutek will have "sole and irrevocable rights to all

        such improvements, inventions and Patents without any further verbal or

        written authorization from" Trutek.

  167. Relying on assurances from Cho not to disclose or use Trutek's proprietary

        intellectual property, including Trutek's trade secrets, Trutek entered into

        exclusive distribution agreements with Jintec for South Korea, Vietnam, and

        Greater China.

  168. Wahi disclosed its confidential and proprietary information and technology

        to Cho. Shortly after Trutek entered into said distribution agreements with

        Jintec, in a scheme to defraud Trutek by converting Trutek's intellectual



                                         Page 51
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 52 of 125 PageID: 183




        property, Cho disclosed Trutek's confidential information to others, and used

        it for his own purposes without prior authorization from Wahi.

  169. In furtherance of his scheme to defraud Trutek, Cho became involved as a

        principal of a company that produces a competitive product based on

        Trutek's technology.

  170. In furtherance of his scheme to defraud Trutek, Cho failed to honor his

        contractual obligation by allowing patent applications for Trutek's

        technology to be filed electronically at the USPTO in his name and to be

        assigned to Salvacion USA instead of to Trutek.          Filing of the patent

        applications and assignment to Salvacion USA was performed over the

        Internet using electronic communications.

  171. These actions by Cho constituted wire fraud as defined in 18 U.S.C. § 1343.

  172. In furtherance of his scheme to defraud Trutek, Cho knowingly and

        intentionally converted Trutek's proprietary technology for his own purposes

        and stole Trutek's trade secrets for his own purposes.

  173. In furtherance of his scheme to defraud Trutek, Cho knowingly conspired

        with other individuals and companies within the Salvacion Enterprise to

        utilize Trutek's proprietary technology for their own profit.

  174. In furtherance of his scheme to defraud Trutek, Cho knowingly and willfully




                                        Page 52
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 53 of 125 PageID: 184




        induced those within the Salvacion Enterprise to infringe upon the claims of

        Trutek's '802 Patent.

  175. In a scheme to defraud Trutek, Gaffar knowingly conspired with Cho

        allowing patent applications for Trutek's technology to be filed

        electronically at the USPTO in his name and to be assigned to Salvacion

        USA instead of to Trutek. Filing of the patent applications and assignment

        to Salvacion USA was performed over the Internet using electronic

        communications.

  176. These actions by Gaffar constituted wire fraud as defined in 18 U.S.C. §

        1343.

  177. In furtherance of their scheme to defraud Trutek, Gaffar knowingly

        conspired with Cho to utilize Trutek's proprietary confidential information to

        make, use, and sell a product in the United States and worldwide that

        infringes on Trutek's '802 Patent in violation of 35 U.S.C. § 271(a).

  178. In furtherance of their scheme to defraud Trutek, Gaffar was complicit with

        Cho in developing the Covixyl product and in filing a patent application for

        the same. The product and the patent application represent improvements

        over Trutek's proprietary confidential information, and they rightfully

        belong to Trutek.

  179. In furtherance of their scheme to defraud Trutek, Gaffar knowingly



                                        Page 53
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 54 of 125 PageID: 185




        conspired with other individuals and companies within the Salvacion

        Enterprise to utilize Trutek's proprietary technology for their own profit.

  180. In furtherance of their scheme to defraud Trutek, Gaffar knowingly and

        willfully induced those within the Salvacion Enterprise to infringe upon the

        claims of Trutek's '802 Patent.

  181. In furtherance of their scheme to defraud Trutek, Yun was complicit with

        Cho in developing the Covixyl product, in filing patent applications at the

        USPTO for the same in his name, and in assigning said patent applications

        to Salvacion USA.       The product and the patent application represent

        improvements over Trutek's proprietary confidential information, and they

        rightfully belong to Trutek. Filing said patent applications at the USPTO

        and assigning said patent applications to Salvacion USA was done

        electronically over the Internet.

  182. These actions by Yun constituted wire fraud as defined in 18 U.S.C. § 1343.

  183. In furtherance of their scheme to defraud Trutek, Yun knowingly conspired

        with other individuals and companies within the Salvacion Enterprise to

        utilize Trutek's proprietary technology for their own profit.

  184. In furtherance of their scheme to defraud Trutek, Yun knowingly and

        willfully induced those within the Salvacion Enterprise to infringe upon the

        claims of Trutek's '802 Patent.



                                          Page 54
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 55 of 125 PageID: 186




  185. Salvacion USA infringes the claims of the '802 Patent by making, using, and

        selling an infringing product Covixyl in violation of 35 U.S.C. § 271(a).

  186. Infringement of the '802 Patent by Salvacion USA is willful because at least

        one of its principals was aware of the '802 Patent and its technology before

        said infringement occurred.

  187. In furtherance of their scheme to defraud Trutek, Salvacion USA knowingly

        induced others to infringe on the claims of the '802 Patent.

  188. In furtherance of their scheme to defraud Trutek, Salvacion USA knowingly

        conspired with other entities within the Salvacion Enterprise to profit from

        technology that rightfully belongs to Trutek and not to Salvacion USA.

  189. In furtherance of the scheme to defraud Trutek, Salvacion USA intentionally

        and fraudulently claimed publicly that it had the right to market the Accused

        products.

  190. In furtherance of the scheme to defraud Trutek, Salvacion International

        infringes the claims of the '802 Patent by making, using, and selling an

        infringing product Covixyl in violation of 35 U.S.C. § 271(a).

  191. Infringement of the '802 Patent by Salvacion International is willful because

        at least one of its principals was aware of the '802 Patent and its technology

        before said infringement occurred.

  192. In furtherance of the scheme to defraud Trutek, Salvacion International



                                        Page 55
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 56 of 125 PageID: 187




        knowingly conspired with other entities within the Salvacion Enterprise to

        profit from technology that rightfully belongs to Trutek and not to Salvacion

        International.

  193. In furtherance of the scheme to defraud Trutek, Salvacion USA and

        International sold Covixyl products to customer end-users throughout the

        entire United States over the Internet.

  194. In furtherance of the scheme to defraud Trutek, payments for the sales to the

        members     of   the   Salvacion    Enterprise   were   executed   via   wire

        communications.

  195. These actions by Salvacion USA and Salvacion International constituted

        wire fraud as defined in 18 U.S.C. § 1343.

  196. In furtherance of the scheme to defraud Trutek, deliveries of the Covixyl

        products to customer end-users were made using United States mail services.

  197. These actions by Salvacion USA and Salvacion International constituted

        mail fraud as defined in 18 U.S.C. § 1341.

  198. As an instance of sale to end users, Nitin Kumar and Keith Altman

        purchased Covixyl products from the Salvacion Enterprise, and paid for

        these products over the Internet.         Delivery of said products to these

        individuals was made using United States mail services.

  199. These actions by Salvacion USA and Salvacion International constituted



                                        Page 56
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 57 of 125 PageID: 188




        wire fraud as defined in 18 U.S.C. § 1343 and mail fraud as defined in 18

        U.S.C. § 1841.

  200. In furtherance of the scheme to defraud Trutek, Biosure Global intentionally

        conspired with other entities within the Salvacion Enterprise to profit from

        technology that rightfully belongs to Trutek and not to Biosure Global.

  201. In furtherance of the scheme to defraud Trutek, Each member of the

        Salvacion Enterprise conspired with all other members to deprive Trutek of

        its technology.    The members of the Salvacion Enterprise intentionally,

        knowingly, and fraudulently advertised electronically online offering to sell

        a product that it did not own and that belongs to Trutek. When they did sell

        their product rightfully belonging to Trutek, they accepted payment for their

        fraudulent activities electronically.

  202. Each participant knew, expected, reasonably foresaw, and intended that the

        facilities of their actions affecting interstate and foreign commerce would be

        used in furtherance of the racketeering scheme, and that such use was an

        essential part of the scheme.

  203. The Conspirators willfully and with intent to mislead concealed material

        facts and made affirmative misrepresentations of material facts to Plaintiff.

  204. Plaintiff relied upon Defendants; misrepresentations, and such reliance was

        reasonable.



                                         Page 57
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 58 of 125 PageID: 189




  WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Court

  enter judgment against all Defendants and in favor of Plaintiff:

           a. holding all Defendants jointly and severally liable for damages

               sustained by Plaintiff as a result of the conspiracy;

           b. for compensatory, punitive, statutory, and/or treble damages in

               amounts to be determined at trial and as allowed under the statute;

           c. requiring Defendants to pay over and account to Plaintiff for all gains,

               profits, and advantages derived from sales of the Covixyl and related

               products within the United States and all foreign countries;

           d. enjoining Defendants from manufacturing and/or selling Covixyl and

               related products indefinitely and in accordance with the signed CDA

               and '802 Patent;

           e. enjoining Defendants from actively inducing others to make or sell the

               Covixyl and related products;

           f. prohibiting Defendants other wrongful actions;

           g. awarding all costs sustained in connection with the prosecution of this

               action, including attorneys' fees; and

           h. granting such other and further relief as justice requires.




                                         Page 58
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 59 of 125 PageID: 190




            DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

        Pursuant to Defendants' discovery obligations, demand is made that all

  Defendants disclose to the Plaintiff whether or not there are any insurance

  agreements or policies under which any person or firm carrying on an insurance

  business may be liable to satisfy part or all of a judgment which may be entered in

  this action or indemnify or reimburse for payments made to satisfy the judgment

  and provide Plaintiff with true copies of those insurance agreements or policies,

  including, but not limited to, any and all declarations sheets. This demand shall

  include and cover not only primary coverage, but also any and all excess,

  catastrophe and umbrella policies.

                           DEMAND FOR A JURY TRIAL

  Plaintiff hereby demands a trial by jury of all issues triable of right by a jury in this

  action.


  Dated: July 11, 2023               Respectfully submitted,

                                     /s/ Solomon Radner__
                                     Solomon Radner (NJ SBN 283502018)
                                     LAW OFFICE OF KEITH ALTMAN
                                     33228 West 12 Mile Road, Suite 375
                                     Farmington Hills, MI 48334
                                     Telephone: (248) 987-8929
                                     Facsimile: (248) 213-9907
                                     solomonradner@kaltmanlaw.com




                                          Page 59
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 60 of 125 PageID: 191




                     EXHIBIT 1
     Confidential Disclosure Agreement
             (CDA Wahi/Cho)
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 61 of 125 PageID: 192
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 62 of 125 PageID: 193




                     EXHIBIT 2
              May 12th Agreement
           (South Korea - Trutek/Jintec)
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 63 of 125 PageID: 194

                                                  Agreement


                             For Importation, Marketing, Sales & Distribution of
                           Trutek's NasalGuard® Gel -Tube Product in South Korea


   This Agreement is entered into on this 12th day of May, 2019 between Trutek Coxp., a New Jersey QTJ)
   Coxporation, with its registered office at 465 Somerville Road, Basking RIdge, NJ 07920, USA qereafter
   "Trutck") and Jintec America, hc. 210 Sylvan Avenue # 24 Englewood cliffs, NJ 07632 (hereafter "Jintec")

   WREREAS, Trutek is the lawful and legal owner of the US registered trademarks of Truteks and
   NasalGuard for NasalGuard® (Year Round Topical) Gel - Tube Product thereafter "Product") and desires to
   grant Jintec an exclusive license for inportation [in Primary Container i.e. filled & sealed tubes] for
   Secondary Packaging, Marketing (advertising & promotion), Sales, and Distribution of NasalGuard® products
   in South Korea. ("Territory")

   WHEREAS, Jintec, having conducted sufficient due diligence, desires to be licensed by Trutek to fulfill all
   obligations granted by Trutek under this Agreement;

   WHEREAS, both parties have had the opportunity to seek independent legal counsel for this Agreement,
   have read and understood all the terms of the agreement, have signed this Agreement freely and voluntarily,
   without any duress or coercion, and have agreed to abide by the terms of this Agreement;

   NOW, THE.REFORE, in mutual benefits the parties agree as follows:

               Conr]dentia]ity: Any data, documentation, irfomation, literature or publications in any and all
               formats; and samples or materials submitted to Jintec by Trutek prior and during the Tern of this
               Agreement shall be bound by the terns of the executed Confidential Disclosure Agreement
               executed on March 4, 2019 (Attachment I") for a minimum period of ten years upon termination
               of this Agreement.

     11.      Trade Secrets, Trademarks, and Patent Protection:

               (a) Trutek does not grant and Jintec does not claim and will not claim any rights whatsoever with
                   respect to Trutek's Trade Secrets and Intellectual Property (hereafter "IP"), and Jintec hereby
                   acknowledges Trutek's exclusive richt and title in the Territory and elsewhere to the Products
                   and Trutek's Trade Secrets and Intellectual Property. The phrase "Trutek's Trade Secrets and
                   Intellectual Property" refers to Trutek's trademarks, patents and patents-pending, goodwill,
                   trade names, trade secrets, manufacturing and selling processes, knowhow and techniques,
                   secret formulae, copyrights, designs, and other materials of any kind whatsoever employed in
                   connection with the manufacture, assembly, packaging, offering for sale, advertisement,
                   promotion and sale of the Products. h addition, Jintec shall not attempt to manufacture or
                   commission the manufacturing of the Trutek' s product NasalGuard herein or any products,
                   which shall be developed by Trutek in the future.




   Trutek/Jintec                           Agreement         Jintec
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 64 of 125 PageID: 195

              (b) Jintec shall not register any of Trutek's trademarks, trade names, designs or copyrights, or
                  obtaln any patents covering the Products in the Territory covered by this Agreement or
                  anywhere else.

              (c) Upon execution of this Agreement, Jintec may register Trutek' s trademarks (similar or
                  equivalent of Truteks and NasalGuard and others) in connection with the sales of the
                  Products with the consent of Trutek, which will not be unreasonably withheld provided such
                  trademarks are assigned to Trutek under the Clause 11 (d). Any such filing for trademark
                  registration for launch of the Products shall be done no later than 30 days from the date Of
                  signing this Agreement by a qualified/accredited trademark attorney in South Korea retained
                  and paid for by Jintec. Jintec is only permitted to use during the term of this Agreement the
                  trademarks of the Product, in accordance with the provisions of this Agreement, and any and
                  all use by Jintec of said trademark shall inure to the benefit of Trutek, and Jintec shall acquire
                  no rights in said marks throuch such use.

              (d) in the event that this Agreement is terminated, Jintec shall not use these trademarks on the
                  Products, and Jintec shall assign and return all said trademarks to Trutek with Trutek's
                  payment of registration fees and trademark attomey's fees, sincerely and diligently to be
                  mutually negotiated by Trutek and Jintec.

              (e) Upon execution of this Agreement, Trutek shall inmediately file the patent of PCT/US2017
                  /0483 86 in Korea.

    in.      Initial Term: The parties have agreed to an initial term of five years starting from the execution
             of this Agreement. This Agreement shall be automatically renewable unless a written notice to
             teminate is given at least 90 days prior to the expiration of the tern by either party to the other.
             Such termination shall not, however, occur upon Trutek's initiation if Jintec continues to meet the
             `minimum' sales requirement stipulated in Clause K (c) during the term of this Agreement,
              unless there's a breach by Jintec uncured for 30 days of notification by Trutek.

    IV.      Distribution of products: The primary container (i.e. filled and sealed tubes) to be packaged in
             seeondary packaging and distributed by Jintec shall include 3 .00 gin NasalGuard gel in tubes,
             bulk-packed for cartoning and secondary packaging by Jintec for importation through commercial
             sales to consumers in and exclusively for South Korea.

    V.       Exc]usivity/Territory: Trutek grants Jintec the license and distribution richts in South Korea. No
             sales are permitted outside South Korea. Any violation of the `sales territory' not reversed within
             30 days from notification shall be a cause of the temination of this Agreement.

    VI.      Use of Trutek's NasaLGuard® Trademark and Intellectual Property Rights by Jintec:

              (a) Jintec shall use Trutek's and NasalGuard trademarks (Trutek' s registered trademark) on the
                  products & carton graphics and advertisement & promotional materials. Upon receipt of
                  Trutek' s prior approval, NasalGuard may be co-branded with Jintec ' s trademark/brand name
                  as long as both brand names are indicated/publicized in substantially equivalent prominence
                  and placements.




  Trutek/Jintec                            Agreement          Jintec   iThtekife8e2Of9
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 65 of 125 PageID: 196

               a) Jintec shall be responsible to supply the design (graphic artwork & mechanical) of the
                    Primary Container i.e.; tube, the secondary packaging including carton, labeling and
                   regulatory compliance, packaging, through distribution subject to approval of all copies, ads,
                      promotional materials explicitly, conspicuously and prominently indicating NasalGuard®
                      trademark on all such materials. Jintec shall have an exclusive and automatic use of richts for
                      the NasalGuard trademark during the entire term of its Agreement with Trutek. Jintec will
                      respect the htellectual Property Rights of Trutek Corp. and with due prominence indicate
                      `Created with NasalGuard Patented Technology' and some verbiage to that extent for Tmtek
                      Coxp's "IP" rights on the prc>duct carton and all advertising and promotional materials.

      VI.             License Fees: Trutek grants Jintec an exclusive license for Importation [in Primary Container
                      i.e. filled & sealed tubes] for Secondary Packaging, Marketing (advertising & promotion),
                      Sales, and Distribution ofNasalGunrd® products in South Korea, ("Territory") as long as this
                      Agreement is valid. For this License, Jintec has agreed to pay Trutek a License Fee of USD
                      75,000 in three installments as follows:

                              i). $25,000 paid upon signing of this Agreement.
                              ii). $ 25,000 paid on the 30th day from signing this Agreement, and;
                              iii). the balance $25,000 paid on the date Of submission of test reports described in
                                    VIII (f) or the 90th day from signing this Agreement whichever occur first.


      VIII.        Reformulation of NasalGuard Gel:

                     To comply with the requirements as regulated by the relative government authorities
                     including the Ministry of Food and mig Safety, the Republic of Korea (``MFDS"), Trutek
                     will undertake R&D to develop a product gel pemissible for sale in South Korea. The
                     reformulation will have the following essential features:

                     (a) Current MFDS, South Korea requirements with respect to NasalGuard Gel's ingredients'
                         `Positive' and `Negative' Lists entails revising gel composition to comply with three such
                         ingredients ' requirements.


                     a) It has been conveyed by Jintec and agreed to by Trutek to re-formulate the gel in
                         accordance with limitations ingredients as follows:
                                  i)      Behentrimonium chloride: < 0.100/o
                                  ii)     Phenoxyethanol: < 1.00%
                                  iii)    Potassium sorbate: <0.60%
                                  iv)     Methyl paraben: <0.5%
                                  v)      Benzethoniun chloride: <0.05%
                                ' vi)     Bezalknonium chloride:<0.05%


                     (c) Trutek's gel re-fomulation scope of work will include providing a safe and efficacious
                         NasalGuard product gel to Jintec substantially equivalent to the one successfully
                         marketed throughout the world for the past 15 years. The gel has an exemplary safety
                         profile with zero `adverse event' reported so far.




   Trutek/Jintec                              Agreement         Jintec
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 66 of 125 PageID: 197

                  (d) Reasonable quantity of re-formulated gel, upon success of measured cationic strength and
                      physical properties, manually sealed with approximate 1.5gm in available tubes will be
                      delivered to Jintec for testing purpose to comply with the requirements of the related
                        government authorities including RIDS. The refomulation shall be completed within 60
                        days from execution of this Agreement.

                  (e) Any stability test (s), in addition to Trutek's own lab, may be conducted by and at
                      Jintec's discretion and cost at, any third-party facility/lab of Jintec's choosing.

                  (I) The Safety and Efficaey tests conducted by third party, independent and experienced and
                      well versed with NasalGuard gel products will be conducted, at Trutek's budget, for the
                      following: i) Validate Gel Biocompatibility ii} Invitro Demal and Ocular Safety, and
                      iii) Particle Capturing Efficiency Lad Bench Test. The signed reports on the above,
                      when completed, but not later than 90 to 150 days from execution of this Agreement,
                      will be submitted to Jintec. In the event Trutek fails to submit the signed reports to
                      Jintec within the designated date, Trutek agreed to refund Jintec the license fee and
                      deposit payment Trutck received from Jintec.

     K       Annual Quantities -Minimum & Projected Targets and unit pricing/Terms:

              (a) After product approval or freedom to sales is granted by Health Authorities, Jintec shall
                  immediately, but no later than 10 calendar days, place a Purchase Order ("PO") for 250,000
                  units of 3 .00 gin gel tubes. However, Trutek shall complete the reformation described in
                  Clause VIII (d) at the timing of placing order.


              @} Trutek has agreed to extend, for due considerations of cooperation and executing Agreement
                 with Jintec5 a Preferred Customer pricing and offer a unit price Of USD 3 .54 for all single
                  purchaseordersof100,000unitsormorewithsingleshipmentandUSD3.19forallsingle
                  purchase orders of 250,000 units or more with (2) shipment for the tern of this Agreement.
                  The parties agree that mininum order quantity of each purchase order shall be over 100,000
                  units.


              (c) In addition, to cooperate and extend assistance in Jintec marketing investment, Trutek has
                  offered following additional discount for initial two (2) contract years. A contract year herein
                  refers to one calendar year calculated from the date Of initial commercial shipment.

                   i)  22.5% discount over its unit price of $3 .19 i.e. a unit price of $2.47 for Purchase orders
                       over 250,000
                   ii) 10.0% discount over the unit price of $3 .54 i.e. a unit price of $3.18 for purchase orders
                         over 100,000 units.

                   The parties have agreed that the above additional discount shall apply only for the first two
                   years of the Agreement, and Not thereafter.




  Trutek/Jintec                            Agreement          ]utco4"tefrpnge4o£9
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 67 of 125 PageID: 198

               (c) This Agreement is subject to automatic renewal for following year, unless Jintec has a bre.ach
                   uncured for 30 days of notification and as long as the Contract Armual Minimum Quantity
                    (1st year -250,000 tubes, 2nd year -500,000 tubes, 3rd year -750,000 tubes, 4th year -
                    I,000,000 tubes, 5th year & onwards -1,000,000 tubes) is achieved.


               (d) All unit prices quoted are ex-factory NJ, USA. All sales are final. No return or credit except
                   for damaged product. Damages must be reported within seven days of delivery. Normal
                   delivery lead time, upon receipt of firm PO, will be 14 -18 weeks.


               (e) Distributors and other customers will not repackage, re-tube, re-bottle, re-label, afflx stickers
                   or in any way modify the finished goods furnished in accordance with this Agreement except
                   with the express whtten consent of Trutek.

               (I) Trutek shall not be deemed in default or breach of this Agreement or any purchase order
                   received from customers as a result of any delay in shipping orders caused by circumstances
                   beyond Trutek's control such as, but not limited to, strikes, fues, accidents, lockouts, work
                   stoppages or inability to procure supplies or materials.


      X.       Regulatory Obligations by Jintec:

               (a) Jintec shall have the discretion of importation and marketing of NasalGuard products curently
                  marketed and distributed in the USA as a General Purpose article for personal care use or any
                   other class or classification to restrict the inhalation of airborne particles, when used as
                   directed, from entering the nasal passages. Such particles include pollen, fine dust and dust
                  mites, mold/spores and other aifoome contaminants etc. Trutek claims there is no drug action
                  or any active ingredient in the product. Such discretion for Regulatory Compliance by Jintec
                  shall be exercised with an objective to achieve the Maximirm Commercialization of the
                  NasalGuard products in South Korea with the reasonably quickest time after launch.

               (b) Jintec may launch the Product without registration, at its own risk and discretion, in the event
                  it is not regulated by Health Authority. hstead, soon after the Product has been rolled out in
                  the market, Jintec, at its own expense, may file the Product under medical device 11 according
                  to ministry of food and drug safety (ITDS) guideline. For this purpose, Trutek has provided
                  Jintec with any and all technical, commercial and regulatory information, data, including but
                  not limited to descriptions of bench tests, labs, in vitro safety, ex vivo virucidaL studies,
                  clinical, analytical, microbial, and texture testing (tackiness) of all studies it has previously
                  completed so far.

               (c) Any additional work, publishing of peer review articles, testing and clinical studies e.g. ;
                  testing for efficacy on PM 2.5 , similar, enhanced/different or combined clinical claims, or
                  Indication for Use and marketing claims etc. as applicable to South Korea consumer
                  environment for South Korea launch or any/all Regulatory approvals, as required, shall be at
                  the sole expense and the responsil)ility of Jintec to launch and continue marketing of the
                   products. Jintec shall prepare, review, and submit such filing documents for Trutek' s review,
                   consideration, and proof of filing and for Trutek's record on Trutek' s behalf. Jintec shall,
                   however, have and continue to have the rights to use of such approvals long as this



   Trutek/Jintec                            Agreement         Jintec                            Page 5 of 9
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 68 of 125 PageID: 199

                  Agreement with Trutek is valid. Upon termination of this Agreement, all such rights granted to
                  Jintec shall cease to exist and any use, implied or explicit, by Jintec shall be a breach and
                  violation of this Agreement.

     XI.      Inffingements in South Korea:

              (a) Jintec shall advise Trutek of any infringements in South Korea of product trademarks, trade
                  names, copyrigivs or designs or any imitations of any Products of which it becomes aware.
                  Trutek shall take such immediate steps as are reasonably necessary to protect Trutek' s rights,
                  and Jintec shall assist and cooperate with Trutek in enforcing such rights. Jintec agrees not to
                  contact the third party, not to make any demands or claims, not to institute any suit nor take
                  any other action on account of such infringements or limitations without fust obtaining the
                  prior written permission of Trutek.

              (b) With respect to all claims and suits, including suits in which Jintec isjoined as a party; Trutek
                  shall have the sole right to employ counsel of its choosing and to direct the handling of the
                  litigation and any settlement thereof. Trutek shall bear all expenses connected with the
                  foregoing, except that, if Jintec desires to retain its own counsel, it shall do so at its expense.
                  Any recovery as a result of such actions shall be shared equally between Trutek and Jintec. In
                 ` case a third party has alleged infringement in the Territory of trademarks, copyrights, patents
                  or other intellectual property rights owned by such third-party, in relation to distributing the
                  Products hereunder, Jintec shall inform Company of such claim or allegation and the parties
                  shall take necessary action in cooperation, except where the subject matter is Jintec' s
                  trademark.


             (c) If Trutek fails to dispute about such allegation with such party or if Jintec decides not to
                 disputeaboutit,Jintecmaytemin;tethisAgreementwithoutprejudicetoallotherrights
                 claimable, or remedies obtainable from, Thrfek hereunder for any and all of its loss and
                 damages sustained thereby, except where the subject matter of the alleged infringement is
                 Jintec' s own trademark,

    XII.     Payments: All payment(s) to Trutek shall be made via wire transfer to Trutek's designated Bank
             Account, unless otherwise notified, at TD Bank, 50 West Main Street, Somerville NJ 08876,
             USA, Account No. 7855926817, Routing No. 031201360, along with Jintec's purehase order for
             Trutek to sfact production for subsequent shipment of the product. The payment terms shall be
             30°/o with the P.O.; 60% upon proof of shipment provided by Jintec's freight forwarding company
             in the USA, and balance 10% within 10 calendar days upon arrival of shipment in South Korea.
             All shipments are final; subject to returns only due to deviation from proposed specifications and
              approved specimen samples of acceptance.

    XIII.    Proposed shipment packing: Trutek and Jintec will agree to specifications and quantities of
             bulk shipment by air or by sea, of filled tubes to Jintec.

    }HV.       Non-Compete clause: During the ten hereof of this Agreement and for five years (5)
              thereafter, both parties, its subsidiaries, affiliates, corporate parents and commonly controlled
              companies will not distribute, sell, market or promote any product which competes or is likely to
              compete with any of the Trutek's products in the Territory.                     ,




  Trutek/Jintec                            Agreement           Jintec
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 69 of 125 PageID: 200

      XV.      Warranties :

              Trutek warrants that:
                   (a)     It owns the products and Documentation; and
                   a)     It is authorized to enter into this Agreement and does so without breaching any
                           contract that it has with a third party.

              Jintec warrants that:
                   (a)      It is skilled and experienced at promoting, marketing and advertising products which
                            are similar to the Products within the Territory; and
                   a)      It shall carry out all its obligations, and has sufficient resources (financial and
                            otherwise) under this Agreement in a timely marmer and using reasonable skill and
                              Care.


      XVI.     Dispute Resolution:

               (a) If any disputes occur over the fulfillment of this Agreement, the parties shall try to resolve
                   them amicably.


               (b) If the paties cannot resolve the dispute amicably, then plaintiff shall file their complaint in
                   the county where defendant resides.

                   The party that does not implement the award voluntarily shall be obligated to pay all the costs
                   including but not limited to attomey's fees, legal expenses and costs related to recovery of
                   damages, for the other party to implement the award.

               (c) The laws that shall govern the dispute or resolution shall be the laws of the State of New
                   Jersey, USA.

     XVII.     Assignment, Sublcontracting, Transfer or Termination of the Rights, Binding on
               Successor/Assign/Transferee:

               (a) Trutek may assign/transfer its rights to a successor, assignee or transferee if the situation so
                   requires. Such successor, assignee or transferee shall abide by the terms in this agreement.


               (b) Jintec shall not assigrL transfer, or deal in any way with any of its rights or obligations under
                   this Agreement or sub-contract the performance of any of its obligations under this
                   Agreement without the prior written approval of Trutek. Such approval not to be
                   unreasonably withheld or delayed.


               (c) This Agreement may teminate if either party has ceased operation or becomes insolvent or
                   bankrupt, or when Jintec does not meet any of the requirements as set forth in this Agreement
                   and fails to cure the same no later than 30 calendar days upon notification to do so. Failure to
                   renew trademark or maintenance of Intellectual Property richts by Trutek does not
                   automatically terminate its rights in this Agreement.


               (d) In addition to all other rights and remedies which Trutek may have in law or in equity, Trutek
                   may, at its option, teminate this Agreement by giving written notice of termination, in the
                   event of (I) breach of this Agreement by Jintec, including a



   Trutek/Jintec                            Agreement          Jintec
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 70 of 125 PageID: 201

                    the failure of Jintec to advance payments for goods which have been ordered and for which
                    shipment has been prepared; (2) failure of Jintec to perform any obligations undertaken in
                    this Agreement; (3) insolvency or bankruptcy of Jintec or (4) any transfer or assignment, or
                    attempted transfer or assignment Of this Agreement or any right or obligation hereunder or
                    any sale or transfer of any interest in the ownership or control of Jintec without the prior
                    written consent of Trutek.

   xvlH.    Third party Rights:

                 A person who is not party to this Agreement s`hall have no rights under the Contracts (Rights Of
                 Third Parties) Act 1999 to enforce any term of this Agreement. This clause does not affeet any
                 right or remedy of any person, which exists or is available otherwise than pursuant to that Act.

   XIX.          Validity and Entire Agreement: If any provision in this agreement is invalid, the remaining
                 provisions shall continue to be valid and effective.

                 This Agreement represents the parties' entire agreement with respect to the subject matter hereof
                 and supersedes and replaces any prior agreement. or understanding (whether written or oral)
                 with respect to the subject matter hereof. This Agreement may be waived, amended or
                 supplemented only by an instrument in writing sigred by the party against which such waiver,
                 amendment or supplement is soucht to be enfol.cod.

   X.




                   Name: Ashok Wahi                                     Name: Peter cho

                   Title: President                                     Title: President

                    Trutek Corp.                                        Jintec America inc,




  Tmtek/Jintec                               Agreement                                          Page 8 of 9
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 71 of 125 PageID: 202


                                 CQfSFIE2ENThRE B!_§S_`LOSuB_E AGERI¥.M__E_NE .
Tffiap##RE±f.isEENedfe#c{¥%¥tlg%ndri##A#§#G*##.='te¢:t%evin:a:r#%{¥ar£,`:#hte€££eds!g#:,§#8r#g3a2¥:d¥s
ac indgividttal rBatdchg at 5arA Hiasde Aveme, Palisae!rs Pack, mu G78§O as t]f Maron 4, 2018 {here}nafier the D{se{cisee}




ifeELErfu¥¥#ea¥ffi€##¥#ffffiifgRE±±fr#Tife+gaF§¥sffiife#±¥=#=#±#ti§¥ieg¥gjaffiieFt
:&h&rfuffigivaprfues£:Tffi:##nENdr#T:`teffi£#*AI##is#fp*esg"#ffiB¥a:d£#&n={Wm#fr¥r!£::npann#a£
PgrfffiffiffiiffidifeEL[ffifeH¥ifeBngfk¥frff¥8fa:¥#¥;£§#efa#k¥E:£:o¥%¥f3:¥Bepg¥::§¥g;E#Pj¥;ing
m8iesarsed peeriue±s for €#. applb¢aer& ±seAraba, REipes, e¢cL ` sBeks, masai §pray9, rtasat waenes, st[Fgiffii masts: muttiw
aedrFg#exfegra&eck praeL]ct§* es!c+ ensEl at! cifeef Tr¢igiv pmadt±rfe €haggimafti!r ifee 8projeet®}: and

         "EFtEas, ke eeelef ife further suslc d{sci±s§ier]§® it xp#l be riasgsBafy for the Principal ts disgfose the E}iseeses
crmaift tiafa¥ samp}ies&ffi&d informati@" rei !ating to €te prqject `which i! aensitiers lff be aemaentia[ ©rfu graprjatBr¥; afts

       \"ESE#& thfa Hisaaf€zse€i a{;reeei to re€±e±ue Such jRzrmatii:in regarding the 8prqie±ct" !n aeQrrfenes "iife ass terms
#nG rsndit§Drrs eenifebe# trsrefro ?nd use it speaife¢ally are ees}Hshfeiy fef ire Prfefipei.

         sogiv` THEREFORE, in canstder=i±ien Of ife mutuac BaeSfiis jfi fufTherinsi ifee i#tsrests of {ne pgf€iss the prrifeg
 agree as fictbe:
         1. jSS §ns3di tieEie+ &Cc]nfidetitiat lnfermatienf sha# mean ffl! QB&gt sample irfurmation fefaftng fe ire &proj@ct9

              g#£:;gse¥#±%SL#£Srfepfali¥'gFT=£#igfe%ft#almeENdE##*#tt#rfhr:t#ga¥tkyj#
              aefgrmndenee.
         a    TAg EREes€e aprere!rs± ffiat fi nd! maiiri§aifi all aenffigr!tist ±f!tsfmatien jft strict SenFiriemee and tha± fi uril! rtsf

              ae#FiFrdffiedap%E£#i#::TREEL#.PCis&G©¥!Dffidrbedisffi#5edtean¥thiFap3ngSrusedforan¥p*peose`fict
         ±<grfftiffi*:nd#tik#£££#=#8ce¥fte:¥f§fio##£:##:g#r¥#±::fo%:£:#irt:¥Sp#j#£gof

         #`   ThB Sngffiffiass esn3aiaetl iys mis Agreermt shatt e±staca ttr anri be hiftdiftg up8B any emElc>¥es Q€ aeFjate ®f
              thffi> ffiftyREesse+ wfiff faa¥ aspeq5s ha CggivFrdi enasal *nfarmatien pufs€ffirit fg¥ thffi tsregment® The E}ise!asee givg!j
              givinha Efagi&graamenf Of ±faasf± qr¥t?tri¥ee& aha aENiaifeBs +aina are arBnteB aeeess to the Cenfiderfuat
              ±ifermififfifiifeifeaemp!y w{ife ifee ¢Brmae haf®Cif` uni#Er in #ife!rmstierlces ky€17 the "seleeee attffiHtiE ts #REf{t ffti#t
              ifeas!nggngir>£nyfarmSifeaFifenthroi&Sfra!*agpeamaentseffl€hePtingipeL
        a fa , #1 tlr]jQL!ft dauefapz"rmtsh froreHfipes and SmpraeemefitsL paferitgble Br not, as a resugt ffi5cl¢see'3
              ¥#ffi:ife¥&PRE±g#=ffiFinan£FrfelfrfeiferiJatifeenp±¥maifeh#¥hfeerifegr¥;ffti¥®ifeantrd
              mithaifer` ifeffiifea ifetaseE. The Eifeed¢aeaF§ pepife{ pnisated er *8nyrigbteti irtfermrfert, dife er
              pr§SesaetatHeetifeaifeckescktrythisaEF¥Bmifettt.

 tRI ffiffitifis§ "#EfaEBRE;t ffiB paffiffi han¢B rs#;used this *grEemlRr!t to ife executed fag thsif dtf!¥ outhorffg!ti




                                                                                                                            /7
                                                                 ffiftyed try`
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 72 of 125 PageID: 203




          ae5rmarfutibBafiREffing                 ¥ragtiBREi"¥




                                                                                      ELF £#« aeE#




          Eitife ffi. ife
          rm ire is ae                                                 &ifeREhaifeELifefi
          #gfistrmaeife                                                   fiHRErfeife ¥ffi#.


              i, sere         Ou
                 Rrifrol£ENieas st£Hdalffienrri             grmREffifids ffffirfeffiffi ¥£ apHa©# iH
                 ©ff; apifema!rm asBffiiffiifeg*




          ife ire is
          ¥rty trftRE


          stRE"ifef
                    ae
          ifeRE
          ffirfe#EN-
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 73 of 125 PageID: 204




                     EXHIBIT 3
         November 6th Agreement
      (China & Vietnam - Trutek/Jintec)
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 74 of 125 PageID: 205

                                                   Agreement



                   Trutek.sNF£:|FuP#i%°ei'.#:#t¥'u::'i¥greDajftrri8:fn°ana°nfdvidnan

   This Agreement is entered into on this 6th day of November, 2019 between Trutek Carp.. a New Jersey (NJ}
   Corporation, with its registered office at 465 Somerville Road, Basking Ridge. NJ 07920, USA (hereafter
   "Trutek") and Jintee America, ]nc. 210 Sylvan Avenue # 24, Englewcod Cliffs, NJ 07632, USA (hereafter
   "Jintee")

   WIIEREAS. Trutek is the lawful and legal owner of the US registered trademarks Of Truteks and
   NasalGuard for NasalGuard® (Year Round Topical) Gel - Tube Product (hereafter "Prorfuct") and desires to
   grant Jintec an exclusive lieense for Importation tin Primary Container i.e. filled & sealed tubes] for
   Secondary Packaging, Marketing (advertising & promotion), Sales, and Disthbution of NasalGuard® pnducts
   in Greater China area including Mainland China, Hong Kong, Macau, Taiwan. (hereinafter Greater China)
   and Vietnam; provided that Jintec obtains tlie necessary permits or approvals for the products from the
   concerned government authorities.

   WHEREAS, Jintee, having condneted sufficient due diligence, desires to be Licensed dy Trutek to fulfill all
   obl igations granted by Trutek under th is Agreement;

   WHEREAS. both parties have hnd the opporfunity to seek independent legal counsel for this Agreement,
   have read and understood all the terms of the agreement, have Signed this Agreement freely and voluntarily,
   without any duress or coercion, and have agreed to abide by the terms of this Agreement;

   NOW, THEREFORE, in mutual benefits the parties agree as follows;

               Confidebtinlity: Any data, documentation, information, literature or publicatiQns in any and all
               formats; and samples or materials submitted to Jintce by Trutek prior and during the Term of this
               Agreement shall be bound by the terms of the executed Confidential Disclosure Agreement
               executed on March 4. 2019 (Attachment P') for a minimum period Qf ten years upon termination
               of this Agreement.

      11.     Trade Secrets, Trademarlqfty and Patent Protection:

               (a) Tmtek does not grant and Jintee does not claim and will not claim any rights whatsoever with
                    respect to Trutek's Trade Secrets and Intellectual Property (hereafter "IP"), and Jintec hereby
                    acknowledges Trutek's exclusive right and title in the Territory and elsewhere to the Products
                    and Trutck's Trade Secrets and lntelleetuat Property. The phrase "Tnitek's Trade Secrets and
                    Intellectual Property" refers to Trutek's trademarks, patents and patents-pending, goodwill,
                   trade names, trade secrets, manufacturing and selling processes, knowhow and techniques,
                   secret formulae, copyrights, designs, and other materials of any ki nd whatsoever employed in
                   connection with the manufacture, assembly, packaging, offering for sale, advertisement,
                   promotion and sale of the Products. In addition, Jinfec shall not attempt to manufacture or




   Trutek/Jintee                                 tryrevINf ynd             Tndin ]rfurf pevIrf iLof 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 75 of 125 PageID: 206

                   commission the manufacturing of the Trutek' s product NasalGuard herein or any products,
                   which shall be developed by Trutek in the future.

               (b) Jintee shall not register any of Turtek's trademarks, trade names, designs or copyrights, or
                   obtain any patents covering the Products in Greater China and Vietnam covered by this
                   Agreement or anywhere else.

               (c) Upon execution of this Agreement, Jintec may register Trutek's trademarks (similar or
                   equivalent Of Trutek§ and NasalGuard and others) in cormection with the sales of the
                   Products with the consent of Tmtek, which will not be unreasonably withheld provided such
                   trademarks are assigned to Trutek under the Clause 11 (d). Any such filing for trademark
                   registration for launch of the Products shall be done no later than 30 days from the date of
                   signing this Agreement by a qualified/aceredi€ed trademark attrmey in Greater China and
                   Vietnam retained and paid for by Jintec. Jintec is only permitted to use during the term Of this
                   Agreement the trademarks of the Product, in accordance with the provisions of this
                   Agreement, and any and all use by Jintee of said trademark shall inure to the benefit of
                   Trutek, and Jintee shall acquire rlo rights in said marks through such use.

               (d) In the event that this Agreement is terminated, Jinfec shall lrot use these trademarks on the
                   Prnducts, and Jintee shall assign and refum all said trademarks to Trutek with Trutek's
                   payment of registration fees and trademark attomey's fessg sincerely and diligently to be
                   mutually negotiated by Trutek and Jintec.

     in.       Initial Term: The parties have agreed to an initial term of five years starting from the execution
               of this Agreement. This Agreement shalt b6 automatically renewable unless a written notice to
               terminate is given at least 90 days prior to the expiration of the term by either party to the other.
               Such termination shall not, however, occur upon Trutek's initiation if Jintec cor]tinues to meet the
               `minimum' sales requirement stipulated in Clause VITI (d) during the term of this Agreement,
               unle§§ there's a breach by Jintec uncured for 3d days of notification by Trutek.

     IV.       Distribution of products: The primary container (i.e. filled and sealed tubes) to be packaged in
               §econdrry packaging and distributed by Jintec shall include 3.00 gin NasalGuard gel in tubes,
               bulk-packed for cartoning and secondary packaging by Jintee for importation through cormmercial
               sales to consumers jn and exclusively for Greater China and Vietnam.

     V.        ExclusivityITei.ritory: Trutek grants J inter the license and distribution rights iH `¢reater China"
               and Vietnam as set folth above. No Sales are permitted outside Greater China and Vietnam. Any
               violation of the `sales territory' not reversed within 30 days from notifieatien shall be a cause of
               the termimtion of this Agreement.

     VI.       Use of Trutek'3 NasalGuard© Trademai.k and Intellectual Property RIghts by Jintes:

               ® Jintec shall use Trutek's and NasalGuard trademarks (Trutek'§ registered trademark) on the
                  products & carton graphics and adveTti§ement & promotionfll materials. Upon receipt of
                  Trutek' s prior approval, NasalGuard may be co-branded with Jintee' s trademark/brand name
                  as long as both brand names are indicated/pub] icized in substantially equivalent prominence
                   and placements.




   Trutek/Jintec                                 Agreement          TqutekulJinfroJ                    Page 2 of 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 76 of 125 PageID: 207

              (b) Jintee shall be responsible to supply the design (graphic artwork & mechanical) of the
                  Primary Container i.e.; tube, the secondary packaging jnclndjng carton, labeling and
                  regulatory compliance, packaging, through distribution subject to approval of all copies, ads,
                   promotional materials explicitly, conspicuously and prom inertly indicating NasalGuard®
                   trademark on all such materials. Jintee shall have an exclusjv; and antomatic use Of rights for
                   the NasalGuard trademark during the entire ten Of its Agreemtht with Trutek. Jintec will
                   respect the Intellectual Property Rights of Trutek Corp. and with due prominence indicate
                   `Created with NasalGuard Patented Technology' and some verbiage to that extent for Trutek
                   Corp'S "lp" rights on 1:he pnduct carton and all advertising and promotional materials.

     VH.           License Fees: Tmtek grants Jintec an exclusive license for Importation [in Primary Container
                   i.e. filled & sealed tubes] for Secondary Packaging, Marketing (advertising & promotion),
                   Sales, and Distribution ofNasalGuard® products in Greater China and Vietnam as long as
                   this Agreement i§ valid. For this License, Jintec has agreed to pay Tndtek a Lieense Fee of
                   USD300,000 in two installments of usDl oo,000 by November 30, 2019 and USD200,000
                   by December 20, 2019.

     VIII.     Annua]Quantities_REn¥&mnd&ffijce#:aEets=                               ingITerms:

               (1) Jintec chall, ne later than D::=::t= 33, #,                     `Order ("PO") for 250,000
                   units at USD2.47 or 150,000 units at USD2.83-Of 3.00 gin gel t'ubes for each SKU. The
                   parties agree that the quantify of the 18t purehase order is based on one (single) SKU only.

               (b) Trutek has agreed to extend, for due considerations of cooperation and executing Agreement
                   with Jintec, a Prefermed Customer pricing and offer a unit price of USD3.54 for all single
                   purchase orders of loo,000 units for each SKU or more with single shipment and USD3. I 9
                   for all single purchase orders of 250,000 units for each SKU or more with (2) shipments for
                   the term Of this Agreement. The paties agree that minimum order quantity of each purehase
                   order shall be over loo,000 units for each SKU.

               (c) [n addition, to cooperate and extend assistance in Jintee marketing investment, Trutck has
                   offered following additional discount for initial two (2) contract years. A contract year herein
                   refers to one calender year calculated from the date of initial commercial shipment.

                    i)  22.5% discount over its unit price of USD3.19 i.e. a unit prise of usD2,47 for Purchase
                        orders over 250,000 units
                    ii} 10,0% discount over the unit price of usD3.54 i.e. a unit price ofusD3.19 for purchase
                         orders over loo,000 units.

                    The parties have agreed that the above additional discount shall apply only for the first two
                    years of the Agreement, and Not thereafter`

               (d) This Agreement is subject to automatic renewal for following year, unless Jintef has a breach
                   uncured for 30 days of notification and as long as the Contract Armual Minimum Quantity
                   (I st year -350,000 units, 2nd year -750,000 units] 3rd year -1 ,250,000 units, 4th year &
                   onwards -2,000,000units per year,) is achieved.




   Trutek/Jintec                                 Agteement                                              Page 3 of 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 77 of 125 PageID: 208

              (e) All unit prices quoted are ex-factory NJ, USA. All sales are final. No return or credit except
                  for damaged product. Darnages must be reported within seven days of delivery, Normal
                  delivery lead time, upon receipt from approval of the tube graphies by Jintec, will be 14 -18
                  weeks.


              (i) Distributors and other customers will not repackage, re-tube* re-bottle, re-label, affix stickers
                  or in any way modify the finished gcods famished in accordance with this Agreement except
                  with the express `wittefl consent of Trmtek,


              (g) Trutek shall not be deemed in default or breach of this Agreement or any purchase order
                  received from customers as a result Of any delay in shipping orders caused by circumstances
                  beyond Trutek's control such as, but not limited to, strikes, flues, ae€idents3 lookouts, work
                  stoppages or inability to procure supplies or materials.

     EL        Regulatory obligations by Jintec:

              (a) Jintec shall have the discretion of imporfution and marketing Of NasalGuard products
                  cuimently marketed and distributed in the USA as a General Purpose article for personal care
                  use or any other class or c]assification to restrict the inhalation of aifoome particles, when
                  used as directed, from entering the nasal passages. Such partiere§ include pollen, fine dust,
                   yellow dust and dust mites, mold/Spores and other airborne contaminants etc, Trutek claims
                   there is no drug action or any active ingredient in the product. Such disorction for Regulatory
                   Compliance by Jintec shall be exercised with an objective to achieve the MaKimum
                   Commercialization of the NasalGuard products in Greater China and Vietnam with the
                   reasonably quickest time after launch.

              (b) Jintee may launch the Product without registration, at its own risk and discretion, in the event
                  it is riot regulated by Health Authority. Instead, soon after the Product has been rolled out in
                  the market, Jinte£, at its own expense, may file the Product under medical device 11 according
                  to ministry of food and drug safety (CFDA) guideline. For this purpose, Trutek has provided
                  Jintec with any and all technical, commercial and regulatory informatiori, data, including but
                  not limited to descriptions of bench tests, labs, in vitro safety, ex vivo vimcidal studies,
                  clinical, analytieal, microbial, and texture testing (tackiness) of all studies it has previously
                  completed so far.

              (a) Any additional work, publishing Of peer review articles, testing and clinical studies e.g,;
                  testing for efficacy on PM 2.5, similar, enhanced/different or combined clinical claims, or
                   Indication for Use and marketing claims eta. as applicable to Greater China and Vietnam,
                   consumer environment for Greater China and Vietnam launch or any/all Regulatory
                   approvals. as required, shalt be at the sole expense and the responsibility Of Jintec to launch
                   and continue marketing of the products. Jintec shall prepare, review, and submit such filing
                   documents for Trutek]s review, consideration, and proof of filing and for Trutek's record on
                   Trutek.s behalf. Jintec shall, however, have and continue to have the rights to use of such
                   approvals as long as this Agreement with Trutek is valid. Upen termination Of this
                   Agreement, all such rights granted to Jintee §haH cease to exist and any use, implied or
                   explicit, by Jilitec shall be a breach and violation of this Agreement.




   Trutek/Jintee                                 Agreement          T"tek±J|ntee2                      Page 4 of 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 78 of 125 PageID: 209



     X.       Infringements in China:

               (a) Jintec shall advise Trutck of any infringements in China of Product trademarks, trade names,
                   copyrights or designs or any imitations of any Products of which it becomes aware. Trutek
                   shall take such immediate steps as are reasonably necessary to protect Trutek's rights, and
                   Jintec shall assist and cooperate with Trutek in enforeing such rights. Jintec agrees not to
                   contact the third party, not to make any demands or claims, not to institute any suit nor take
                   any other action on account of such infungements or limitations without first obtaining the
                   prior written permission Of Trutek.

               (b) With respect to all claims and suits® including suits in whieh Jintee is joined as a party; Trutek
                   shall have the sole right to employ counsel of its choosing and to direct the handling of the
                   litigation and any settlement thereof. Trutek shall bear all expenses connected with the
                   foregoing, except that, if Jjntec desires to retain its own counsel, it shall do so at its expense.
                   Any recovery as a result of such actions shall be shared equally between Trutek and Jintec. In
                   case a third party has alleged infringement in the Territory of trademarks, copyrights, patents
                   or other intellectual property rights owned by such third-party, in relation to distributing the
                   Products hereunder, Jintec shall inform Company of such claim or allegation and the parties
                   shall fake necessary action in cooperation, except where the subject matter is Jintee's
                   trademark.


               (c) If Trutek fails to dispute about such allegation with such party Qr if Jintee decides not to
                   dispute about it, Jintec may terminate this Agreement without prejudice to all other rights
                   claimable, or remedies obtainable from* Trutck hereunder for any and all Of its loss and
                   damages sustained thereby, except where the subject matter of the alleged infringement is
                   Jintec' s own trademark.

    H.        Payments: All payment(s) to Trutek shall be made via wire transfer to Trutek's designated Bank
              Account, unless otherwise notified, at TD Bank, 34 East Somerset Street, Raritan, NJ 08869,
              USA. Account No. 7855926817, Routing No. 031201360, along with Jintec's purchase order for
              Trutek to start production for subsequent shipment of the product. The paymerLt terms shall be
              30% with the P.O.; 60% upon proof of shipment provided by Jintec'§ freight forwarding company
              in the USA, and balance 10% within 10 calendar days LipQn arrival of shipment at the designated
              warehouse in Greater China. All shipments are final; subject to returns only due to deviation from
               proposed specifications and approved speeinen samples of acceptance.

    un         Proposed Shipment Packing: Trutek and Jintec will agree to specifications and quantities of
               bulk shipment by air or by sea, of filled tubes tQ Jintec.

    in.     Nob-Compete clause; During the term hereofofthi8 Agreement and for five years (5)
               thereafter, Jintee, its subsidiaries, affil iates, corporate parents and ccrmmonly controlled
               companies will not distribute, sell, market or promote any product which competes or is likely to
               compete with any of the Trutek's Products in the Territory.




   Trutek/Jintec                                  Agreement                                              Page 5 of 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 79 of 125 PageID: 210



    Xrv.    Warranties:

            Trutek wamnts that:
                   (a)    It owns the products and Documentation; and
                   (b)    It is authorized to enter into this Agreement and dues so without breaching any
                          contract that it has with a third party.

            Jintec warrants that:
                 (a)      1t is skilled and experienced at promoting, marketing and advertising products which
                         are similar to the Products within Greater China and Vietnam; and
                  (b)     It shall carry out all its obligations, and has sufficient resources (financial and
                         otherwise) under this Agreement in a timely manner and using reasonable skill and
                          Care.


     XV.      DisputeResolution:

              (a) lf any disputes occur over the fulfillment Of this Agreement the parties shall try to resolve
                  them amicably.


              (b) lf the parties cannot resolve the dispute amicably, then plaintiff shall file their complaint in
                  the county where defendant resides.

                   The party that does not implement the award voluntinly shall be obligated to pay all the costs
                   including but not limited to attomey's fees, legal expenses and costs related to recovery of
                   demagrs, for the other party to imp]ernent the award.

              (c) The laws that shall govern the dispute or resolution shall be the laws of the State of New
                  Jersey, USA.

    XVI.      Assignment,Subeontracting,Tran8ferorTerminationoftheRIghta,Bindingon
              Successor/AssignFTransferee:

              (a} Trutek may assign/transfer its rights to a successor, assignee or trmsferee if the situation so
                  requires. Such successor, assignee or transferee shall abide by the terms in this agreement.


              (b) Jintec shall not assign, transfer, or deal in any way with any of its rights or obligations under
                  thisAgreementQrsub¢ontracttheperformanceofanyofitsobligationsunderthis
                  Agreement without the prior written approval of Trutek. Such approval not to be
                  unreasonably withheld or de layed.


              (c) This Agreement may terminate if either party has ceased operation or becomes insolvent or
                  bankrupt, or when Jintec dces nat mect any of the requirements as set forth in this Agreement
                  and fails to cure the same no later than 30 calendar days upon notification to do so, Failure to
                  renew trademark or maintenance of Intellectual Propert}/ rights by Trutek does not
                  automatically terminate its rights in this Agreement.




   Trutek/Jintec                                  Agmememt           Trutek                              Page 6 of 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 80 of 125 PageID: 211

               (d) In addition to all other rights and remedies which Trutek may have in law or in equityl Trutek
                   may, at its option, terminate this Agreement by giving written notice of termination3 in the
                   event of (I) breach of this Agreement by Jintec, including a breach of the terms of payment or
                      the failure of Jintec to advance payments for goods which have been ordered and for whieh
                      shipment has been prepared; (2) failure of Jintec to perform any obligations undeftaken in
                      this Agreement; (3) insolveney or bankruptcy of Jintec or (4) any transfer or assignment, or
                      attempted transfer or assignment of this Agreement or any right or Obligation hereunder or
                      any sale or transfer of any interest in the ownership or control of Jintec without the prior
                      written consent of Trutek.

    XVH.       Third party Rights:

                   A person who is not party to this Agreement shall have no rights under the Contracts (Rights of
                   Third Parties) Act 1999 to enforce any term of this Agreement. This clause does not affect any
                   right or remedy of any person, which exists or is available cth8rwise than pursuant to that Act.

    XVEL           Validity and Entire Agreement: If any provision in this agreement is invalid, the remaining
                   provisions shall continue to be valid and effective.

                   This Agreement represents the parties' entire agreement with respect to the subject matter hereof
                   and supersedes and replaces any prior agreement or understanding (whether written or oral) with
                   respect to the subject matter hereof. This Agreement may be waivedS amended or Supplemented
                   only by an instrument in writing signed by the party agalnst which such waiver, amendment or
                   supplement js sought to be enforced.

    RE




                     Name: Ashok Wahi                                     Name: Petercho

                      Title: President                                    Title: President

                     Trutek Corp~                                         Jintec America Jnc.




   Trutek/Jintec                                     Agreement            Tmtekdrl,nte£ Page 7 of 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 81 of 125 PageID: 212



                                                                                                                             Attachment I



                                 §.QNE!_BENTIAL Dts£LOSu_BE AGREEM.Epr[ `
     THesngneendberfroddeftyatbemcaAseckWat`!.PfesifeottThrfekCorp,ert#givdes®r±(cerehafrortbeL

     asg#£dretorfu¥¥Aesring#ma*¥st¥iTckfu°'rfu#caA#`#:#her%¥#Jt#:8#edes¥


          €®"ffiDDce

           Apdic-
                        I-                                          RE                  hacaiferd©
                                                                                            tluthed®givs




            WueREAS` in eden to rmhiBa's !R¢cn d€eil=aes3tonst # wi« be neceasery for ne rmctryaE to dfecbe be CfaEkRE
     odeindatgi,saquprfeeneinmDmaifennB!eenigtothepeiectwhichltaBr!ssdetobet±rmarrtyprifenggiv

     atco:#:::P::a::f:=::=:r#¥tttsxp¥rfu#ndin##fagqarmaedefeewftytwt®rms
            hlcml, THEFHEFORE. in consanma¢lon ct the mental beneife in nrmerfung me trtfees 8{ be aartica ire pares
     agne ae caha
            t>itecoe8hcein,.Cenouertiqm:]mng.`it]..rafronrmanaudafa.saincedermaen8efa8ngtohe*pgiv
                 ¥=#P3¥::ftyrfuifeirTrto#fuprfres#torfuffeaney#+rgri##"#ntf"#g¥ipto
                 caneqHB-
            2+    The Discbe apma ifet 8 VRE meinfafrr es Conffit:!enea! lnfomademi in esrict Conseersee and that # witt not
                 permit amrfeclencaif l88comiirflol. in is peeses3ien to be diselDsed to ae*f third ped3r on Ltsed fry en¥ putpese rm
                 aethanaed try the ENen*pal to wrftlng<

            3`###EL#=¥neELffg±ffiJ¥Jfu#iffirfe#ueng#+prH#ii:[¥be=#g"i¥tssof
                 fro he ee hergiv~
            &#gng:#g¥ifestoAgouTffiT%:%=gLb;:=fa¥dL+##gtrEffiT:ifaof
                 amail¢iheaerermedOf8tesEcmptopeesardaffihieswioare9ranffi#esetoifeCRE*£derfued
                 ENoma8on to comgiv \hnth the tome hecect. Lfo8er co fromsonoes irm ffi® "aetose ± to frm ha
                 Uie pnqjecl in any fom ather than thcaegiv ae agraemegiv tAife the Prin¢¢pct`

            5.   Aae uftiptlE ctiniActepf¥iantry ifisefttioce end laeprovemsrts: pofedstte gr nth ae a oesiift Dtscbea®.S

                 #=:=###¥£#:#:ffito#%mr=pTinheinprftyulT+TEL##TIr%+
                 adeiedai:i6en from! *be "ecloeee. The "setoaeeF3 pnepriefaqf` pctenfed er copsrtyhfeB irfurmgiv¥ 8ife er
                 preceeees \irip not be chcfad try mie apeement.
     IN ""lESS thfrlERE®F, lho pefraes! have caused thi± Agree.mierut tr be e*ecadeed dy !teir 6rty at"ori3ed




                                                               tiwitreeseed dy:
     PflREfi jlntoc Afrndea lf]c.



     Trutek/Jintec                                            Agreement                                                        Page 8 of 8
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 82 of 125 PageID: 213




                     EXHIBIT 4
                 U.S. Patent 8,163,802
                   (The '802 Patent)
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 83 of 125 PageID: 214
                                                                               IIIIII IIIIIIII Ill lllll lllll lllll lllll lllll lllll lllll lllll 111111111111111111
                                                                                                              US008163 802B2


   c12)   United States Patent                                                          (IO)    Patent No.:                     US 8,163,802 B2
          Wahi                                                                          (45)    Date of Patent:                            Apr. 24, 2012

   (54)   ELECTROSTATICALLY CHARGED                                                 (56)                        References Cited
          MULTI-ACTING NASAL APPLICATION,
          PRODUCT, AND METHOD                                                                           U.S. PATENT DOCUMENTS
                                                                                          1,071,015     A        8/1913     Adler
   (75)   Inventor:     Ashok Wahi, Hillsborough, NJ (US)                                 2,237,954     A        4/1941     Wilson
                                                                                          2,433,565     A       12/1947     Korman
                                                                                          2,751,906     A       10/1953     Irvine
   (73)   Assignee: Trutek Corp., Hillsborough, NJ (US)
                                                                                          2,777,442     A        1/1957     Zelano
                                                                                          3,145,711     A        8/1964     Beber
   ( *)   Notice:       Subject to any disclaimer, the term ofthis                        3,513,839     A        5/1970     Vacante
                        patent is extended or adjusted under 35                           4,030,491     A        6/1977     Mattila
                        U.S.C. 154(b) by 316 days.                                        4,052,983     A       10/1977     Bovender
                                                                                          4,267,831     A        5/1981     Aguilar
                                                                                          4,401,117     A        8/1983     Gershuny
   (21)   Appl. No.: 12/467,271                                                           4,789,504     A       12/1988     Ohmori eta!.
                                                                                          4,874,659     A       10/1989     Ando eta!.
   (22)   Filed:        May 16, 2009                                                      5,468,488     A       11/1995     Wahi
                                                                                          5,674,481     A       10/1997     Wahi
                                                                                          6,844,005     B2       1/2005     Wahi
   (65)                     Prior Publication Data                                    2003/0223934      Al      12/2003     Wahi
          US 2010/0004337 Al               Jan. 7, 2010                             Primary Examiner - Raymond Henley, III
                                                                                    (74) Attorney, Agent, or Firm - Stanley H. Kremen
                    Related U.S. Application Data
                                                                                    (57)                           ABSTRACT
   (60)   Provisional application No. 61/085,855, filed on Aug.
          3, 2008, provisional application No. 61/078,478, filed                    A product to reduce and method of reducing the risk of
          on Jul. 7, 2008.                                                          inhalation of harmful substances by applying a formulation
                                                                                    composition to a substrate or the skin in close proximity of
   (51)   Int. Cl.                                                                  one or more nostrils. This formulation, when applied creates
                                                                                    an electrostatic field having a charge. The electrostatic field
          A61K 31/198                    (2006.01)
                                                                                    attracts airborne particulates of opposite charge to the sub-
          A61K 31/14                     (2006.01)
                                                                                    strate that are in close proximity to the substrate close to the
   (52)   U.S. Cl. ........................................ 514/564; 514/643        skin and a biocidic agent renders microorganisms coming in
   (58)   Field of Classification Search .................. 514/564,                contact the substrate or skin less harmful.
                                                       514/643; 128/206.11
          See application file for complete search history.                                                23 Claims, No Drawings
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 84 of 125 PageID: 215


                                                          US 8,163,802 B2
                                  1                                                                        2
           ELECTROSTATICALLY CHARGED                                        contaminants to the nasal passages by capturing the contami-
          MULTI-ACTING NASAL APPLICATION,                                   nants and keeping them from entering the body. In the present
               PRODUCT, AND METHOD                                          invention, these electrostatically charged nasal application
                                                                            products capture and hold the contaminants including
              CROSS REFERENCE TO RELATED                               5    viruses, bacteria, and other harmful microorganisms or toxic
                     APPLICATIONS                                           particulates, inactivate them dermally outside the body and
                                                                            render them harmless.
   a) The Present application is the non-provisional counterpart
      of my pending U.S. Provisional Patent Application Ser. No.                     BACKGROUND OF THE INVENTION
      61/085,555 (the '555 application) filed on Aug. 3, 2008          10
      which is incorporated by reference in its entirety herein.               The nasal passages and nasal mucosa serve as body entry
      The Present application claims the benefit of and priority to         points for a wide variety of noxious and toxic substances. The
      said '555 application.                                                body's immune system responds with certain relatively harm-
   b) The Present application is also the non-provisional coun-             less irritants to the nasal passages and airways with reflex
      terpart of my pending U.S. Provisional Patent Application        15
                                                                            responses such as coughing and sneezing. This merely re-
      Ser. No. 61/078,478 (the '478 application) filed on Jul. 7,
                                                                            introduces the irritants into the environment. However, when
      2008 which is incorporated by reference in its entirety
                                                                            the irritant comprises microorganisms, especially those that
      herein. The Present application claims the benefit of and
      priority to said '478 application.                                    reproduce within the body and that are transmitted by cough-
   c) The Present application is likewise related to my prior U.S.     20
                                                                            ing and sneezing, others may become infected. When a per-
      Provisional Patent Application Ser. No. 60/570,103 (the               son feels a cough or a sneeze coming on, he merely covers his
      '103 application) filed on May 12, 2004 (now expired), and            nose and mouth. However, if that person is contagious, this
      which is incorporated by reference in its entirety herein.            action does little to prevent others from also becoming
      The '4 78 application provides a virtually identical disclo-          infected. Furthermore, the use of a tissue or handkerchief for
      sure to the '103 application.                                    25   this purpose is extremely inefficient. This limits the protec-
   d) Furthermore, the Present application is related to my pend-           tion of an individual from becoming infected or infecting
      ing U.S. Provisional Application Ser. No. 61/078,472 filed            others.
      on Jul. 7, 2008, which is incorporated by reference in its               Other means of dealing with preventing inhalation of
      entirety herein.                                                      harmful or irritating substances or of infections agents
   e) The Present application is also related to my prior U.S.         30   include wearing facemasks to filter out these irritants. An
      Provisional Patent Application Ser. No. 60/598,462 filed              example of this is the simple dust mask, typically found in the
      on Aug. 3, 2004 (now expired), and which is incorporated              hardware store or medical supply store. However, even these
      by reference in its entirety herein.                                  are inadequate and inefficient. In many localities, during flu
   f) The Present application is additionally related to my U.S.            season, one can see a large number of people wearing these
      Pat. No. 5,468,488, entitled "ELECTROSTATICALLY                  35   dust masks in public places. The dust masks are now known
      CHARGED NASAL APPLICATION PRODUCT AND                                 to be ineffective. Another example of this preventative
      METHOD" issued on Nov. 21, 1995. This patent is incor-                method is the gas mask, which is more efficient than the dust
      porated by reference in its entirety herein.                          mask. Yet, even gas masks are not highly efficient with respect
   g) The Present application is further related to my U.S. Pat.            to microscopic and sub-microscopic microorganisms. Fur-
      No. 5,674,481, entitled "ELECTROSTATICALLY                       40   thermore, they are extremely cumbersome and cannot gener-
      CHARGED NASAL TOPICAL APPLICATION PROD-                               ally be used during normal day-to-day activities.
      UCT" issued on Oct. 7, 1997. This patent is incorporated                 Patents such as U.S. Pat. No. 6,844,005 describe electro-
      by reference in its entirety herein.                                  statically charged compositions that may be applied exter-
   h) The Present application is moreover related to my U.S. Pat.           nally in the vicinity of the nostril and attract oppositely
      No. 6,844,005 entitled "ELECTROSTATICALLY                        45   charged materials that would otherwise be inhaled. However,
      CHARGED NASAL APPLICATION PRODUCT WITH                                those compositions simply create an electrostatic field that
      INCREASED STRENGTH" issued on Jan. 18, 2005. This                     helps to filter out oppositely charged materials. While this
      patent is incorporated by reference in its entirety herein.           action may offer suitable protection against particles that are
   i) Finally, this application is furthermore related to US Non-           inhaled passively, they suffer from the fact that they cannot
      Provisional Utility patent application Ser. No. 10/082,978       50   completely deal with particulates that have their own internal
      entitled "ELECTROSTATICALLY CHARGED NASAL                             means of overcoming the electrostatic forces, such as micro-
      APPLICATION PRODUCT WITH INCREASED                                    organisms that are motile within the air stream. Furthermore,
      STRENGTH" filed on Feb. 25, 2002. This patent applica-                actions by the person having those electrostatic compositions
      tion is incorporated by reference in its entirety herein.             in the vicinity of the nostrils can sufficiently displace the
                                                                       55   offending particles or organisms, especially in such instances
                  FIELD OF THE INVENTION                                    as blowing or wiping the nose, so that particles that were held
                                                                            captive by the former compositions could become dislodged,
     The Present Invention relates to the field of protective               again set free, and be inhaled.
   compositions against assault by various irritants and noxious
   substances as well as against assault by assorted microorgan-       60                OBJECTS OF THE INVENTION
   isms that typically gain entry into the body through the airway
   and/or nasal mucosa. The Present Invention also relates to                 It is therefore an object of the invention to provide a com-
   anti-viral, anti-bacterial, and anti-microbial products and                    position that can be readily applied to the exterior region
   methods that involve the use of products heretofore devel-                     around the nostril and/or slightly inside the edge of the
   oped for restricting the flow of airborne contaminants into the     65         nostril or near the vicinity of the source of release with
   nasal passages by creating an electrostatic field in an area near              method and compositions capable of capturing particu-
   about the nasal passages. This reduced the inflow of airborne                  lates and microorganisms.
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 85 of 125 PageID: 216


                                                           US 8,163,802 B2
                                   3                                                                                  4
     It is another object of the invention to have the capability to          tain viral particles and/or bacteria. This is a means of trans-
         hold it for a duration from being dislodged in to the air            mission of several diseases by inhaled airborne particles as
         stream again.                                                        follows:
     It is a further object of the invention to provide a compo-
         sition that can be applied near the vicinity of the source      5
         of release or to the area around the exterior of and/or
                                                                              VIRAL DISEASES                     BACTERIAL DISEASES
         slightly inside the edge of the nostril that will inactivate,        (virus type in brackets)           (bacterial name in brackets)
         kill, or render harmless a microorganism, which has
         been captured and held by the composition.                         Chickenpox (Varicella)              Whooping cough (Bordetella pertussis)
     It is yet another object of the invention to provide a com-         10 Flu (Influenza)                     Meningitis (Neisseria species)
                                                                            Measles (Rubeola)                   Diphtheria ( Corynebacterium
         position that can be applied to a filter substrate for             German measles (Rubella)            diphtheriae)
         improving the substrates ability to trap and hold particu-         Mumps (Mumps)                       Pnewnonia (Mycaplasma pneumoniae,
         lates and microorganisms and to simultaneously inacti-             Smallpox (Variola)                  Streptococcus species)
                                                                            SARS (Human Corona)                 Tuberculosis (Mycobacterium
         vate, kill, or render harmless the microorganisms so
                                                                                                                tuberculosis)
         trapped. Such filter substrate could be placed in the close     15                                     Anthrax (Anthracsis bacterium)
         proximity of the skin near the path of inhalation, near the
         source of release of such particulates while the inhaler is
         at a distance or both.                                                  Diseases caused by environmental particulates include, but
     It is still anotherobject of the invention to provide a method                are not limited to the following:
         of prophylactically preventing or of substantially reduc-       20
         ing the risk of infection by an infectious agent without
         the utilization of ingested antiviral and/or antibacterial
                                                                              ENVIRONMENTAL
         agents.                                                              PARTICULATE DISEASES                    SOURCE
     Yet other objects of the invention will be apparent to those
         of ordinary skill once having benefit of the instant dis-       25 Psittacosis ( Chlamydia psittaci)        Dried, powdery droppings from
                                                                                                                     infected birds (parrots, pigeons, etc.)
         closure. In all of the foregoing objects, the deficiencies           Legionnaire's disease (Legionella      Droplets from air-conditioning
         of the previously mentioned prior art are overcome by                pneumophila)                           systems, water storage tanks, etc.,
         the teachings of this invention.                                                                            where the bacteriwn grows.
                                                                            Acute allergic alveolitis (various       FW1gal or actinomycete spores from
                                                                         30 fungal and actinomycete spores)          decomposing organic matter
               SUMMARY OF THE INVENTION
                                                                                                                     (composts, grain stores, hay, etc.)
                                                                            Aspergillosis (Aspergillus               Fungal spores inhaled from
      These and other objects of the invention are unexpectedly             fumigatus, A.flavus, A. niger)           decomposing organic matter.
   achieved by an electro statically charged composition having              Histoplasmosis (Histoplasma             Spores of the fungus, in old,
                                                                             capsulatum)                             weathered bat or bird droppings.
   at least one polymeric quaternary compound in an aqueous or
                                                                             Coccidioidomycosis ( Coccidioides       Spores in air-blown dust in desert
   non-aqueous based formulation, which when applied to a                35
                                                                            immitis)                                 regions (Central, South and North
   surface, creates an electrostatic field such that oppositely                                                      America) where the fungus grows in
   charged airborne particulates (including microorganisms) in                                                       the soil.
   the vicinity of the surface are electro statically trapped, held
   thereto and one or more of the microorganisms so captured is                  To accomplish the present invention, a formulation having
   neutralized, killed, inactivated, and rendered harmless.              40
                                                                              at least one polyquaternary ammonium compound is pre-
                                                                              pared, such compounds, alone or together capable of creating
       DETAILED DESCRIPTION OF THE INVENTION
                                                                              an electrostatic field on and around a surface to which it is
      The present invention relates to anti-microorganism, anti-              applied, including surfaces such as skin, textile (woven and
   viral/anti-bacterial products and methods that involve the use        45   non-woven), and hard surfaces, such as floors, walls, wood,
   of products that restrict the flow of airborne contaminants into           metal, plastic, etc. The formulation is generally aqueous
   the nasal passages by creating an electrostatic field in an area           based, but may include non-aqueous solvents used which are
   near about the nasal passages. Additionally, in the present                compatible with the other formulation components and the
   invention, these electrostatically charged nasal application               application surface to which it is applied. Preferably, the
   products are used to hold the contaminants including micro-           50   formulation is an aqueous formulation. In addition to the
   organisms, viruses, bacteria, and other harmful or toxic par-              polyquaternary ammonium compound, the composition
   ticulate outside the body and render them harmless.                        includes at least. Furthermore, the composition may contain,
      Emergencies of Anthrax lead to the concept of avoidance                 but is not required to contain various thickeners, gellants,
   of inhaling airborne microscopic and sub-microscopic con-                  fragrances, colorants, emollients, humectants, and generally
   taminants. It is the intention of the Present Invention to filter     55   other suitable components that are compatible with the end
   and render harmless materials such as anthrax spores, human                use application and the other components of the formulations.
   corona virus, smallpox virus, influenza virus, avian flu virus,            Thus, a composition of the invention that is intended to be
   swine flu virus, rhino virus, and other biological or chemical             applied to a filter substrate that is perhaps used as a mask with
   elements/toxins/irritants, and the like, prior to their entering           an additional liner between a user and the filter substrate may
   the nasal passages.                                                   60   utilize materials that would not be compatible with direct
      Airborne microorganisms are a major cause of respiratory                contact with skin, although it is preferable that all of the
   ailments in humans, causing allergies, asthma, and patho-                  components are compatible with direct application to the skin
   genic infections of the respiratory tract. Airborne fungal                 as a means of limiting reaction due to inadvertent contact
   spores are also important agents that spread diseases. Respi-              between the composition and the skin.
   ratory diseases cause many fatalities and are a cause of great        65      A formulation of the invention comprises:
   concern. During a sneeze, millions of tiny droplets of water                  water,
   and mucus are expelled at a high velocity. The droplets con-                  at least one quaternary thickener,
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 86 of 125 PageID: 217


                                                             US 8,163,802 B2
                                 5                                                                               6
      a preservative,                                                                                 TABLE I-continued
      a conditioner,
      an emulsifier,                                                             Ingredient                     Percent Range      Function
      a biocidic agent, and
      a neutralizing agent added to adjust and achieve a pH in the     5
                                                                                 Stearyl Alcohol                      1%-3%        Thickener
         range of 5.0 to 6.8.                                                    Cetyl Alcohol                  0.25%-1%           Thickener
      It may further comprise without limitation a combination                   Ceteareth - 20,                      1%-2%        Emulsifier
   of the following:                                                             PEG - 40 Stearate,
      a surfactant,
                                                                       10        Cetearyl Alcohol
      a thickener,
                                                                                 Water,                             0.5%-1.5%      Conditioner
      an emollient,
                                                                                 Hydrolyzed Algin
      a humectant, and
                                                                                 Hydrolized Soy Protein         0.25%-1%           Conditioner
      a binder.
      In an exemplary embodiment of such a formulation, a              15
   quaternary thickener may comprise without limitation, at
   least one of the following:
                                                                                                            TABLE2
      Polyquaternium-10
      Polyquaternium-22                                                     Ingredient                    Percent Range Function
      Polyquaternium-67
                                                                       20 Water                             72%-88%      Solvent, Moisturizer
      Polyquaternium-70                                                   Phenoxyethanol                      1%         Preservative
      Polyquaternium-72                                                   Methylparaben,
      Polyquaternium-88                                                   Propylparaben,
      Cocodimonium Hydroxypropyl Hydrolyzed Keratin                       Butylparaben,
                                                                          Ethylparaben,
      Hydroxypropyltrimonium Wheat Protein                             25 Isobutylparaben
      Benzalkonium Chloride may also serve the same function,             Lysine HCL                           1%        Conditioner, Biocide
   but it is also a cationic agent as well as a biocide. Another          Polyquatemium - 67                 3%-6%       Conditioner, Quaternary
   biocide that may be used is Lysine HCL.                                Nonoxynol - 10                     2%-4%       Surfactant
                                                                          Cocodimoniwn                     0.5%-2%       Conditioner, Quaternary
      In an exemplary embodiment of such a formulation, an                Hydroxypropyl
   emulsifier may comprise without limitation, at least one of the     30 Hydrolyzed Keratin
   following:                                                             Polyquatemium - 72               0.5%-2%       Conditioner, Quaternary
      Cetyl Alcohol (which can also serve as a thickener)                 Polyquatemium - 88                 1%-4%       Conditioner, Quaternary
                                                                          Cetearyl Alcohol,                  1%-4%       Emulsifier
      Cetearyl Alcohol                                                    Glyceryl Stearate
      Glyceryl Stearate                                                     Emulsifier,
      Ceteareth-20                                                     35
                                                                          PEG - 40 Stearate,
      PEG-40 Stearate                                                     Ceteareth - 20
                                                                          Cetearyl Alcohol,                  0.5%        Emulsifier
      Dicetyl Phosphate                                                   Dicetyl Phosphate,
      Ceteth-10 Phosphate                                                 Ceteth - 10 Phosphate
      In an exemplary embodiment of such a formulation, the               Benzalkonium Chloride           0.25%-1%       Cationic, Quaternary, Biocide
   emollient may be Isocetyl Behenate without limitation. The             Hydroxypropyltrimonium              1%         Conditioner, Quaternary
                                                                       40 Wheat Protein
   thickener may be Cetyl Alcohol or Stearyl Alcohol without              Sodium Hydroxide                0.01 %-0.05% Neutralizing Agent
   limitation.
      In an exemplary embodiment of such a formulation, a
   preservative may comprise without limitation, at least one of
   the following:                                                                                           TABLE3
                                                                       45
      Phenoxyethanol;
                                                                            Ingredient                    Percent Range Function
      Methylparaben;
      Butylparaben;                                                       Water                             67%-87%      Solvent, Moisturizer
      Ethylparaben;                                                       Phenoxyethanol,                     1%         Preservative
                                                                          Methylparaben,
      Propy lparaben;                                                  50 Propylparaben,
      Isobutylparaben.                                                    Butylparaben,
      Examples of typical formulations found to be effective              Ethylparaben,
   appear in the ten tables that follow. Percentages are given by         Isobutylparaben
                                                                          Lysine HCL                           1%        Conditioner,   Biocide
   weight.                                                                Polyquaternium - 67                3%-7%       Conditioner,   Quaternary
                                                                       55 Polyquaternium - 72                3%-7%       Conditioner,   Quaternary
                             TABLE 1                                        Cocodimoniwn                     1%-4%       Conditioner,   Quaternary
                                                                          Hydroxypropyl
       Ingredient               Percent Range   FW1ction                  Hydrolized Keratin
                                                                          Polyquaternium - 88                1%-4%       Conditioner, Quaternary
       Water                      62%-80%       Solvent, Moisturizer      Cetyl Alcohol                    1.5%-2.5%     Thickener
       Gluconolactone,                1%        Preservative              Cetearyl Alcohol,                  1%-4%       Emulsifier
                                                                       60
       Sodiwn Benzoate                                                    Glyceryl PEG - 40
       Lysine HCL                     1%        Conditioner                 Stearate,
       Polyquatemium - 67            3%-6%      Conditioner               Ceteareth - 20
       Octoxynol - 9                 2%-5%      Surfactant                Benzalkonium Chloride           0.25%-1 %      Cationic, Quaternary, Biocide
       Polyquatemium - 72           6%-10%      Conditioner               Hydroxypropyltrimonium               1%        Conditioner, Quaternary
       Polyquatemium - 70         0.5%-1%       Conditioner               Wheat Protein
       Dipropylene Glycol                                              65 Sodium Hydroxide                .025%-.075% Neutralizing Agent
       Isocetyl Behenate             4%-6%      Emollient
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 87 of 125 PageID: 218


                                                                  US 8,163,802 B2
                                   7                                                                                8
                              TABLE4                                                                       TABLE 6-continued
   Ingredient               Percent Range Function                                Ingredient                  Percent Range     Function

   Water                     71%-83%         Solvent, Moisturizer                 Cetearyl Alcohol,              1%-3%          Emulsifier
   Phenoxyethanol,             1%            Preservative                    5    Glyceryl Stearate,
   Methylparaben,                                                                 PEG - 40 Stearate,
   Propylparaben,                                                                 Ceteareth - 20
   Butylparaben,                                                                  Benzalkonium Chloride       0.25%-1%          Conditioner, Quaternary,
   Ethylparaben,                                                                                                                Biocide
   Isobutylparaben
                                                                                Hydroxypropyltrimonium             1%           Conditioner, Quaternary
   Lysine HCL                    1%          Conditioner,   Biocide          10 Wheat Protein
   Polyquatemium - 67         4%-6%          Conditioner,   Quaternary
                                                                                Sodium Hydroxide              0.05%-0.75%       Neutralizing Agent
   Polyquatemium - 72         4%-6%          Conditioner,   Quaternary
   Cocodimonium               2%-4%          Conditioner,   Quaternary
   Hydroxypropyl
   Hydrolyzed Keratin
   Polyquatemum - 88           1%-3%         Conditioner, Quaternary
                                                                             15                                TABLE 7
   Cetyl Alcohol                2%           Thickener
   Cetearyl Alcohol,           1%-3.5%       Emulsifier                           Ingredient                    Percent Range     Function
   Glyceryl Stearate,
   PEG - 40 Stearate,                                                           Water                             67%-86%         Solvent, Moisturizer
                                                                                Phenoxyethanol,                      1%           Preservative
   Ceteareth - 20
                                                                                Methylparaben,
   Benzalkonium Chloride    0.25%-1%         Cationic, Quaternary, Biocide   20 Butylparaben,
   Hydroxypropyltrimonium        1%          Conditioner, Quaternary
                                                                                Ethylparaben,
   Wheat Protein                                                                Isobutylparaben
   Sodium Hydroxide         .025%-.075% Neutralizing Agent                      Lysine HCL                          1%            Conditioner,   Biocide
                                                                                Polyquatemium - 10                 1%-4%          Conditioner,   Quaternary
                                                                                Polyquatemium - 67                 1%-4%          Conditioner,   Quaternary
                                                                             25 Polyquatemium - 72               0.5%-1.5%        Conditioner,   Quaternary
                              TABLES                                            Cocodimoniwn                     0.5%-1.5%        Conditioner,   Quaternary
                                                                                Hydroxypropyl Hydrolized
   Ingredient               Percent Range Function                                Keratin
                                                                                Microcare Quat CTC 30              1%-3%          Conditioner, Quaternary
   Water                     73%-85%         Solvent, Moisturizer               Polyquaternium - 88                1%-3%          Conditioner, Quaternary
   Phenoxyethanol,               1%          Preservative                    30 Polyquaternium - 22                1%-3%          Conditioner, Quaternary
   Methylparaben,                                                               Cetyl Alcohol                      3%-5%          Thickener
   Propylparaben,                                                               Cetearyl Alcohol,                  2%-3%          Emulsifier
   Butylparaben,                                                                Glyceryl Stearate,
   Ethylparaben,                                                                PEG - 40 Stearate,
   Isobutylparaben                                                              Ceteareth - 20
   Lysine HCL                   1%           Conditioner,   Biocide             Benzalkonium Chloride           0.25%-1%          Conditioner, Quaternary,
                                                                             35
   Polyquatemium - 67         2%-3%          Conditioner,   Quaternary                                                            Biocide
   Polyquatemium - 72         4%-6%          Conditioner,   Quaternary            Hydroxypropyltrimonium             1%           Conditioner, Quaternary
   Cocodimonium               2%-4%          Conditioner,   Quaternary            Wheat Protein
   Hydroxypropyl                                                                  Sodium Hydroxide              0.05%-0.1%        Neutralizing Agent
   Hydrolyzed Keratin
   Polyquatemium - 88          1%-3%         Conditioner, Quaternary
   Cetyl Alcohol                2%           Thickener                       40
   Cetearyl Alcohol,           1%-3%         Emulsifier                                                        TABLES
   Glyceryl Stearate,
   PEG - 40 Stearate,
                                                                                  Ingredient                  Percent Range     Function
   Ceteareth - 20
   Benzalkonium Chloride    0.25%-1%         Cationic, Quaternary, Biocide      Water                           58%-74%         Solvent, Moisturizer
   Hydroxypropyltrimonium        1%          Conditioner, Quaternary         45 Phenoxyethanol,                    1%           Preservative
   Wheat Protein                                                                Methylparaben,
   Sodium Hydroxide         0.05%-0.75% Neutralizing Agent                      Propylparaben,
                                                                                Butylparaben,
                                                                                Ethylparaben,
                                                                                Isobutylparaben
                              TABLE6                                         50 Lysine HCL                         1%           Conditioner, Biocide
                                                                                Glycerin                          10%           Humectant
   Ingredient                Percent Range     Function                         Glyceryl Acetate/Acrylic           1%           Conditioner, Humectant
                                                                                Acid Copolymer
   Water                       69%-85%         Solvent, Moisturizer             Polyquaternium - 10              1%-4%          Conditioner,   Quaternary
   Phenoxyethanol,                1%           Preservative                     Polyquaternium - 67              1%-3%          Conditioner,   Quaternary
   Methylparaben,                                                            55 Polyquaternium - 72            0.5%-1.5%        Conditioner,   Quaternary
   Propylparaben,                                                                 Cocodimoniwn                 0.5%-1.5%        Conditioner,   Quaternary
   Butylparaben,                                                                Hydroxypropyl
   Ethylparaben,                                                                Hydrolyzed Keratin
   Isobutylparaben,                                                             Cetrimonium Chloride             1%-3%          Conditioner, Quaternary
   Lysine HCL                     1%           Conditioner,   Biocide           Polyquaternium - 88              1%-3%          Conditioner, Quaternary
   Polyquatemium - 10        0.25%-0.85%       Conditioner,   Quaternary        Polyquaternium - 22              1%-3%          Conditioner, Quaternary
                                                                             60
   Polyquatemium - 67         1.5%-3.5%        Conditioner,   Quaternary        Cetyl Alcohol                     4%            Thickener
   Polyquatemium - 72           4%-6%          Conditioner,   Quaternary        Cetearyl Alcohol,                2%-3%          Emulsifier
   Cetyl Alcohol                1%-3%          Thickener                        Glyceryl Stearate,
   Cocodimonium                 2%-4%          Conditioner, Quaternary          PEG - 40 Stearate,
   Hydroxypropyl                                                                Ceteareth - 20
   Hydrolyzed Keratin                                                           Polybutene                        4%            Binder
   Polyquatemium - 88           1%-3%          Conditioner, Quaternary       65 Benzalkonium Chloride         0.25%-1%          Conditioner, Quaternary,
   Polyquatemium - 22           1%-3%          Conditioner, Quaternary                                                          Biocide
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 88 of 125 PageID: 219


                                                                    US 8,163,802 B2
                                       9                                                                          10
                              TABLE 8-continued                                                        TABLE 10-continued

   Ingredient                    Percent Range   Function                         Ingredient                Percent Range   Function

   Hydroxypropyltrimonium             1%         Conditioner, Quaternary          Wheat Protein
                                                                             5    Sodium Hydroxide          0.05%-0.1 %     Neutralizing Agent
   Wheat Protein
   Sodium Hydroxide             .0.05%-0.1 %     Neutralizing Agent
                                                                                     All of the formulations described in TABLE 1-10 repre-
                                                                                  senting various embodiments of the Present Invention operate
                                  TABLE9                                          in the manner that was disclosed herein. The same results may
                                                                             10
                                                                                  be achieved by varying the percentages for the active and
   Ingredient                    Percent Range   Function                         inactive ingredients. Varying the percentages for the active
                                                                                  ingredients affects the potency of the formulation. Varying
   Water                           54%-73%       Solvent, Moisturizer
   Phenoxyethanol,                   1%          Preservative                     the percentages for the inactive ingredients affects the con-
   Methylparaben,                                                            15   sistency of the formulation. The desired results may be
   Propylparaben,                                                                 achieved by varying the ingredients and their amounts by
   Butylparaben,                                                                  those skilled in the art without undue experimentation.
   Ethylparaben,
   Isobutylparaben                                                                   I claim:
   Lysine HCL                         1%         Conditioner, Biocide
                                                                                     1. A method for electrostatically inhibiting harmful par-
   Glycerin                           8%         Humectant
   Glyceryl Acetate/Acrylic           1%         Conditioner, Humectant      20   ticulate matter from infecting an individual through nasal
   Acid Copolymer                                                                 inhalation wherein a formulation is applied to skin or tissue of
   Polyquaternium - 10              1%-4%        Conditioner,   Quaternary        nasal passages of the individual in a thin film, said method
   Polyquaternium - 67              1%-4%        Conditioner,   Quaternary
   Polyquaternium - 72            0.5%-2%        Conditioner,   Quaternary
                                                                                  comprising:
   Cocodimonium                   0.5%-2%        Conditioner,   Quaternary           a) electro statically attracting the particulate matter to the
   Hydroxypropyl                                                             25         thin film;
   Hydrolyzed Keratin                                                                b) holding the particulate matter in place by adjusting the
   Cetrimonium Chloride             1%-3%        Conditioner, Quaternary
   Polyquaternium - 88              1%-3%        Conditioner, Quaternary
                                                                                        adhesion of the thin film to permit said thin film to stick
   Polyquaternium - 22              1%-3%        Conditioner, Quaternary                to the skin or tissue and by adjusting the cohesion of the
   Cetyl Alcohol                     4%          Thickener                              formulation to provide adequate impermeability to the
   Cetearyl Alcohol,                2%-3%        Emulsifier                  30         thin film; and,
   Glyceryl Stearate,
   PEG - 40 Stearate,
                                                                                     c) inactivating the particulate matter by adding at least one
   Ceteareth - 20                                                                       ingredient that would render said particulate matter
   Polybutene                       3%-4%        Binder                                 harmless.
   Benzalkonium Chloride         0.25%-1 %       Conditioner, Quaternary,            2. A formulation for electrostatically inhibiting harmful
                                                 Biocide
   Hydroxypropyltrimonium             1%         Conditioner, Quaternary
                                                                             35   particulate matter from infecting an individual through nasal
   Wheat Protein                                                                  inhalation wherein the formulation is applied to skin or tissue
   Sodium Hydroxide              0.05%-0.1 %     Neutralizing Agent               of nasal passages of the individual in a thin film, said formu-
                                                                                  lation comprising at least one cationic agent and at least one
                                                                                  biocidic agent, and wherein said formulation, once applied:
                                                                             40      a) electro statically attracts the particulate matter to the thin
                                  TABLE 10
                                                                                        film;
   Ingredient                    Percent Range   Function                            b) holds the particulate matter in place by adjusting the
                                                                                        adhesion of the thin film to permit said thin film to stick
   Water                           52%-71 %      Solvent, Moisturizer
   Phenoxyethanol,                    1%         Preservative
                                                                                        to the skin or tissue and by adjusting the cohesion of the
   Methylparaben,                                                            45         formulation to provide adequate impermeability to the
   Propylparaben,                                                                       thin film; and,
   Butylparaben,                                                                     c) inactivates the particulate matter and renders said par-
   Ethylparaben,
   Isobutylparaben
                                                                                        ticulate matter harmless.
   Lysine HCL                         1%         Conditioner, Biocide                3. The formulation of claim 2 wherein the at least one
   Glycerin                           9%         Humectant                   50   cationic agent is a polymeric quaternary ammonium com-
   Glyceryl Acetate/Acrylic           1%         Conditioner, Humectant           pound.
   Acid Copolymer
   Polyquaternium - 10
                                                                                     4. The formulation of claim 3 wherein the at least one
                                    1%-3.5%      Conditioner,   Quaternary
   Polyquaternium - 67              1%-3%        Conditioner,   Quaternary        polymeric quaternary ammonium compound is taken from
   Polyquaternium - 72            0.5%-2%        Conditioner,   Quaternary        the group consisting of:
   Cocodimonium                   0.5%-2%        Conditioner,   Quaternary   55      Polyquaternium-10,
   Hydroxypropyl
   Hydrolyzed Keratin
                                                                                     Polyquaternium-22,
   Cetrimonium Chloride             1%-3%        Conditioner, Quaternary             Polyquaternium-67,
   Polyquaternium - 88              1%-3%        Conditioner, Quaternary             Polyquaternium-70,
   Polyquaternium - 22              1%-3%        Conditioner, Quaternary             Polyquaternium-72, and
   Cetyl Alcohol                     4%          Thickener
   Cetearyl Alcohol,                1%-4%        Emulsifier
                                                                             60      Polyquaternium-88.
   Glyceryl Stearate,                                                                5. The formulation of claim 2 wherein the at least one
   PEG - 40 Stearate,                                                             cationic agent is Cocodimonium Hydroxypropyl Hydrolyzed
   Ceteareth - 20                                                                 Keratin or Hydroxypropyltrimonium Wheat Protein.
   Polybutene                       5%-6%        Binder
                                                                                     6. The formulation of claim 2 wherein the at least one
   Benzalkonium Chloride         0.25%-1 %       Conditioner, Quaternary,
                                                 Biocide                     65   cationic agent is Benzalkonium Chloride.
   Hydroxypropyltrimonium             1%         Conditioner, Quaternary             7. The formulation of claim 2 wherein the at least one
                                                                                  biocidic agent is Benzalkonium Chloride or Lysine HCL.
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 89 of 125 PageID: 220


                                                         US 8,163,802 B2
                                 11                                                                     12
     8. A formulation for electrostatically inhibiting harmful                17. The formulation of claim 13 further comprising an
   particulate matter from infecting an individual through nasal           emollient.
   inhalation wherein the formulation is applied to skin or tissue            18. The formulation of claim 13 further comprising a
   of nasal passages of the individual in a thin film, said formu-         humectant.
   lation comprising:                                                         19. The formulation of claim 13 further comprising a
      a) at least one biocidic agent, and                                  binder.
      b) at least one quaternary thickener.                                   20. The formulation of claim 13 wherein the preservative is
      9. The formulation of claim 8 wherein the at least one               taken from the group consisting of:
   biocidic agent is Benzalkonium Chloride or Lysine HCL.                     Phenoxyethanol,
                                                                      10      Methylparaben,
      10. The formulation of claim 8 wherein the at least one
                                                                              Butylparaben,
   quaternary thickener is taken from the group consisting of:
                                                                              Ethylparaben, and
      Polyquaternium-10,
                                                                              Isobutylparaben.
      Polyquaternium-22,                                                      21. The formulation of claim 13 wherein the emulsifier is
      Polyquaternium-67,                                              15   taken from the group consisting of:
      Polyquaternium-70,                                                      Cetyl Alcohol,
      Polyquaternium-72, and                                                  Cetearyl Alcohol,
      Polyquaternium-88.                                                      Glyceryl Stearate,
      11. The formulation of claim 8 wherein the at least one                 Ceteareth-20,
   cationic agent is Cocodimonium Hydroxypropyl Hydrolyzed            20      PEG-40 Stearate,
   Keratin or Hydroxypropyltrimonium Wheat Protein.                           Dicetyl Phosphate,
      12. The formulation of claim 8 wherein the at least one                 Ceteth-10 Phosphate.
   cationic agent is Benzalkonium Chloride.                                   22. The formulation of claim 16 wherein the thickener is
      13. The formulation of claim 8 further comprising:                   Cetyl Alcohol or Stearyl Alcohol.
      a) water,                                                       25      23. The formulation of claim 13 wherein:
      b) a preservative,                                                      a) the amount of water ranges from 54% to 90% by weight
      c) a conditioner, and                                                   b) the amount of the quaternary thickener ranges from
      d) an emulsifier.                                                          0.5% to 5.0% by weight,
      14. The formulation of claim 13 further comprising a neu-               c) the amount ofbiocidic agent ranges from 0.25% to 2%
   tralizing agent added to adjust a pH in the range of 5.0 to 6.8.   30         by weight,
      15. The formulation of claim 13 further comprising a sur-               d) the amount of emulsifier ranges from 0.5% to 4% by
   factant.                                                                      weight.
      16. The formulation of claim 13 further comprising a thick-
   ener.                                                                                         * * * * *
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 90 of 125 PageID: 221




                     EXHIBIT 5
          Covixyl-G Product Packaging
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 91 of 125 PageID: 222
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 92 of 125 PageID: 223




                     EXHIBIT 6
                U.S. Patent Application
                      Publication
                No. 2022/0133783 A1
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 93 of 125 PageID: 224

                                                                             US 20220133783A1
                                                                                                                                  IN
   ( 19 ) United States
   ( 12 ) GAFFAR
          Patent Application Publication ( 10 ) Pub. No .: US 2022/0133783 A1
                 et al .                                                (43 ) Pub . Date :                               May 5, 2022
   ( 54 ) ANTIVIRAL COMPOSITION AND USE OF                        ( 60 ) Provisional application No. 63 / 103,881 , filed on Aug.
         THE SAME                                                       31 , 2020 .
   ( 71 ) Applicant: SALVACION USA INC . , Englewood                                  Publication Classification
                     Cliffs, NJ (US )                             (51 ) Int . Ci.
                                                                        A61K 33/34                    ( 2006.01)
   ( 72 ) Inventors: Abdul GAFFAR , Lakewood Ranch , FL                 A61K 9/107           (2006.01 )
                     (US ); Yeong Wan CHO , Palisades                   A61P 31/12                    (2006.01 )
                     Park , NJ (US ); Sei Young YUN ,                   A61K 47/16           (2006.01 )
                     Daejeon (KR)                                 (52) U.S. CI.
   ( 73 ) Assignee : SALVACION USA INC . , Englewood                     CPC        A61K 33/34 (2013.01 ) ; A61K 47/16
                     Cliffs, NJ (US )                                           (2013.01 ) ; A61P 31/12 ( 2018.01 ) ; A61K
                                                                                                        9/1075 ( 2013.01 )
   ( 21 ) Appl. No .: 17 /576,098                                 ( 57 )            ABSTRACT
   (22 ) Filed :      Jan. 14 , 2022                              Provided are an antiviral composition containing a cationic
                                                                  antiviral agent ( cationic agent) and a copper salt to prevent,
                Related U.S. Application Data                     control or treat viral infections in a mammal , particularly in
                                                                  the nasopharyngeal and throat areas of humans and animals ,
   ( 63 ) Continuation - in -part of application No. PCT/US20/    and a method of preventing, controlling or treating viral
         55772 , filed on Oct. 15 , 2020 .                        infections in a mammal using the same .




                Antiviral effect of Solution2 against rVSG - dG 2019 - COV - 2-18AAS
                                                         in Vero cells on day 1

                                   *******************                                         ********************************


                   90




                                 ?
                                 “
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 94 of 125 PageID: 225


   Patent Application Publication                May 5 , 2022 Sheet 1 of 5            US 2022/0133783 A1




         FIG . 1



              Antiviral effect of Solution 1 against VSG-dG 2019 -COV - 2-18AAS
                                        in Vero cells on day 1


                                                                    ww




                                    sub


                                 nananna linna            naman      Sunnuntaan han har hantintahank

                                                  Concentration (ugmt)
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 95 of 125 PageID: 226


   Patent Application Publication            May 5 , 2022 Sheet 2 of 5                US 2022/0133783 A1




             FIG . 2


                       Antiviral effect of Solution2 against rVSG - dG 2019 - C0V - 2-18AAS
                                                 in Vero cells on day 1




                         60
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 96 of 125 PageID: 227


   Patent Application Publication   May 5 , 2022 Sheet 3 of 5   US 2022/0133783 A1




    FIG . 3


                                              PX
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 97 of 125 PageID: 228


   Patent Application Publication   May 5 , 2022 Sheet 4 of 5     US 2022/0133783 A1




   FIG . 4
                                                8. Scream 22861




                                                                         Ko
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 98 of 125 PageID: 229


   Patent Application Publication   May 5 , 2022 Sheet 5 of 5   US 2022/0133783 A1




    FIG . 5
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 99 of 125 PageID: 230


   US 2022/0133783 Al                                                                                                 May 5 , 2022
                                                                     1

        ANTIVIRAL COMPOSITION AND USE OF                                 U.S. Pat. Nos . 2,984,639 ; 3,325,402 ; 3,431,208 and British
                             THE SAME                                    Patent No. 1,319,396 , each of which is incorporated herein
                                                                         by reference in its entirety.
              CROSS - REFERENCE TO RELATED                               [ 0011 ] Safe and effective antiviral products for the treat
                         APPLICATIONS                                    ment of viral infections are urgently needed, particularly
   [ 0001 ] This application is a Continuation - in - Part of PCT
                                 a                                       considering the current worldwide break of Covid - 19 .There
   Application No. PCT/US2020 /055772 , filed on Oct. 15 ,               is an urgent need in the art for safe and effective new
                                                                         treatments for viral infections.
   2020 , which claims priority to and the benefit of U.S.
   Provisional Patent Application No. 63 / 103,881 , filed on                         SUMMARY OF THE INVENTION
   Aug. 31 , 2020 , the disclosure of which is incorporated
   herein by reference in its entirety.                                  [ 0012 ] The present inventors have found that a composi
                                                                         tion comprising a cationic antiviral agent, a copper salt and
                  FIELD OF THE INVENTION                                 water shows a surprising, remarkably strong synergistic
   [ 0002 ] This invention relates to an antiviral composition           antiviral activity. Particularly, a composition comprising a
   containing a cationic antiviral agent (cationic surfactant) and       cationic surfactant, ELAH or benzalkonium chloride (BAC ) ,
   a copper salt to control viral infections in the nasopharyn           in combination with a copper salt showed a synergistically
   geal and throat areas of humans and animals .
                                                                         improved antiviral activity , which is unexpected from each
                                                                         of the components when they used alone . Further, the
            BACKGROUND OF THE INVENTION                                  present inventors have found that the composition , when it
                                                                         is applied to the nasal cavity, forms a physical barrier on the
   [ 0003 ] Acute Respiratory Syndrome ( SARS ) virus and                surface of the cavity , particularly the surface of the naso
   Covid virus were first found in China and rapidly spread              pharynx, and protects the virus from adhering to mucosal
   over Asia , Europe, North America, etc. Current evidence              tissue of the nasal passages , thus stopping further transmis
   suggests that the virus spreads between people through                sion for infection . Accordingly, one object of the present
   direct , indirect (through contaminated objects or surfaces ),        invention is to provide an antiviral composition , particularly
   or close contact with infected people via mouth and nose              an antiviral microemulsion composition comprising an
   secretions . These include saliva , respiratory secretions or         effective amount of a cationic antiviral agent, particularly an
   secretion droplets.                                                   arginine ester cationic surfactant, a copper salt and aa solvent.
   [ 0004 ] Worldwide outbreaks of Covid virus infection                 Another object of the present invention is to provide a
   illustrate the complexity of effective treatments . Recently ,        method of preventing, inhibiting or treating a viral infection
   worldwide outbreaks of Covid and SAR infections led to an             in a subject in need thereof comprising applying the com
   urgent search for optimum tools to limit the spread of                position to the subject, particularly to the nasal cavity of the
   diseases .                                                            subject.
   [ 0005 ] Coronavirus family includes alpha coronaviruses              [ 0013 ] One aspect of the present invention relates to an
   229E , NL63 , Beta 0043 , HKU1, and human corona viruses              antiviral composition comprising a cationic antiviral agent,
   are MER 6 - COV C Middle East respiratory Syndrome.                   a copper salt and water.
   SAR - COV (beta coronavirus that cause respiratory syn                [ 0014 ] The cationic agent in the composition may be in an
   drome SARS and SAR - COV - 2 and the novel coronavirus                amount of 2 ppm to 20,000 ppm , and the copper salt may be
   that cause Coronavirus 2019 , Covid - 19 .                            in an amount of 1 ppm to 10,000 ppm . The solvent in the
   [ 0006 ] People around the world commonly get infected                composition may be selected from one or more of water,
   with human coronavirus 229E , NL63 , 0043 , and HKU1. It              alcohol , propylene glycol , ethyl acetate, methyl isobutyl
   is believed in the art that Covid - 19 is a good experimental         ketone, acetone, tetrahydrofuran , isopropyl ether, and a
   model for determining the biological activity of a synergistic        combination thereof. The cationic agent is selected from the
   combination against Covid viruses .                                   group consisting of ethyllauroyl arginate, a quaternary
   [ 0007] Cationic surfactants ' anti - bacterial functions are         ammonium compound, benzalkonium chloride , benzetho
   well known in the art for a variety of applications as                nium chloride, methylbenzethonium chloride, cetalkonium
   anti- germ agents, such as water / oil emulsion in nanopar            chloride, cetylpyridinium chloride, cetrimonium , guanidine,
   ticles as disclosed in U.S. Pat . No. 8,877,208 .                     and a combination thereof. The copper salt comprises a
   [ 0008 ] A copper salt has been used in fighting infections           gluconate, a citrate, an acetate, an amino acid or a peptide.
   ( see Gadi, Borkov . Current Chemical Biology 2012 , 6 ;              [ 0015 ] The antiviral composition may comprise 0.01 % to
             2

   Borkov, G et al 2007 , Antimicrobial Agents Chemotherapy              20% of a plasticizer selected from glycol , glycerin , xylitol ,
   Vol 51 page 2605 .
                         .
                                                                         ethanol, and a combination thereof.
                                                                         [ 0016 ] In the antiviral composition, the cationic agent and
   [ 0009 ] Cationic surfactants derived from lauric acid and            the copper meets Equation 1 described below . In the equa
   arginine, in particular, the ester of lauramide of arginine           tion , FICI means Fractional inhibitory Concentration ( FIC )
   monohydrochloride, also known as ethyl- N - alpha- lauroyl            Index , FICA means the FIC of agent A , FICB means the FIC
   L - arginate HCl , lauramide arginine ethyl ester, lauric argin       of agent B. Herein , agent A is the cationic agent and agent
   ate ethyl ester, or ethyl lauroyl arginine hydrochloride              B is the copper agent.
   ( ELAH ) , may be used for protection against the virus. The                FICI= FICA + FICB .                            [ Equation 1 ] :
   ELAH and its derivatives are described in WO 2008/014824
   and the disclosure is incorporated herein by reference in its         [ 0017] In the equation , FICA= [ CA] sy/ [ CA] al and FICB =
   entirety .                                                            [ CS ] sy/ [ CS ] al . [ CA] al is a minimum inhibitory concentra
   [ 0010 ] Among the most common cationic antibacterial or              tion ( MIC ) of the cationic agent, and [ CS ] al is a minimum
   antiviral is a quaternary ammonium compound disclosed in              inhibitory concentration ( MIC ) of the copper salt , [ CA] sy is
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 100 of 125 PageID: 231


   US 2022/0133783 A1                                                                                                      May 5 , 2022
                                                                        2

   a minimum inhibitory concentration ( MIC ) of the cationic               2 - hour exposure to coronavirus 229E ( 10-3 dilution ) and
   agent where the cationic and the copper agents are used at               48 - hour incubation ( B ) . A : 20 um ; B : 5 um .
   the same time , and [ CS ] sy is a minimum inhibitory concen                        DETAILED DESCRIPTION OF THE
   tration ( MIC ) of the copper salt where the cationic the a
   copper salt are used at the same time .                                                            INVENTION
   [ 0018 ] In the antiviral composition, the fractional inhibi             [ 0030 ] The antiviral composition provided herein com
   tory index (FICI ) is less than 0.5 . FICI <0.5 indicates syn            prises a cationic agent with antiviral activity, a copper salt
   ergistic, FICI of > 1 indicates additive, and FICI of >2                 and a solvent. The cationic agent may be selected from ethyl
   indicates indifferent (Hollander et al : Antimicrobial agents            lauroyl arginate, quaternary ammonium compounds, and
   Chemotherapy 1998 , Vol. 42 , pages 744-748 ).                           guanidine compounds.
   [ 0019 ] The antiviral composition has a pH between pH 4                 [ 0031 ] The cationic antiviral agent may be a cationic
   and pH 8. The pH may be between 4 and 6.5 , between 4 and                surfactant, which is derived from lauric acid and arginine, in
   5 , between 4.4 and 5 , or between 4.6 and 5 .                           particular, the ester of lauramide of arginine monohydrate ,
   [ 0020 ] The antiviral composition may be formulated into                hereafter named , ELAN , and may be used for protection
   or be in the form of, for example, a nasal spray, a nasal gel ,          against virus . Details of ELAN and its derivatives are
   an aerosol, a throat lozenge , a gargle, an oral strip , a topical       described in WO 2008/014824 , the content of which is
   formulation , or an external use formulation . However, it is            incorporated herein by reference in its entirety.
   not limited to the formulations .                                        [ 0032 ] The cationic antiviral agent may be quaternary
   [ 0021 ] Where the antiviral composition is applied to a                 ammonium compounds, which are disclosed in U.S. Pat.
   surface , it may be used in an amount of 0.01 to 100 mg/dm²,             Nos . 2,984,639 ; 3,325,402 ; 3,431,208 and British Patent No.
   preferably 0.5 to 50 mg/dm², and more preferably 1 to 19                 1,319,396 , each of which being incorporated herein . The
   mg/dm².                                                                  quaternary ammonium compounds of the cationic antiviral
   [ 0022 ] Another aspect of the invention relates to aa method            may include those in which one or two substitutions of the
   for preventing , inhibiting , controlling or treating bacterial or       quaternary nitrogen has a carbon chain length of typically
   viral infections in a subject in need thereof, comprising                alkyl groups 8 to 20 , typically 10 to 18 while the remaining
   administering or applying the composition containing a                   substituents have lower carbon atoms typically alkyl or
   cationic antiviral and a copper salt , as described above , to a         benzyl groups such as 1 to 7 atoms, typically methyl or ethyl
   subject in need thereof, particularly to the nasal cavity of the         groups. These include benzalkonium chloride , cetyl pyri
   subject, more particularly to the nasopharyngeal or throat               dinium chloride.
   surface of humans and animals .                                          [ 0033 ] The cationic antiviral may be guanidine com
   [ 0023 ] In one embodiment, the composition is pre-admin                 pounds which are disclosed in German Patent application
   istered to the subject for prophylactic effect, wherein the              No. P 2,233,383 and it is incorporated herein .
   composition reduces viral entry and the cytopathic effect                [ 0034 ] The copper salt used is a copper salt releasing
   thereof. The composition , when it is administered nasally, is           copper ions in water. The copper salt comprises a gluconate ,
   retained in the nasal cavity for a prolonged time , for                  a citrate , an acetate, amino acids , peptides and complexes of
   example, 2 hours or longer, and reduces viral entry and the              copper /polymer.
   cytopathic effect of the virus.                                          [ 0035 ] Non - limiting examples for copper ( II ) salts include
   [ 0024] Both the foregoing summary of the invention and                  Copper ( II ) sulfate , Copper ( II ) chloride, Copper ( II )
   the following brief description of the drawings and the                  hydroxide, Copper (II ) perchlorate, Copper ( II ) selenite,
   detailed description of the invention are exemplary and                  Copper (II ) sulfide ), Copper ( II ) thiocyanate, Copper ( II )
   explanatory and are intended to provide further details of the           triflate, Copper ( II ) tetrafluoroborate, Copper ( II ) acetate
   invention as claimed . Other objects, advantages, and novel              triarsenite (Paris Green ), Copper ( II ) benzoate , C ( Scheele's
   features will be readily apparent to those skilled in the art            Green ), Copper (II ) chromite, Copper (II ) gluconate, Copper
   from the following detailed description of the invention . The           (II ) peroxide, Copper (II ) usnate .
   present invention will be described in detail as follows.                [ 0036 ] A copper salt of the amino acids and peptides are
                                                                            disclosed by P. A. Kober and K. Surguira (J. Bio . chem ., vol
         BRIEF DESCRIPTION OF THE DRAWINGS                                  X111 no 1 pages 1-11 ) , the content of which is incorporated
                                                                            herein , and it may include the salts of glycine, alanine ,
   [ 0025 ] FIG . 1 illustrates antiviral effect of Solution1               aminobutyric acids , valine , leucine, isoleucine and di- and
   against rVSG - dG 2019 - COV -2-18AA S in Vero cells on day              polypeptides of amino acids .
   1.                                                                       [ 0037 ] Copper polymeric complexes such as acrylic acids ,
   [ 0026 ] FIG . 2 illustrates antiviral effect of Solution2               polymers, oligomers, copolymer of maleic acids and / or
   against rVSG -dG 2019 - CoV - 2-18AA S in Vero cells on day              anhydrides and of olefin having one or more atoms of carbon
   1.                                                                       atoms per molecule may be used . The preferred are poly
   [ 0027] FIG . 3 illustrates SEP imaging photos of MRC - 5                meric polymaleate , polymethyl methacrylate, vinylmethy
   cells alone as control after 48 -hour incubation at 35 ° C. A :          ether copolymer and other carboxylic polymer disclosed in
   10 um ; B : 3 um .                                                       U.S. Pat. No. 4,217,343 , the content of which is incorporated
   [ 0028 ] FIG . 4 illustrates SEP imaging photos of MRC - 5               herein by reference .
   cells after 2 - hour exposure to human coronavirus 229E                  [ 0038 ] The most preferred combination of the components
   ( 10-3 dilution ) ( A ) and after rinsing to remove virus and            is ELAH or Benzalkonium chloride with a copper salt to
   48 -hour incubation (B ) . A : 20 um ; B : 5 um .                        achieve synergistic antiviral effects.
   [ 0029 ] FIG . 5 illustrates SEP imaging photos of MRC5                  [ 0039 ] The composition further comprises 0.01 % -20 % of
   cells after 10 -minute exposure to 10 ug /mL (10-2 dilution ) of         a plasticizer, wherein the plasticizer may be selected from
   active ELAN (non -cytotoxic concentration ) ( A ), and after             glycol , glycerin, ethanol, and a combination thereof.
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 101 of 125 PageID: 232


   US 2022/0133783 A1                                                                                                    May 5 , 2022
                                                                       3

   [ 0040 ] It is preferred to dissolve the compounds directly             [ 0046 ] The treatment of liquid preparations such as drink
   before use in one of the preferred solvents of food -grade              ing fluids or natural sources of water such as lakes or ponds
   water, ethanol, glycerin , propylene glycol and aa mixture of           requires the presence of the cationic surfactants, more in
   glycol with water. If the treatment shall be performed at               particular, according to the preferred embodiment of ELAN
   specific pH values ( pH 4 to pH 8 ) , the use of a corresponding        or BAC plus a copper salt at a concentration of a level which
   buffer solution may be recommended . On the other hand, the             is sufficient to achieve the wanted antiviral in the drinking
   synergistic combination can be easily used as a semisolid or            fluid or water. Such level of concentration would be
   a solid . Surfaces shall be protected, for instance , the surface       expected in the range of 0.2 to 20,000 ppm , more preferred
   of masks , solid surfaces on the furniture, protective clothes,         2 to 15,000 ppm , even more preferred 100 to 10,000 ppm
   etc.                                                                    and most preferred 200 to 2,000 ppm containing the cationic
   [ 0041 ] The present invention relates to the use of the                surfactants ELAN or BAC with copper salt according to the
   combination of a cationic surfactant, ELAH or BAC , and a               preferred embodiment containing ELAN or BAC plus cop
   copper salt to achieve a synergistic antiviral effect against           per salt . These concentrations are provided in terms of the
   virus infections .                                                      concentration of the cationic surfactant in the liquid or the
   [ 0042 ] The present invention furthermore relates to the               water to be treated .
   application of the cationic surfactants of formula with a               [ 0047] The treatment of animals or humans implies the
   copper salt to a subject in need thereof, particularly animals          application of the cationic surfactant in a manner which is
   or human beings directly, for prophylactic, inhibiting or               suitable for the application of the compounds used according
   therapeutic treatment of virus diseases . A “ subject in need ”         to one aspect of the invention . The compounds may be
   refers to a human or animal at risk of a viral infection, or            applied topically, such as rectal application, external appli
   which has contracted a viral infection .                                cation to the skin or trans -nasal application . The formula
   [ 0043 ] The cationic surfactants of the formula disclosed in           tions to be applied may be a conventional formulation , such
   WO 2008/0014824 plus a copper salt may be applied to a                  as capsules , microcapsules, tablets , granules, powder, pills ,
   surface as a solution . This is the easy and suitable manner of         ointments, suppositories, oral strips, suspensions , syrups,
   treating the surface of the ground, cars , animals and people .         emulsions, liquids, sprays , inhalants, and nose drops. Pref
   For other applications, it may be more suitable to apply the            erably, it is a spray, solution, or microemulsion .
   cationic surfactants plus a copper salt as a solid which may            [ 0048 ] In one embodiment, the antiviral composition is
   be equally effective .                                                  microemulsion. A microemulsion is a thermodynamically
   [ 0044 ] The treatment of product to avoid any kind of virus            stable fluid , the particle size of which may range from about
   infection might involve the presence of a concentration of              10 nm to 300 nm . Because of the small particle sizes ,
   the cationic surfactants of the formula, ELAH or BAC with               microemulsions appear as clear or translucent solutions .
   a copper salt , more in particular according to the embodi
   ment of ELAH or BAC of around 2 to 20,000 ppm plus a                    [ 0049 ] The microemulsion composition according to the
   copper salt 1 to 10,000 ppm product to be protected ,                   present invention may have particle sizes of 10 to 300 nm ,
   preferably a concentration of 100 to 10,000 ppm and more                preferably 10 to 200 nm , 10 to 180 nm , 10 to 60 nm , 20 to
   preferably 200 to 2000 ppm . This is aa similar concentration           40 nm , or 25 to 40 nm .
   as has been described for achieving the microbiocidal action .          [ 0050 ] The microemulsion composition was characterized
   Products to be treated with the above - indicated range of              for size and size distribution using several techniques,
   concentrations of the cationic surfactants plus a copper salt           dynamic light scattering (DLS ) , asymmetric - flow field flow
   are for instance food products or cosmetics .                           fractionation (AF4 ) , and light scattering (DynaPro ) . In addi
   [ 0045 ] The treatment of surfaces that are infected with               tion , particle concentration by light scattering, zeta potential,
   viruses, such as the surface of food preparations, the surface          ELAH concentration by reversed phase high performance
   of cosmetics , ground surface, the surface of any kind of               liquid chromatography (RP - HPLC ) , and total and free cop
   vehicles, and the surface of any equipment used in the                  per as well as the presence of metal impurities by inductively
   handling of animals infected with the virus, requires the               coupled plasma mass spectrometry ( ICP - MS ) were also
   presence of cationic surfactant ELAH or BAC plus a copper               measured .
   salt , in particular according to a preferred embodiment of             [ 0051 ] In one embodiment, the hydrodynamic size mea
   ELAH or BAC plus a copper salt of level which is sufficient             sured by Dynamic light scattering ( DLS ) in 10 mM NaCl
   to achieve the wanted antiviral activity at such surfaces .             (zeta potential conditions) and PBS (to mimic physiological
   Such level of concentration would be expected 2 to 20,000               ionic strength ) showed several size populations and that the
   ppm , more preferred 100 to 10,000 ppm and even more                    majority of particles have about 14 nm particles. The particle
   preferred 100 to 10000 ppm and even more preferred 200 to               size measured with the light scattering (DynaPro® ) in
   2000 ppm , containing the surfactant plus a copper salt of              another embodiment showed that the majority of particles of
   claims , according to the preferred containing ELAN , BAC               the microemulsion composition have an average particle
   and a copper salt . These concentrations are given in terms of          size of 14.8-2.3 nm , with an average particle concentration
   the concentration of aa solution containing the cationic sur            of 1.46 + 0.97 E + 13 particles /ml.
   factant plus a copper salt which is applied to the surfaces to
   be treated. If surfaces are treated with solid preparation of           [ 0052 ] The size distribution assessed using asymmetric
   the cationic surfactant of the formula, the amount which is             flow field flow fractionation (AF4 ) coupled with MALS and
   applied shall be such that the amount of the cationic sur               DLS detectors showed two size populations , the first peak
   factant of ELAN or BAC plus a copper salt shall be in the               having the hydrodynamic size ranging from 20 to 40 nm
   range of 0.01 to 100 mg/dm², preferably an amount of 0.5                (25.4 nm on average ) and the second peak having the
   to 50 mg/dm², and more preferably an amount of 1 to 19                  hydrodynamic size ranging from 60-170 nm ( 93.6 nm on
   mg /dm².                                                                average ). Upon incubation with plasma , the first peak had
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 102 of 125 PageID: 233


   US 2022/0133783 A1                                                                                                             May 5 , 2022
                                                                       4

   the hydrodynamic size ranged from 25-40 nm and the                                                      Example 1
   second peak had the hydrodynamic size ranged from 35-180
   nm ( 81.1 nm in average ).                                              [ 0064 ] VSV -Pseudo Type Neutralization Assay for SARS
                                                                           CoV2
   [ 0053 ] The microemulsion composition was evaluated for
   potential contamination with endotoxin and beta - glucans.              [ 0065 ] IBT ( Integrated Biologic Testing) conducted the
   Endotoxin was assayed using the kinetic turbidity Limulus               study using established a VSV Neutralization assay similar
   Amebocyte Lysate ( LAL ) assay , and beta -glucans were                 to the system IBT and others have previously reported for
   assayed using the commercial Glucatell assay. Both endo                 filoviruses and SARS - CoV2 . Briefly, VSV lacking G has
   toxin and beta - glucan levels were below the assay detection           been pseudo typed with SARS - CoV2 Spike protein and
   limits , and therefore, are not expected to pose a safety               produced in HEK293T cells . This system contains luciferase
   concern .                                                               reporter gene which is used for assay readout.
   [ 0054 ] The above -mentioned formulations may be pre                   [ 0066 ] Specifically, four dilutions of the test combination
   pared according to conventional methods using various                   of ELAH or BAC with copper gluconate, 200 , 100 , 50 and
   organic or inorganic carriers, excipients or additives con              25 ug /ml and controls were prepared and mixed with VSV
   ventionally used for topical or external formulations, such as          virus in a ratio of 1 : 1 for 1 hour at room temperature
   plasticizers, pH adjusters, thickeners, fragrances, emulsifi            followed by incubation over Vero cells at 37 ° C. The cells
   ers , preservatives, stabilizers ( such as citric acid , sodium         were lysed the following day and luciferase activity was
   citrate , acetic acid) , suspending agents ( such as methylcel          measured to assess antiviral effect of the test compound to
   lulose , polyvinylpyrrolidone, aluminum stearate ), dispersing          block viral entry in the Vero cells . All samples were run in
   agents ( such as hydroxypropylmethyl cellulose ) , diluents             triplicate. Data analysis was conducted using XLFit and
   ( such as water ), base waxes ( such as cacao butter, white             Graphed pad Prism .
   petrolatum , polyethylene glycol ) or other suitable ones .
   [ 0055 ] Non - limiting examples of the plasticizers include            [ 0067 ] Synergistic Effect Between the Cationic Agent
   glycol , glycerin , xylitol , ethanol, or a combination thereof.        (e.g. , ELAH or BAC ) and Copper Estimated by the Frac
   The plasticizers may be used in an amount of 0.01 % to 20               tional Inhibitory Index ( FICI )
   wt . % , preferably 0.5 to 10 wt . % , and more preferably 5 wt .       [ 0068 ] It was found that the antiviral effect ( against Covid
   %.
                                                                           19 ) of the combination is higher, when a copper salt and a
   [ 0056 ] Non -limiting examples of the preservatives include            cationic antimicrobial agent are used in combination, than
   phenoxyethanol. The preservatives may be used in an                     the summation of separate use of a copper salt and a cationic
   amount of 0.05 to 2.5 wt . % , preferably 0.05 wt . % .                 antimicrobial agent. The antiviral composition containing
   [ 0057] Non - limiting examples of the humectants include               the cationic agent and the copper salt in combination , or
   1,2 hexanediol. The humectants may be used in an amount                 when the cationic agent and the copper salt are used simul
   of 0.1 to 10 wt . % , preferably 5 wt . % .                             taneously, meets Equation 1 :
   [ 0058 ] Non - limiting examples of the pH adjusters include            [ 0069 ] [ Equation 1 ] FICI =FICA + FICB , wherein FICA=
   sodium hydroxide or citric acid . The pH adjusters may be               [ CA ] sy / [ CA ] al , FICB = [ CS ] sy / [ CS ] al , wherein [ CA ] al is the
   used in an amount to adjust the pH of the composition to be             minimum inhibitory concentration (MIC ) of the cationic
   in the range of pH 4.5 to 6.5 .                                         agent (ex , ELAH or BAC ) alone respectively, CS ] al is the
   [ 0059 ] Non - limiting examples of the thickeners include              minimum inhibitory concentration (MIC ) of the copper salt
   PVP (K 90) . The thickeners may be used in an amount of 1               alone respectively, [ CA] sy is the minimum inhibitory con
   to 10 wt . % , preferably 1 to 3 wt . % , and more preferably 1         centration (MIC ) of the cationic agent (ex , ELAH or BAC )
   wt . % .                                                                when the cationic and the copper agents are used at the same
                                                                           time , [ CS ] sy is the minimum inhibitory concentration (MIC )
   [ 0060 ] Non - limiting examples of the fragrances include              of the copper agents when the cationic the copper agents are
   lavender. The fragrances may be used in an amount of 0.1 to             used at the same time .
   1 wt . % , preferably 0.01 wt . % .                                     [ 0070 ] The fractional inhibitory index (FICI ) of the com
   [ 0061 ] Non -limiting examples of the emulsifiers include              position is less than 0.5 , which indicates that the composi
   PEG - 40 hydrogenated castor oil . The emulsifiers may be               tion has a synergistic antiviral effect. Per established prin
   used in an amount of 0.1 to 1 wt . % , preferably 0.01 wt . % .         ciples of synergism between two active agents, if the
   [ 0062 ] The composition of the present invention may be                fractional inhibitory concentration of two agents, when
   applied 1 to 4 times per day, or as needed .                            added , is less than 0.5 , synergism is demonstrated . That is ,
                                                                           FICI <0.5 is synergistic , FICI of > 1 is additive, and FICI of
                                                                           >2 is indifferent (Hollander et al : Antimicrobial agents
                            EXAMPLES                                       Chemotherapy 1998 , Vol 42 page 744-748 ) .
   [ 0063 ] The following examples are provided to illustrate                                              Example 2
   the present invention . It should be understood, however, that
   the invention is not to be limited to the specific conditions           [ 0071 ] Spray Solutions and Evaluation of Antiviral Effects
   or details described in these examples. Throughout the                  Thereof
   specification, any and all references to a publicly available
   document, including a U.S. patent , are specifically incorpo            [ 0072 ] To evaluate the antiviral effect of the composition
   rated by reference .                                                    of the present invention, Solution 1 was prepared with the
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 103 of 125 PageID: 234


   US 2022/0133783 A1                                                                                                          May 5 , 2022
                                                                              5

   active ELAH and other components as shown below in the                                                 Example 3
   table , according to a method known in the art for preparing                   [ 0078 ] Characterization of the Nasal Spray Inhibition of
   a spray solution.                                                              Coronavirus 229E Binding to MRC - 5 Cells ( Solution 1 in
   [ 0073] Solution1:                                                             Example 2 : COVIXYL - VTM ).
                                                                                  [ 0079 ] The efficacy of active ELAH on altering cell sus
   Ingredient                        Function             Dosage                  ceptibility to viral entry was assessed using SEM , under the
                                                                                  condition :
   ELAH (20%)                        Active               0.1-2 w/v %
                                                                                  [ 0080 ] i . Viral strain and amplification number : Human
   Copper Gluconate                                     0.001-1.0 %
   Glycerin                          plasticizer          1-30 g                     coronavirus 229E ( ATCCO VR -740TM ) -amplification
   Xylitol                           plasticizer  1-15 g ( 5.00 w/v % )              number: 1
   Phenoxyethanol                    Preservative    0.01-0.5 g                   [ 0081 ] ii . Cell line : MRC - 5 ( ATCC® CCL - 171TM ) pas
   1,2 hexanediol                    Humectant          0.2-5 g                      sage number: 9
   Sodium Hydroxide                  pH adjuster           q.s.
   Citric acid                       pH adjuster           q.s.                   [ 0082 ] iii . Viral cell culture medium : Eagle's Minimum
   PVP (K 90 )                       Thickener
                                     Fragrance
                                                         0.1-5 g                     Essential Medium ( EMEM) 2 % , Fetal Bovine Serum , 1 %
   Lavendar
   PEG- 40 Hydrogenated Castor Oil   Emulsifier
                                                           q.s.
                                                        0.01-3 g
                                                                                     penicillin / streptomycin .
   Purified Water                    Solvent            to 100 ml                 [ 0083 ] iv. Product test concentrations : Based on findings
   Total                                                   100 ml                    from Phase 2a , COVIXYL - VTM 0.1 % ( 1000 ug/mL ) was
   pH                                                    5.0 + 1.5                   diluted in viral cell culture media to Dilutions of 10-2 ( 10
   Appearance                                       Transparent Liquid               ug /mL ) and 10-3 ( 1 ug /mL active concentration ).
                                                                                  [ 0084 ] V. Diluent used for test item : Viral cell culture
   [ 0074] Solution2 :                                                               media

   Ingredient                        Function                        Dosage
   Benzalkonium Chloride ( 50 % )    Active                 0.01-5.0 g ( w / v % )
   Copper Gluconate                                               0.001-1.0 %
   Glycerin                          plasticizer                         1-30 g
   Xylitol                           plasticizer                  1-15 g ( 5.00 w / v % )
   Phenoxyethanol                    Preservative                   0.01-0.5 g
   1,2 hexanediol                    Humectant                          0.2-5 g
   Sodium Hydroxide                  pH adjuster                      q.s.
   Citric acid                       pH adjuster                      q.s.
   PVP (K 90 )                       Thickener                          0.1-5 g
   Lavender                          Fragrance                        q.s.
   PEG- 40 Hydrogenated Castor Oil   Emulsifier                       0.01-3 g
   Purified Water                    Solvent                          to 100 ml
   Total                                                                 100 ml
   pH                                                              5.0 + 1.5
   Appearance                                               Transparent Liquid


   [ 0075 ] Antiviral Activity Test Results :                                     [ 0085 ] vi . Contact time ( s ) : 10 min for test product
   [ 0076 ] The results of viral inhibition of SV Covid - 19 by                   [ 0086 ] vii . Incubation conditions: 37 ° C. - 2 ° C. and 5 %
   ELAH/copper gluconate combination ( Solution 1 ) are illus                        CO2 (MRC - 5 cell culture ), 35º C.12 ° C. and 5 % CO2
   trated in FIG . 1 , at the concentration of 25 , 50 , 100 and 200                 ( Viral barrier studies)
   ug/ml. The reported effect of ELAH by itself on virus                          [ 0087] viii . Methods of assessment: High Resolution
                                                                                     Scanning Electron Microscopy, University of Wyoming.
   inhibition is 300 ug /ml ( WO 2008/014824 ) and copper by                      [ 0088 ] Viral Barrier Studies:
   itself is 300 ug /ml ( Sagripanti, JC et al Applied environ .                  [ 0089 ] MRC - 5 ( ATCC® CCL - 171TM) cells (passage num
   microbiol : 1993 : vo159 : 4374-4376 ) . Therefore, FICI for                   ber : 9 ) were seeded approximately 1x10 cells / mL to CELL
   ELAH/copper combinations: ELAH 30 /Cu30 /300 = 0.10 + 0 .                      TREAT® 4 chamber cell culture slides ( 229164 ) and incu
   10 =0.20 ( inhibition conc . is at 30 ppm) is less than 0.5 ,                  bated 37 ° C. - 2 ° C. and 5 % CO , for 4 days until 80 % to 90 %
   which indicates synergism between ELAH and copper                              confluence . At time zero of experimentation , active ELAH
   against SAR -Covid.                                                            dilutions 10-2 and 10-3 750 uL (total volume ) were applied
   [ 0077] The results of viral inhibition of SV Covid - 19 by                    to cells in the chambers and incubated 37 ° C. + 2 ° C. and 5 %
   BAC plus a copper salt ( Solution 2 ) are illustrated in FIG .                 CO2 for 10 minutes, then culture media containing unbound
   2. The figure shows BAC plus copper gluconate had 100                          test product was removed and prepared human coronavirus
                                                                                  229E dilutions ( 10-2 , 10-3 and 10-4 ) in viral cell culture
   percent inhibition on SV CoVid2 at 20 ug /ml. However,                         media were applied to wells followed by a 2 -hour incubation
   BAC by itself has been reported to have antiviral effect at                    at 35º C. + 2 ° C. and 5 % CO2 . Following incubation, viral
   100 ug /ml ( Eric G Romanoswki et al . J. occul . Phamacol                     cell media was aspirated to remove unbound virus, cells
   therapy. 2019 : vo135 : pages 311-314 ) . Therefore, FICI for                  rinsed and incubated 35 ° C.:2° C. and 5 % CO2 for 48 hours
   BAC/copper combination : BAC 20/ 100 + Copper 20/300 =0 .                      with viral culture media . After 48 -hour incubation , chamber
                                                                                  cell culture slides were imaged via bright field microscopy
   2 + 0.07 =0.27 is lower than 0.5 , which indicates synergism                   ( results not provided herein ) and processed for SEM fixa
   between BAC and the copper salt against SAR - CoVid 2 .                        tion .
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 104 of 125 PageID: 235


   US 2022/0133783 A1                                                                                                    May 5 , 2022
                                                                     6

   [ 0090 ] SEM Imaging:                                                 [ 0098 ] Lozenges
   [ 0091 ] After samples underwent fixation , they were placed
   in a Kinney Vacuum KSE - 2A - M Evaporator under 104 Torr                     Ingredients                    Percent by weight
   vacuum for 24 hours, then sputtered with a 5 nm thick gold
   coat using a Model 30000 Ladd Research Industries appa                        ELAH (20 % ) or BAC                  0.01-5 %
   ratus. Secondary electron and backscattered electron images                   Copper gluconate
                                                                                 Xylitol
                                                                                                                   0.001-1.0 %
   were collected on a Quanta 250 Scanning Electron Micro                                                                      5%
   scope under 10- Torr vacuum using an accelerating voltage                     Flavor
                                                                                 Binder
                                                                                                                         1
                                                                                                                      To 100
   of 5 kV and spot sizes of 2 and 3. Electronic alignments on
   the electron gun (Gun Alignment, Final Lens Aperture
   Alignment, and Stigmator Alignment) were performed prior              [ 0099 ] Mouth Gargle
   to imaging to optimize resolution .
   [ 0092] Results :                                                             Ingredients
   [ 0093 ] As shown by FIGS . 3 to 5 , the SEM microscopy                                                      Percent by weight
   studies indicated that pre - treatment with active ELAN 10                    ELAH (20 % ) or BAC                     0.01-5 %
   ug /mL inhibited human coronavirus 229E binding and rep                       Copper gluconate
                                                                                 Glycerol
                                                                                                                   0.001-1.0 %
                                                                                                                          10
   lication in the MRC - 5 cell line . These data indicate that 10
                                                                                 Pluronic F108                             0.2
   minutes of pre -treatment of MRC - 5 cells with active ELAN                   Flavor                                    1
   10 ug /mL prior to human coronavirus 229E , reduces viral                     NaOH                            to adjust pH 6.5
   entry and the cytopathic effects caused by the virus after 48                 xylitol                                    5%
   hours of incubation compared to controls. The composition                     Purified water                       to 100
   according to the present invention made the active ELAN to
   retain in nasal passage for 2 hours and longer. Accordingly,          [ 0100 ] Surface Treatments
   the composition of the present invention is effective for
   prophylactic effect, preventing the infection by the virus .
   [ 0094 ] It was found that the nasal spray creates a physical                   Ingredients                Percent by weight
   barrier on the nasal surface , preventing the virus from                        ELAH                            0.01-5 %
   adhering to the mucosal tissue of the nasal passages , thus                     Copper gluconate                0.01-5 %
   stopping further transmission . The composition of the pres                     Fragrance                         0.05
   ent invention is particularly effective in preventing the virus                 HC0 40
                                                                                   phenoxyethanol at
                                                                                                                     0.1
   infection because it targets the nasopharynx which has been                     Ethanol                          10
                                                                                                                       0.1 %
   identified as the main entry point for the virus, and forms a                   NaOH                        to adjust pH 6.5
   physical barrier like film on the surface of the nasopharynx.                   Purified water                  to 100

                             Example 4
                                                                         [ 0101 ] It will be apparent to those skilled in the art that
   [ 0095 ] This example is to provide formulations prepared             various modifications and variations can be made in the
   with the composition according to the present invention .             methods and compositions of the present invention without
   With the components described in the following tables ,               departing from the spirit or scope of the invention . Thus, it
   various formulations were prepared for administration of the          is intended that the present invention covers the modifica
   composition according to the present invention .                      tions and variations of this invention , provided they come
   [ 0096 ] Nasal Sprays                                                 within the scope of the appended claims and their equiva
                                                                         lents .
         Ingredients                       Percent by weight                What is claimed :
                                                                            1. An antiviral microemulsion composition comprising an
         ELAH (20%)                         0.1-2 % ( w / v % )          effective amount of an arginine ester cationic surfactant, a
         Copper gluconate                     0.001-1.0 %
         Micro crystalline cellulose              0.5                    copper salt and a solvent.
         Polysorbate 80
         Phenoxy ethanol
                                                  0.05
                                                      0.1 %
                                                                            2. The antiviral microemulsion composition of claim 1 ,
         NaOH                               to adjust pH 6.5             wherein the cationic surfactant is in an amount of 2 ppm to
         Purified water                          to 100                  20,000 ppm , and the copper salt is in an amount of 1 ppm
                                                                         to 10,000 ppm.
   [0097] Nasal Gels                                                        3. The antiviral microemulsion composition of claim 1 ,
                                                                         wherein the solvent is selected from the group consisting of
                                                                         water, alcohol, propylene glycol , ethyl acetate , methyl
           Ingredients                    Percent by weight              isobutyl ketone, acetone , tetrahydrofuran, isopropyl ether,
                                                                         and a combination thereof.
           ELAH (20 % ) or BAC
           Copper gluconate
                                                0.01-5 %
                                             0.001-1.0 %
                                                                            4. The antiviral microemulsion composition of claim 1 ,
           Hydroxyethylcellulose                 0.5                     further comprising 0.01 % to 20 % of a plasticizer selected
           Xylitol                                   5%                  from the group consisting of glycol , glycerin , xylitol, etha
           NaOH                            to adjust pH 6.5              nol , and a combination thereof .
           Purified water                      to 100
                                                                           5. The antiviral microemulsion composition of claim 1 ,      3

                                                                         wherein the arginine ester cationic surfactant is ethyl lauroyl
                                                                         arginine hydrochloride ( ELAN ).
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 105 of 125 PageID: 236


   US 2022/0133783 A1                                                                                                      May 5 , 2022
                                                                            7

      6. The antiviral microemulsion composition of claim 1 ,                     11. The antiviral microemulsion composition of claim 1 ,
   wherein the copper salt comprises a gluconate , a citrate , an               wherein the microemulsion has an average diameter of 10 to
   acetate , an amino acid or a peptide.                                        200 nm .
      7. The antiviral microemulsion composition of claim 1 ,                      12. A method of preventing or treating viral infection in
   wherein the cationic surfactant and the copper salt meet                     a subject in need thereof, comprising applying the micro
   Equation 1 and the composition has a fractional inhibitory                   emulsion composition of claim 1 to the subject.
   index (FICI ) of less than 0.5 :                                                13. The method of claim 12 , wherein the composition is
                                                                                applied to nasal cavity comprising nostrils, nasopharynx or
         FICI= FICA + FICB,                                 [Equation 1 ]       throat of humans and animals .
     wherein FICA = [CA ]sy / [ CA ] al and FICB = [ CS ] sy / [ CS ]al,           14. The method of claim 12 , wherein the composition is
     wherein [ CA] al is a minimum inhibitory concentration                     a topical formulation comprising a nasal spray, a nasal gel ,
                                                                                an aerosol, a throat lozenge, a gargle, an oral strip.
       (MIC ) of the cationic agent, [ CS ] al is a minimum                        15. The method of claim 12 , wherein the composition is
       inhibitory concentration ( MIC ) of the copper salt ,                    applied in an amount of 0.01 to 100 mg/dm2.
     [ CA] sy is a minimum inhibitory concentration ( MIC) of                      16. The method of claim 12 , wherein the composition is
        the cationic agent where the cationic and the copper                    pre - treated to the subject for prophylactic effect, reducing
        agents are used at the same time , [ CS ] sy is a minimum               viral entry and cytopathic effect thereof.
        inhibitory concentration (MIC ) of the copper salt where                   17. The method of claim 12 , wherein the composition
        the cationic the a copper salt are used at the same time .              allows a prolonged retention of the arginine ester cationic
     8. The antiviral microemulsion composition of claim 1 ,                    surfactant in nasal cavity.
   wherein the composition has a pH between pH 4 and pH 8 .                        18. The method of claim 17 , wherein the arginine ester
                                                                                                                2


      9. The antiviral microemulsion composition of claim 1 ,                   cationic surfactant is retained in nasal cavity for at least 2
   wherein the composition is a topical formulation comprising                  hours .
   a nasal spray, a nasal gel , an aerosol, a throat lozenge , a                   19. The method of claim 17 , wherein the composition
   gargle, or an oral strip ,                                                   forms a physical barrier on the surface of nasal cavity.
      10. The antiviral microemulsion composition of claim 1 ,                     20. The method of claim 19 , wherein the composition
   wherein the composition is applied to a surface in an amount                 forms the physical barrier on the surface of nasopharynx .
   of 0.01 to 100 mg/dm².
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 106 of 125 PageID: 237




                      EXHIBIT 7
         Covixyl-V Product & Packaging
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 107 of 125 PageID: 238




                                        _._--                        :\::in                                                                                                                                                                          -:`':--,+.

                                                                 _ IIIIIr-                                                                                                                                                       `-
                                                                                                                                                                                                                                                     `   ,`-i           -


                                       11 ; prfu(L                                                                                                                                                                                               .              _.=`-




                                                                       uses•1'9I,``\„




                                                                     Cautiams
                                                                     I _-`,.:.3 ` i `,i * -.T€1 +.-,`-rd`=,`t,`i3rf}!ri:a'c:.,J!J=,J,_.I.,`JS€II.,1.-,-, 1,'-,:lop-rta±_-'1.'--_-,_,nip-.I-.J1,`.-1,=,t--,.,e=




                                                                   Directions
                                                                                      _ - 6 I ? h-. t_ €:1S6~`:=lr,. : r.3S:r .,1r,i-I IngIi ,J-'1€J€Cht.'aJ.:rotye`'r :3:iSp,ayt. .,`:cir. :ac^;uc,eey'er/c,r j !:.-i'i:,|eedecl




                                                      I iii


                                                              Ingredjeds
                                                              ULiHfindwa!ri.(,f,rf iX`/li{oiI2HEjaiedt,iHov'( I()!1flPFci4C',Eil` `'Ia,J,ayl;`, g, ,a'PHL`I(,Phenoxyt-ihaJi(jl1a\y€r,`ooperC,lucoria|e,Sf_Cil ale,l=iti cAcir.I:->(I. .', '`'u




                                                              Ll',,I,o`lTlt,(bu('f.I,ur=,;i^J.
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 108 of 125 PageID: 239




                      EXHIBIT 8
              Test Report From
       Korean Test & Research Institute
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 109 of 125 PageID: 240
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 110 of 125 PageID: 241




                      EXHIBIT 9
                       Webpage From
                      www.biosure.co.uk
 Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 111 of 125 PageID: 242
Choose Click and Collect HubBox Delivery - Free delivery - Orders despatched same day before
                                            2pm



                      SHOP NOW




                                                      BioSURE PRO
                                                      Protective Nasal
                                                      Spray - block
                                                      airborne viruses
                                                      Protects in seconds, lasts for
                                                      hours. Your ideal travel
                                                      companion.

                                                      £14.95 GBP
                                                      Tax included.


                                                      Pack size

                                                                       Single spray


                                                                        Twin Pack


                                                                      Family pack x 4


                                                      Quantity                        1




                                                       Buy Now on                   Add to Bag




                                                                  Works immediately


                                                                  Nasal Spray
                                                                                                 1

                                                                                Chat with us
                                                                  Proven safe & effective
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 112 of 125 PageID: 243

                                                         UKCA marked, MHRA
                                                         registered


                                                 Do you want to enjoy more and worry
                                                 less this travel season?

                                                 BioSURE PRO can help!

                                                 Our unique microemulsion formula, is
                                                 applied as a plume spray for optimum
                                                 coverage and works in seconds,
                                                 providing up to 6 hours of protection
                                                 per application.

                                                 It creates an invisible physical barrier
                                                 that stops viruses connecting with the
                                                 cells in your nose. If viruses can't
                                                 connect, they can't infect.

                                                 Clinically proven safe and effective,
                                                 BioSURE PRO is drug-free and can be
                                                 used daily and reapplied as necessary
                                                 for continuous protection against
                                                 common airborne viruses.

                                                 Cost Effective - Each bottle contains
                                                 400 sprays, which gives 600 hours of
                                                 protection - that's 3 months supply if
                                                 used daily!




                                                                                          1

                                                                        Chat with us
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 113 of 125 PageID: 244




                                                                                   1

                                                                    Chat with us
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 114 of 125 PageID: 245




                    1/9




                                                                                   1

                                                                    Chat with us
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 115 of 125 PageID: 246




                                                                                   1

                                                                    Chat with us
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 116 of 125 PageID: 247




                                                                                   1

                                                                    Chat with us
  Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 117 of 125 PageID: 248




How does BioSURE® Pro Protective Nasal            Does the BioSURE® Pro Protective Nasal
Spray work?                            ➖          Spray protect against all variants of
                                                  respiratory viruses?                   ➖
BioSure PRO Protective Nasal Spray is a
                                                  Studies demontrate that BioSURE® PRO
microemulsion formula, that is applied as a
                                                  Protective Nasal Spray is effective against a
plume of droplets rather than a squirt, so it
creates a temporary physical barrier in your      number of viruses including RSV, common

nasal passages that blocks the virus spike        colds, influenzas (flus) and SARS-CoV-2

proteins from entering the cells ACE-2            (COVID-19) delta and omicron variants. It also

receptors in your nose. This helps block the      blocks Noravirus A which is a common viruses

first step of infection at the main entry point   which causes sickness and diarrhoea in

and it also helps prevent the virus from          addition to flu-like symptoms.

multiplying that physically blocks airborne
                                                  Because the mode of operation is performed
viruses from attaching to the cells in your
                                                  by the microemulsion formula being applied
nose.
                                                  as a plume spray rather than a spray and

The key ingredient is ELAH (Ethyl Lauroyl         forming an invisible physical barrier in the

Arginine Hydrochloride), that has been safely     nose and nasopharynx, in principle it should
                                                                                                  1
and effectively used in a globally recognised     provide protection against future viral
                                                                                   Chat with us
                                                  mutations. We are performing ongoing clinical
  Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 118 of 125 PageID: 249
mouthwash to block the growth of bacteria in         evaluations and studies and will continue
the mouth.                                           these are as new variants of viruses evolve.

Clinical evaluations in humans and in the lab        How much does it cost to protect myself
have proven the effectiveness of ELAH at             with BioSURE® PRO?                      ➖
blocking airborne viruses, including RSV
(common cold), influenza (flu) and COVID-19          There are 400 sprays in each BioSURE PRO

delta and omicron variants.                          Protective Nasal Spray, which gives you 100
                                                     uses of 6 hours each. That's 600 hours of
Why should I use BioSURE® Pro Protective             protection per bottle! So that is under 15p per
Nasal Spray?                           ➖             application and under 2.5p per hour of
                                                     protection.
BioSURE® Pro Protective Nasal Spray is a
unique microemulsion that has been proven            Who can use BioSURE® PRO Protective
to help prevent infections caused by some            Nasal Spray?                                   ➖
common colds, flu, COVID-19 and other
viruses by forming an invisible temporary            It's suitable for ages 12 years and older.

physical barrier that blocks airborne viruses,
                                                     If you are pregnant it is recommended you
including colds, flu and COVID-19, from being
                                                     consult with a healthcare professional before
able to enter the cells in your nose.
                                                     use.

Basically if the virus can't enter these cells, it
                                                     All of the ingredicents in the BioSURE PRO
cannot cause infection and it cannot
                                                     Protective Nasal Spray are food safe,
reproduce.
                                                     however this guidance is given as there has

BioSURE® Pro Protective Nasal Spray is               not been specific evaluations with pregnant
                                                     women or children under the age of 12 years.
not a medicine and has no pharmacological
action, so is safe to use daily. It is a powerful
                                                     Is BioSURE® PRO Protective Nasal Spray
way to help protect yourself against airborne        Safe to Use?                           ➖
respiratory viruses.
                                                     The key ingredient of BioSURE® Pro
How long does it work for?                       ➖   Protective Nasal Spray, is ELAH (ethyl
                                                     lauroyl arginine HCL), which has been used in
The BioSURE® Pro Protective Nasal Spray
                                                     mouthwashes and as a food preservative for
has been proven to be effective at blocking
                                                     decades and enjoys a high safety profile.
airborne viruses for 6 hours after application
                                                     Extensive studies have shown that this
                                                                                                    1
and it can be reapplied every six hours for
                                                     ingredient metabolizes quickly into two safe
                                                                                   Chat with us
continuous protection.
                                                     compounds commonly found in human diets.
  Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 119 of 125 PageID: 250
BioSURE PRO has not pharmacoligical or                 In our studies, BioSURE PRO has shown no
metabolic action, so can be used daily without         side effects, dependencies from daily use or
risk of overdose or addiction and studies show         decrease in it's efficacy from prolonged use.
there is no decline in it's effectiveness with
long-term use                                          Can I use BioSURE PRO with other nose
                                                       sprays, like hayfever prevention and
                                                       decongestants?                        ➖
How long does it take to work?                     ➖
                                                       BioSURE PRO is not a medicine and has
As soon as the product has been sprayed into
                                                       shown no signs of cross-reaction with a broad
the nostrils, it is effective.
                                                       range of medications and products.

Can I use it every day?                            ➖   If you are already using a prescribed or OTC
                                                       nasal spray for allergies or similar, it is
BioSURE PRO is not a medicine and has no               recommended that you apply this spray first
pharmacological or metabolic action. It is             and wait a couple of minutes before applying
proven safe to use daily, without risk of              BioSURE PRO, as BioSURE PRO creates a
overdose or developing dependencies. There             physical barrier that could affect the
is also no decline in its effectiveness with           effectiveness of your medicinal nasal spray.
regular use.


How do I use the spray?                            ➖

BioSURE PRO is a unique microemulsion,
that is applied as a plume to make an even,
effective barrier against airborne viruses.

You do not need to tilt your head back and
you do not need to sniff when you apply.
Simply remove the lid (and the clip if you use
it) and tilt the bottle at an angle. Spray twice
into each nostril and the you have that layer of
protection for the next 6 hours. Reapply as
required.




                                                                                                       1
Nasal Spray Blogs                                                                                 View all
                                                                                       Chat with us
  Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 120 of 125 PageID: 251




Why is                       Does                        Protect                BioSure
prevention                   exposure to                 yourself from          launch the
better than                  colds and flu               Colds and Flu          new
cure?                        strengthen                  this winter            protective
DECEMBER 23, 2022            immun...                    OCTOBER 11, 2022       nasal spray
We all have our
                             NOVEMBER 28, 2022
                                                         How can I protect      w...
                                                                                OCTOBER 11, 2022
part to play in our          As the winter               myself from colds
own preventative             season approaches,          and flu this winter?   BioSure launch the
health care and              so too do the               This is a common       new protective
building an all-             dreaded cold and            question asked on      nasal spray which
round healthier              flu symptoms. Many          Google every day;      protects from colds,
community.                   of us will                  every winter we are    flu and
Developing healthy           experience a cough          affected by common     coronaviruses Just
habits can make us           or runny nose at            colds and...           Spray, Protect and
feel better, look            some point during                                  Go BioSure Global
better and...                the winter...                                      are proud to
                                                                                announce the
                                                                                launch of the
                                                                                revolutionary,...




                                                   1/3




                                                 View all




                T: 0845 222 0012
                                                     My Account
                T: +44 (0)1992 815825                                                               1
                E: info@biosure.co.uk                Contact Us                   Chat with us
                WhatsApp: +44 (0)7763 489170
                                                     Delivery
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 121 of 125 PageID: 252

        BioSure Global Ltd,
                                                Privacy Policy
        121 Brooker Road,
        Waltham Abbey,                          Shipping Policy

        EN9 1JH. UK                             Trust Pilot
        United Kingdom
        Registered Company Number:              Terms of Service

        11230071
                                                Business Enquiries


                                                Press Releases




           Subscribe to our emails


           Email




                              © 2023, Be BioSure Powered by Shopify




                                                                                     1

                                                                      Chat with us
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 122 of 125 PageID: 253




                    EXHIBIT 10
              Declaration of Nitin Kumar
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 123 of 125 PageID: 254
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 124 of 125 PageID: 255




                         EXHIBIT 11
                              Declara on of Keith Altman
Case 2:23-cv-03709-JMV-JRA Document 4-1 Filed 07/12/23 Page 125 of 125 PageID: 256




                          DECLARATION OF KEITH ALTMAN


                I, Keith Altman, being of full age, do hereby depose and say:

        1.      I am a resident of the State of Michigan.

        2.      On March 10, 2023, I placed two separate orders online with amazon.com for Covixyl

                Nasal Spray. I paid for each merchandise order online with my Visa Card credit card.

        3.      I received one of the ordered merchandises at my home address in Michigan within

                approximately 3-4 days after purchase.


        4.      I shipped one ordered merchandise directly to Trutek Corp. at their corporate New Jersey

                location. Same was confirmed as received.


                The above statements are true to the best of my knowledge, and I make said statements

        under pains and penalties of perjury under the laws of the United States and the State of

        Michigan.


        Date: July 11, 2023




        By:
                Keith Altman
